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SPACE ADMINISTRATION,

¢11-201 c

Defendant.

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lN THE UN|TED sTATEs CoURT oF FEDERAL CLAI s
508 PATENT APR \'1 ZUH
) u.s. coum OF
noss-HIME I)ESIGNS, 1NC. ) No. FEDEHAL cum
)
Plaintiff, )
_)
v. )
)
THE uNITED sTATEs As )
REPRESENTED BY THE )
ADMIleTRAToR oF THE ) VER'FIED COMPLAINT
NATioNAL AERONAUTICS )
)
)
)
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l

 

Plaintiff Ross-Hime Designs ("RHD") for its Complaint against Defendant National

Aeronautics and Space Adrninistration (“NASA") states and alleges as follows:
PARTIES

]. Plaintit°tc Ross-Hinte Designs._ lnc. is a Minnesota Dornestic Corporation, which
has the registered address of 1313 Sth Street SI:`, Minneapolis. Minnesota 554]4. Plaintit`iC
specializes in the design and prototyping of humanoid robotic systems

2. Upon information and belief_. Defendant NASA is a Govemment Agency. lts
headquarters are located in \l\f'ashing_z,ton_1 D.C. 20546.

JUR]SD[CTION AND VENUE

3. RHD alleges that this action arose because inventions described in and covered in
the ‘580 and i962 Patents are being and have been made and!or used by or for NASA without a
license from Plaintift` or lawful right to use the same. Thus, this Court hasjurisdiction over this

action pursuant to 28 U.S.C. § 1498.

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BACKGROUND ALLEGATIONS

4. This action specifically involves patents held by RHD related to robotic
manipulators.

5. On October 19, 1999, United States Patent No. 5,967,580 (“5 80 Patent") was duly
and legally issued in the name of the inventor, Mark E. Rosheim entitled “ROBOTIC
MANIPULATOR”. RHD is the assignee of the "580 Patent. A true and correct copy of the’580
Patent is attached as Exhibit l to the Complaint.

6. On December 3._ 2003._ United States Patent No. 6,658,962 (“962 Patent") was
duly and legally issued in the name of the inventor, Mark E. Rosheim, entitled “ROBOTIC
MANlPULA'l"OR”. RHD is the assignee of the `962 Patent. A true and correct copy of the `962
Patent is attached as Exhibit 2 to the Complaint.

?. Upon information and belief, NASA uses andfor makes a robotic manipulator.
NASA has developed robotic inanipuiators identified as Robonaut l. The Robonaut l includes a
pair of robotic hands. NASA has developed robotic manipulators identified as Robonaut 2. The
Robonaut 2 includes a pair of robotic hands.

8. A version of the robotic hand of the Robonaut 1 is shown in the photograph, a
true and correct copy of which is attached hereto as Exhibit 3. The current configuration of the
Robonaut l robotic hand includes all of the structural features that are labeled and shown in
Exhibit 3. The current configuration of the Robonaut l robotic hand includes a palm based
cabled actuator. The current configuration of the Robonaut l robotic hand includes pitch and
yaw lower knuckles and wrist pitch and yaw pivots.

9. A version of the robotic hand of the Robonaut l is shown in the photograph, a

true and correct copy of which is attached hereto as Exhibit 4. The current configuration of the

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Robonaut l robotic hand includes all of the structural features that are labeled and shown in
Exhibit 4. The current configuration of the Robonaut l robotic hand includes lower knuckle
cabled actuators, thumb knuckles and finger bases.

lO. A version of the robotic hand of the Robonaut l is shown in the photograph, a
true and correct copy of which is attached hereto as Exhibit 5. The current configuration of the
Robonaut l robotic hand includes all of the structural features that are labeled and shown in
Exhibit 5. The current configuration of the Robonaut l robotic hand includes a thumb cabled
actuator, lower thumb knuckle and palm.

ll. The current configuration of Robonaut l robotic hand includes aetuators for each
ofthe segments of the fingers and palm.

12. A version of the robotic hand of the Robonaut 2 is shown in the NASA slideshow
CAD drawing, a true and correct copy of which is attached hereto as Exhibit 6. The dotted red
lines in Exhibit 6 depict lower knuckle cabled actuators. The current configuration of the
Robonaut 2 robotic hand includes all of the structural features that are labeled and shown in
Exhibit 6. `I`he current configuration of the Robonaut 2 robotic hand includes lower knuckles and
wrist pitch and yaw pivots.

13. A version ol` the robotic hand of the Robonaut 2 is shown in the NASA slideshow
CAD drawing, a true and correct copy of which is attached hereto as Exhibit ?. The lower thumb
knuckle in Exhibit 'i` is connected to thumb cabled actuators. The current configuration of the
Robonaut 2 robotic hand includes all of the structural features that are labeled and shown in
Exhibit ?'. The current configuration of the Robonaut 2 robotic hand includes finger and thumb

knuckles, a wrist pitch and yaw pivots__ wrist rod actuators, a pitch and yaw thumb knuckle.

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l4. A version of the robotic hand of the Robonaut 2 is shown in the NASA slideshow
photograph1 a true and correct copy of which is attached hereto as Exhibit 8. 'l`hc current
configuration of the Robonaut 2 robotic hand includes all of the structural features that are
labeled and shown in Exhibit 8. 'I`he current configuration of the Robonaut 2 robotic hand
includes pairs of cabled actuators. thumb knuckle. upper, middle and lower finger sections,
finger bases, lower knuckle and wrist rod actuator.

15. The current configuration of Robonaut 2 robotic hand includes a pair ofcabled
actuators for the lower finger sections

16. Upon information and belief, NASA was aware of the ‘580 Patent prior to the
commencement of this action.

l?. Upon information and belief, NASA was aware that one or more ofthe claims of
the "530 Patent covered Robonaut l,

18. Upon information and beliet`, NASA was aware of the ‘962 Patent prior to the
commencement of this action.

19. Upon information and belief, NASA was aware that one or more of the claims of
the ‘962 Patent covered Robonaut 2.

COUNT I-INFRINGEMENT OF ‘580 PATENT

20. Plaintiff hereby realleges and incorporates all preceding paragraphs.

21. Upon information and belief, NASA has caused and continues to cause the
making andfor the use of that ofwhich is described in and covered by the ’580 Patent, without
license or other lawful right. That making andfor use has been and continues to be by or for
NASA.

22. Upon information and belief, NASA has and continues to infringe the ‘580 Patent.

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23. The exact amount of reasonable and entire compensation due RHD from NASA
for use of thc invention described in and claimed by the ‘580 Patent is not currently known by
RHD, and cannot be stated definitively until RHD has been provided with the necessary data in
the possession of`NASA, but upon information and belief, is no less than $2.5 million.

COUNT II-INFRINGEMENT OF ‘962 PATENT

24. Plaintiff hereby realleges and incorporates all preceding paragraphs

25. Upon information and belief, NASA has caused and continues to cause the
making and!or the use of that of which is described in and covered by the ’962 Patent, without
license or other lawful right. That making and!or use has been and continues to be by or for
NASA.

26. Upon information and bclief, NASA has and continues to infringe the ‘962 Patent.

2?. The exact amount of reasonable and entire compensation due Rl'lD from NASA
for use of thc invention described in and claimed by the ‘962 Patent is not currently known by
RHD, and cannot be stated definitively until RHD has been provided with the necessary data in
the possession of NASA, but upon information and belief, is no less than $2.5 million.

PRAYER FOR RELlEF

WHEREFORE, Plaintif`f prays f`orjudgment that:

A. U.S. Patent No. 5,967,530 is valid and the inventions claimed therein have been
made andfor used by NASA without license or lawiiil right;

B. l,'.S. Patent No. 6,658,962 is valid and the inventions claimed therein have been
made and/or used by NASA without license or lawful right;

C. Plaintiff be awarded the reasonable and entire compensation for use of the

inventions claimed in the "580 and ‘962 Patents in an amount that is not less than $2.5 million;

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D.

fees;

Plaintiff be awarded reasonable costs in this suit, including reasonable attorney’s

E. Plaintiff be awarded such other and further relief as it may be entitled under the

applicable United States Statute; and

F. Plaintiff be awarded such other and further relief as this Court may deem just and

proper.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Proccdure, Plaintiff hereby demands a

trial byjury on all the issues so triable.

Dated: March 30, 2011

By:

RIMAS LAW FIRM, PLLC

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ATTORNEY FOR PLAINTIFF
ROSS-HlME DESIGNS, INC.

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VERIFICATION

I have reviewed the foregoing Complaint and declare under penalty of perjury that the facts
stated therein are true and correct to the best of my knowledge Executed in Deephaven,

Minncsota on March 30, 2011.
//é

Mark Roslieim, President
Ross-Hime Designs, Inc.

 

 

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United Stat€S Patent 1191

 

 

   
    
 
 

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Rosheim [45] Date of Patent: *Oet. 19, 1999
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[22 Flled" Nov' 25’ 1997 mtorney_. Agerir, or F£rm-Kinney & Lange, P.A.
Rt\l[lled U.S. Applif.`llll{|l’l D£ltti [57| ABSTRACT
[631 C"'“ir'"a[i°" °r_ aPl-_’|lmll‘~‘" l\l”’ 98-15`25395: S["P~ 8‘1_19?5> A pair of connected joian in a master-slave robotic system
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urcc imparting means or t c secon joint imparts orec
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[§;l lutz C!' """"""""""""""""""""" 9""`8'§'_ """"" f B&é_(’ §§ thereto at an acute angle. A third joint is used with a flexible
[")“] U'b' u' """"""""""""""""" 2 4’; ’ 299[?1'"£1,9:’94011£37’ drive tape partly internal there to. A gripping system having
‘_ , _ p'“4’ 5 729 art orthogorially rotatable base effeetor is supported by this
l$gl held m ;{‘;Tr;[? ,;1¥2,)9%,,(2;,1_: “é*’éé£hgs’ joint using a pair of linear actuators to position thc base
ft ‘ b , ` l v j -lll’h 311-13~ finiqu '761’ Cfchtor as desired Aoounterpart system having an orthogo-
’ ` d'“' ’ " nall rotatable base followerortho onall rotatable ona pair
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[5(}] Refcmnces Cited rif linear actuators rises the actuators to null out forces
occurring thereon.
U.S. PATENT DOCUM]§N'IS
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EXH|B|T 1

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Sheet 1 of 16

Oct, 19, 1999

U.S. Patent

 

 

 

 

 

 

 

 

 

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Oct. 19, 1999

U.S. Patent

 

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Sheet 3 of 16

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RoBoTie mNIPuLAmR

This is a continuation o[ application Ser. No. 081525,395,
filed Sep. 8, 1995, now abandoned, which is a continuation-
in-part of application Scr, No_ 081497,199, filed Jun. 30,
1995 now abandoned

BACKGROUND OF 1`HE INVEN'I'ION

The present invention relates to controlled motion
mechanical members used as a mechanical manipulator and,
more partieularly, to a motion controllable, anthropomor-
phic mechanical manipulator providing some ol` thc capa-
bilities of an upper human lorSo_

Aneed for increased automation in the workplace, espe-
cially in those workplace environments unsuitable for
humans, and a desire to increase the usc of animated figures
depicting humans or other characters often in entertainment
situations has led to substantial efforts in the development
of robotics. As a result, substantial advances have occurred
in many aspects of robotics.

An important aspect in robotics is the controlling of
mechanical manipulators, the portion of a robot used to
change the position or orientation of selected objects. ln may
instances, such manipulators are desired to have motion

capabilities similar to those of a human chest, shoulder, arm, h

wrist and hand, or portions thereof

Providing a mechanical manipulator simulating such por-
tions of the human torso presents 11 difficult design problem
`l`he chest and back portions of a human supporting a
shoulder blade can bc considered to have two degrees-of-
freedom iri motion possibilities available to it, and thc
shoulder ball and socket joint supporting the arm can be
considered to have three degrees-of-freedom in motion
possibilities available to it. fn addition, the elbow can be

considered to have a single degree -of~freedom in its possible _

motion and the wrist can be considered to have three
degrees-of-t`rcedorn in motion possibilities available for it,
Finally, the human palm can be considered to have a
degree-of-freedom in its relative motion possibilities while
the fingers and thumb thereon can be considered to have four
degrees-of-freedom in thc motion possibilities thereofl

A number of mechanical joints or mechanical manipula-
tors have been proposed which attempt 10 exhibit the motion
possibilities of the corresponding human joints, and some of
these proposals have actually achieved corresponding capa-
bilities to a significant degree 'I`hese joints typically have a
base on which one side of the joint is fastened, and from
which a force imparting arrangement is provided to operate
movable members in this fastened portion of the joint
Meclranicat transmission arrangements then couple this
motion on this fastened side of the joint to the controlled side
of the joint to cause that portion to conespondingty move.

llowcver, such joints have often been constructed using a
substantial number of parts causing significant expense. and
with the result that they are often difficult to assemble
l"`urthcr. such joints often fail to have the controlled portion
thereof exhibit the desired dexterity and range of motion. tn
addition, the construction have often exhibited bulky geom-
etries which do not appear much like those of` thc human
counterparts Also, control of the controlled side of the joint
has often been insuffcicnt in the operator not having con-
venient controlling arrangements available Thus, there is
desire to joint arrangements overcoming such deficiencies so
that a human look-alike upper torso and arm mechanical
manipiilator can bc provided with motion possibilities sub-
stantially equivalent to that of the upper human iorso and
ann

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suMMARY or run invention

'I`he present invention provides a pair of connected joints
and force imparting means therefor especially suitable for
use in anthropoi:norphic master-slave robotic system The
force imparting means for the second joint imparts force
thereto at an acute angle with respect 10 the connection
between the two joints. A third joint is operated by a flexible
tape passing through one joint member to operate the other.

Beyond the third joint is supported a structure having a
frame with an extension to which a base eEector is rotatably
connected to be rotatable in orthogonal directions along with
a pair of linear actuators each retaliany connected to that
extension on either side of where the base effector is
connected and each rotatably connected to the base elfector
on either side of where the extension is connected thereto A
counterpart structure for controlling this first structure omits
the connection between such a frame and base effector of the
first structure while keeping the actuator connections lo
each, and provides means for engaging the controlling
operator`s hands

BRlEli l)LZSCRll'l`IUN Uh` 'l'l-ll:` l)RAWINGS

FIG. 1 shows a pictorial view ol' a mastereslave robol and
robotic control arrangement embodying the present inven-
tiou',

FlG, 2 shows a pictorial view of a slave robot embodying
the present invention;

FIG, 3 shows a plan view of a portion of the structure
shown in FIG. 2;

l-`](i. 4 shows a cross section view of a portion of the
structure shown in FIGS. 2 and 3;

FIG. 5 shows a pictorial view of a portion of the structure
shown in FlGS. 2 and 3;

FIG. 6 shows an elevational view of a portion of the
structure shown in FIG. 2;

FIG_ 7 shows a cross section view of the structure shown
itt FlG. 6;

FIG. 8 shows a crossl section view of the structure shown
in FlG. 6;

FIG. 9 shows a cross section view of the structure shown
in l"I(i. 6;

F[G. l0 shows a cross section view ot` the structure shown
in l"lG. 9;

l~`lG. ll shows a pictorial view ot` a portion of the structure
shown in l~`l(j. 2;

FIG. 12 shows an alternative pictorial view of the struc-
ture shown in FIG. 11;

Fth 13 shows art exploded pictorial view of a portion ot`
the structure shown in FIGS. ll and 12;

FlG. 14 shows a partially exploded pictorial view of a
penton of the structure shown in FlGS, 11 and 12;

FIG. 15 shows a pictorial view of an alternative to a
portion of the structure shown in FIGS. ll and 12;

FIG. 16 shows a pictorial view of a portion of the structure
shown in Fl(], 2;

li`l{j. 17 shows art alternative pictorial view of the struc-
ture shown in FlG_ l`l;

l"lG, 18 shows a pictorial view of a portion of thc structure
shown in FIGS_ 16 and 17;

[~`IG. 19 shows a pictorial view of a portion of thc structure
shown iri FIG. 2 used with the structure shown iu l~`f GS. 16
and 17;

FIG. 20 shows a partially exploded pictorial view of a
por|ion of thc structure shown iii FIGS. 16 and 17; and

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HG, 21 shows a cross section view of a portion of the
structure shown in FIG. 20.

DETAILED DESCRIPTION OF THE
PREFERRED EMBODIMENTS

FIG. 1 shows a master-slave robot and robotic control
arrangement in which a slave robot, 10, is under the control
of a human operator, 11, through having externally mounted
on the upper torso, arms and hands ofthat operator, a master
robotic control apparatus, 12. This control apparatus may be
termed an "exoskeleton” in its being mounted about the
exterior of the upper portion of that operator’s body

Control exoskeleton 12, in being attached to the opera-
tor’s upper torso, arms and hands, senses each motion of
these bodily parts of the operator and transmits signals
carrying such information from a transmitter therein not
seen in FIG. l, to a control arrangement, 13. Control
arrangement 13 is operated under the direction oi` a
computer, 14, which controls operation of n system
controller, 15. Operator ]l, or another, can impose further
control measures on the system through computer 14 such as
setting system parameter valucs, elc_ (Iontrol|er 15 has a
receiver therein to receive transmissions from the transmitter

iri control exoskelelon 12., and has a transmitter therein to l

send information signals lo a receiver in control exoske|eton
12 also not shown

Sirnilarly, controller 15 has a transmitter therein to trans~
mit information signals to a receiver in slave robot 10, again
not separately shown but indicated to be in a portion of that
robot somewhat reminiscent of a human head This portion
cf slave robot 10 also has a transmitter therein for transmit-
ting information signals to controller 15 which has a further
receiver to receive same therein Wiring arrangements are
provided through the joints and joint connectors in both
slave mbot 10 and control cxoskeleton 12 to distribute
signals obtained from the receivers therein to the actuators
therein intended to respond to tbern, and to collect signals
from sensors therein to be brought to the transmitters
therein_

Control exoskeleton 12, in receiving signals from con-
troller arrangement 13, uses the information in those signals
to operate actuators therein to aid human operator 11 in
moving the exoskelelon apparatus to the extent desired by
that operator. 'Ihe signals received in exoskeleton 12 from
control arrangement 13 are used to move the corresponding
actuators therein sul]`icicntly to null out force magnitude
signals measured by force sensors thereon due to forces
imposed by bodily motions of human operator 11 which

force signals (and some translation magnitude signals) are _

transmitted to control arrangement 13_ Thesc bodily motion
based force magnitude signals (and some translation niag-
nitudc signals) are also used by control arrangement 13 to
cause similar motions by similar actuators in slave robot 10

through control arrangement 13 transmitting similar signals _

intended for those actuators to slave robot 10.

Such sensed signals from slave robot 10 to control
arrangement 13 may include video signals subsequently
transmitted by control arrangement 13 to a video display
arrangement within a visor, 16, worn by operator 11 which
convey thereto the information obtained by video cameras in
slave robot 10 such as those at the top thereof designated 17,
Also, the actuator signals received in control exoskeleton 12
from control arrangement 13 convey tactile force informa-
tion which signals are distributed to tactilc force actuators,
18, capable of applying force to operator 11 at locations in
which they are provided_ These locations are in the hand~like

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portions of control exoskeleton 12, both in the linger-like
portions where the tactile actuators are built in and in a palm
portion where the tactile actuators are provided in a glove
titled over the operators hand.

A basic motion to be simulated by slave robot 10 using the
upper human torso movement simulation capability thereof
is the ability of a human body to position its shoulders with
respect to its rib cage and spine. That is, humans can throw
their shoulders back or bunch them l`orward. /\s a basis for
this simulation, slave rohot 10 is provided with a human
spine-like base, 20, which is seen more clearly in F[G. 2. 'I`he
structure and actuators for simulating this motion are sup-
ported by base 20 and housed within a rib eagelike shroud,
21, shown partly removed in FIG. 2 to avoid obscurng
structures within the interior thereof. Base 20 also supports
a human head-like arrangement, 22, at its top containing
control circuitry and supporting cameras 17_

This structure and these actuators for this shoulder motion
simulation are provided in an interior joint arrangement, 23,
that is supported on base 20 by two support structure plates,
24 and 25, affixed thereto_ These plates are seen in a plan
view showing a portion of the FIG. 2 structure in FIG, 3.
Striictnre 25 supports a pair of rotary bases, 26 and 27, each
rotatany supporting a spindle of one of a pair ot` corre-
sponding forks, 28 and 29. Thc spindles of each of forks 28
and 29 can rotate within its corresponding one of rotary
bases 26 and 27 along a vertical axis in FIGS. 1 and 2, i.e.
along a axis extending in the general direction of spine-like
structure or base 20. Rotary bases 26 and 27 support forks
28 and 29 while permitting them to rotate therein by having
each corresponding fork spindle mounted in a pair of
preloaded conical bearings 30 and 31, with each of the
hearing members of a pair being located on an opposite end
ol`its corresponding orie of rotary bases 26 and 27. 'l`he inner
bearing races are al]ixcd to the ends ol` the spindles of the
forks, and ll_ie outer bearing races are alli.ited to the walls or
rotary bases 26 and 27 at the opposite ends thereof

The lower end of the spindle of fork 28 is hxedly attached
to a bent, common shan.k, double clcvis, 32` Sir:ni_larly, the
lower end of fork 29 is I"ixedly attached to another bent,
common shank double clcvis, 33,'11'1esc double eleviscs arc
each driven by a corresponding linear actuator connected
thereto and mounted on support structure 24. A first of these
linear actuators, 34, is mounted on support structure 24 and
rotatany connected in a clcvis provided at one end of double
clevis 32 by a pin. `l`he other end of linear actuator 34 is
connected through a pin to support structure 24 to be
rolatably connected therete_ Similarly, a further linear
actuator, 35, is connected by a pin to a clevis structure at an
end of double elcvis structure 33 to be rotatably connected
thereto, and the other end of linear actuator 35 is connected
by a pin to support structure 24 to he rotatany connected
thereto.

The upper end of fork 23, opposite its end connected to
double elevis 32, has the two branches thereof forming a
forked end rotatany connected by a pin to a tubular joint
support, 36. lo a like manner, the upper end of fork 29,
opposite its end connected to double clcvis 33, has the two
branches thereof forming a forked end rotatably connected
through a pin to another tubular joint support, 37. Thc
opposite end of tubular joint support 36 has af|ixed to it a
support bracket, 38, supporting a ball-and-socket joint wr-
responding to a human shoulder joint as will be described
below, This is also true of tubular joint support 37 which has
affixed to it a further bracket, 39, to support another ball-
and-socket joint again corresponding to a human shoulder
joint.

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Thus, as can be seen in FlG. 3, if linear actuator 34
elongates, double clevis 32 will cause fork 28 to rotate in
rotary base 26 thereby forcing tubular joint support 36 and
the ball-and-socket connected thereto to rotate
countercloclrwise, and with rotation of the ball-and-sockct
joint held by bracket 38 occurring in the opposite direction
for a shortening of linear actuator 34_ Similarly, any elon~
galion of linear actuator 35 will cause double clevis 33 to
rotate counterclockwise to thereby force fork 29 to rotate in
rotary base 27 and thus force tubular joint support 37 and
bracket 39 to rotate counterclockwise along with the ball-
and-socket joint connected thereto. A shortening ol` linear
actuator 35 will produce a rotation of that latter ball»and-
socket joint in the opposite direction. 'l`hus. slave robot 10
can emulate a human throwing his or her shoulders back-
ward or forward by operation of linear actuators 34 and 35
to operate joint arrangement 23.

Any such rotation of double clevis 32 results in moving a
further linear actu ator, 40, as part of thc same rotation

because of thc rotatable connection of the other clevis in 1

double clevis 32 to linear actuator 40, A similar result is
achieved by linear actuator 35 rotating double clevis 33 to
carry along in that rotation another linear actuator, 41,
rotatably connected to the remaining clevis in double clevis

33. I_inear actuator 40 has its opposite end rolatably oon- n

neeted to tubularjoirtt support 36 at approximately a third of
the length of that support away from its connection to fork
28. I,inear actuator 41 is similarly connected to tubularjoint
support 37 at approximately a third of its length away from

its connection to fork 29_ Thus, operating linear actuators 40 j

or 41 to extend them up and down results in a motion oi`the
corresponding hall-and-socket joint resembling shrugging
motions in human shouldersl

'Ihe arrangement used to provide the back and forth
motion of thc shoulder-like ball-and-socl-tet joian affixed to
brackets 33 and 39 is, as describcd, accomplished by the use
of linear actuators as shown in FIGS. 1, 2 and 3. Such a
structure results in a very “stii"f” arrangement in that forces
applied to tubular joints supports 36 and 37 from external
sources have relatively little effect in forcing those supports
to move back and forth because of the strong resistance of
linear actuators 34 and 35 to changing length due to external
forces. However, other and simpler arrangements can be
used for shoulder motion simulation joint 23 which may not
be as resistant to externally applied forces but which are
either cheaper or more convenient. Thus, linear actuators 34
and 35, double clevises 32 and 33, and rotzt ry bases 26 and
27 can be dispensed with and replaced by a pair of side-
hy-side rotary electrical motors supported hy a mount to
base 20. 'I`he output shafts of these motors have forked ends
connected to tubularjoint supports 36 and 37 as bet`ore, and
also have thereon support brackets thereon extending there-
from down the sides of the motors and their underneath
linear actuators 40 and 41 to thereby support them and rotate

them. Such an arrangement would again allow rotating the _

shoulder-like ball-and-soeket joints at]ixcd to brackets 38
and 39 to similarly simulate the motion of human shoulders
thrown back and forth. Linear actuators 40 and 41 would
again be able to move joint supports 36 and 37 up and down
with the ball-and-socket joian thereon te simulate the shrug-
ging motion of human shoulders

A further alternative for shoulder motion simulation joint
23 is to mount a pair support bases on base 20 in place ol`
rotary bases 26 and 27 again dispensing with double clevis
32 and 33 and linear actuators 34 and 35 along with support
structure 24, and this time also dispensing with linear
actuators 40 and 41. Using these substituted bases, one for

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each shoulder-like ball-and-socket joint, the joint supports
36 and 37 can each be directed outward in a sideways
direction at an angle to the other and base 20, and connected
to its corresponding base by an orthogonal pivot structure
such as a universal joint. 'l`wo outward extending arms on
each base, extending in orthogonal directions therefrom,
support rotatably connected linear actuators thereon, and the
other ends ol` these actuators are rotatany connected to the
facing side ot` a corresponding orie of joint supports 36 and
37 at approximately the midpoint thereol`. 'l'l.tbular joint
supports 36 and 37 are again connected by brackets at the
ends thereof to the corresponding ball-and-socket joints,
Suitably positioning the actuators with respect to base 20
allows one actuator to move the corresponding shoulder~li_lte
ball-and-socket joint back and forth, while the orthogonally
positioned actuator is allowed to move that ball-and-socket
joint up and down.

The ball-and-socket joints simulating shoulder joints of a
human that arc provided in control chskelcton 12 worn by
operator 11 are joincd, although not shown irt FlG. l, by the
above described alternative version of joint 23 based on
using a pair of electric motors with rotating output shafts to
rotate the tubular joint supports front and back in aid of
operator 11, 'I`his use of such motors in control exoskeleron
12 in a joint having the purpose of joint 23 in slave robot 10
in place of the linear actuator implementation of joint 23 in
slave robot 10 shown in FIGS. 2 and3 is made to reduce the
bulkiness ol` that structure for the comfort of operator ll
during tise. The reduced resistance to externally applied
forces in such a joint in control exoskelelon 12 is not a
concern ot` the magnitude that it is for the joint 23 arrange-
ment shown in FlGS. l, 2 and 3 for slave robot 10, and not
ol` the magnitude of the concern there would be l`or operator
ll if forced to wear an unduly bulky exos.keleton.

As indicated abovc, a pair of ball-and-socket joints, 42
and 43, are provided at the end of tubular joint supports 36
and 37, rcspcclivcly, to permit simulating human shoulder
joints which arc known to be ball-and-socket joints capable
of allowing the human a_rm to rotate therein to thereby make
that arm capable of extending in a plurality of directions as
can bc Sccn in FIGS_ 2 and 3. Ball-and~socl<et joint 42 is
supported by being afExcd to bracket 38 which itself is
al]ixed to the end of tubular joint support 36. In a like matter,
ball-and-socket joint 43 is Supported by bracket 39 afbxed
thereto and to the end of tubular joint support 37.
Specil'ically, bracket 33 is affixed by screws to a Socket, 44,
injoint 42. Bracke139 is also adixed by screws to a socket1
45, in joint 43. This can be more clearly seen in FIG. 4 for
joint 42 which is a cross section view of that joint_

Within socket 44, is a substantially hollow ball, 46.
Similarly, within socket 45 of joint 43 is a substantially
hollow ball, 4';'. llollow balls 46 and 47 can rotate about
their centers within sockets 44 and 45, respectfully, to a
considerable but limited extent by sliding along the interiors
surfaces thereof. The limits to such rotation is provided by
various protrusions from the balls (to be described below)
encountering the terminating edges of sockets 44 and 45, As
one such protrusion, hollow ball 46 has aliixed thereto a
tubular ball cxte nsion, 48_ This is accomplished in a manner
such that a open passageway through this joint exists extend-
ing through tubular joint structure 36, through openings in
bracket 38 and socket 44, through hollow bali 46, and then
out therefrom through tubular ball extension structure 48.
This passageway permits electrical wiring to be brought
from out of base 20 into the closest end of tubular joint
support 36 and Out thc other end through bracket 33 and
ball-and-socket joint 42 into tubular ball extension structure

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48. Such wiring is used for controlling further actuators
outward therefrom into thc remaining structure connected
thereto for simulatt`_ng the human arm, and for collecting
sensor information signals generated in such remaining
structure

A Sln’lilar ball extension structure, 49, extends from hol-
low ball 47 forming a protrusion from that ball, A similar
open passageway for wiring is thus provided is provided for
joint 43 extending from the interior of tubular joint support
37, through bracket 39 and socket 45 into hollow ball 47,
and then out through tubular ball extension 49. Again, such
wiring is used lot controlling further actuators outward
therefrom into the remaining structure connected thereto [or
simulating the human arm, and [ct' collecting sensor infor-
mation signals generated in such remaining structure

Motions of ball extensions 48 and 49 are controlled for
each by a corresponding pair of actuators mounted on an
actuator support bracket_ These support brackets are pro-
vided at an acute angle with respect to corresponding ones
of joints support 36 and 37 such that the orientation of the
long direction irt these brackets lies more or less along a
corresponding axis between it’s associated ball-and-socket
joint and spine-like structure, or base, 20. `l`his angular
arrangement has the effect of keeping the brackets and the

pair of actuators supported thereby relatively close into the ,

remaining torso-l_ilo: structure of slave robot 10 to more
easily enable providing additional structure over shroud 21
to protect the existing structure of slave robot 10 or to better
simulate a human torso or both.

Ball-and-socket joint 42 has such an actuator support
bracket 50, affixed to bracket 38 shown to extend back
therefrom in FIG. 3 at an angle of approximately 25° with
respect to tubular joint support 36 in that figure. Similarly,
an actuator bracket, 51, is shown in FIG. 3 for ball-and-

sockel joint 43 extending back from bracket 39 to which it _

is affixed at a angle of approximately 25° with respect to
tubular joint support 37. The selection of the value for this
angle is based on a tradeol’t` between keeping the angle small
to thereby improve compactness of the structure for slave
robot 10, on thc one hand, but having the angle large on thc
other hand so that the actuators supported thereby, generally
aligned the major length of the support bracket therefor,
retain the capability to force ball extensions 48 and 49 to
rotate forward and back perpendicular to the corresponding
tubular joint support for that ball-and~socket joint, i.c. to
rotate about an axis substantially parallel to the direction of
extension of those joint supports le'ven more demanding in
some situations, such notations may be required to be
directed to some degree inward toward the side ot` slave

robot 10 at which the other ball-and-socket joint is located_ _

'l'he angular range ot` permitted choices for values of the
angular relationships between the actuator support bracket
and the tubularjoint support in the plane ol` FIG, 3 is lS° to
75° depending on the strength of the structure, the force

which can bc generated by the actuator for the ball~and- __

socket joint responsible for moving tubular extersion 48 or
49, and the expected load.

Actuator support bracket 51 is shown in greater detail in
FIG. 5 where it can be seen that bracket 39 has both tubular
joint suppon 311 and batl-and-socket joint actuator support
bracket 51 allide thereto. 'Ihc portion of ball-and-socket
joint actuator support bracket 51 al`ixcd to bracket 39 is a
long flat bar, 52, which has a clevis support plate, 53, al]ixed
to the other end thereof Clevis support plate 53 has a pair
of branchcs, 54, forming a basis for a fixed position clevis
affixed thereto. In addition, a further clevis support, 53',
affixed to bar 52 approximately a quarter ot` the distance

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therealong from clevis support plate 53 and approximately
two thirds of its length, has rotatably connected lo thc
opposite end thereof a more or less “U" shaped pair of
branches and basc, 55, forming the basis of a rotatably
connected clevis,

Ball-and-socketjoint actuator support bracket 50 in P`IGS.
2 and 3 has a pair of linear actuators, 56 and 57, rotatably
connected in the clevises of that bracket. Linear actuator 56
is rotatably connected at a end thereof to the fixed position
clevis ol` bracket 50, and linear actuator 57 is rotatably
connected at a end thereof to the rotatably connected clevis
ol' bracket 50. 'I`he length oi` support plate 53' and the
connection point ot` linear actuator 57 lo ball extension 48 (to
be described below) results in linear actuator 57 having an
axis that in elevation makes an acute angle with the axis of
linear actuator 56 to allow actuator 57 to apply more of the
l`orce generated thereby to ball extension 48 in forcing it to
extend forward and retract backward. That angle seen in
elevation should range from 15° to 75° to assure adequate
[orce, Sir:nilarly, ball-and-soekel joint actuator support
bracket 51 has a further pair of linear actuators, 58 and 59,
rotatably connected to the clevises therein iri a similar
arrangement Linear actuator 58 has one end thereof rotat~
ablyr connected to fixed clevis 54 of bracket 51, and linear
actuator 59 has one end thereof rotatably connected to
rotatably connected clevis 55 of bracket 51.

l.inear actuator 56 is rotatably connected at an end
thereof, opposite the one connected to bracket 50, to a bent
pin, 60. Pin 60 is bent to approximately a right angle and has
the portion thereof past the bend away from its connection
to linear actuator 56 extending through slots in socket 44 on
opposite sides thereof and through the outer wall of ball 46
twice on opposite sides thereof As can be seen in FIG. 4, the
portion ofbent pin 60 extending through ball 46 and through
corresponding slots in socket 44 extends through the center
ot`bal| 46. 'lhe presence oithe portion oibcnt pitt 60 past the
bend extending through ball 46, but captured in the slots in
socket 44, prevents ball 46 from rotations along art axis
through the center thereof other than parallel to the axis of
that portion ot` pin 60. th, ball 46 can rotate about the axis
of the portion of pin 60 therethrough thus allowing tubular
ball extension 48 to rotate more or less in and out of the
plane of the drawing in FIG. 4 but preventing twisting of that
extension about other axes in the plane of that rigure,
[-`urthert'nore, extensions and retractions of linear actuator 56
rotate ball 46 about an axis perpendicular to the plane of
FIG_ 4 T.o thus guide tl'tc angular orientation of tubular ball
extension 48 with respect to tubular joint support 36. This
orientation will determine the direction towards which tubu-
lar ball support 43 is pointing with respect to tubular joint
Support 36 when extension 48 is forced up from or into the
plane of l~`IG. 4 by linear actuator 57 to be described below.

Asimilar bent pin, 61, is rotatably connected to the end of
linear actuator 58 opposite that end thereof which is con-
nected to bracket 51, and the portion of bent pin 61 past the
bend extends through slots in socket 45 and through the wall
of ball 47 twice in a manner similar to bent pin 60, Notc in
l~`l(i. 4 that bent pin 60 is retained in ball 46 by a pair of
retaining rings, 62 and 63, positioned against the watts of
ball 46. A similar arrangement is used to retain bent pin 61
in ball 47.

`l`hc cnd of linear actuator 57 not connected to the
rotatable clevis in bracket 50 is connected to tubular ball
extension 48 through a slip ring arrangement, 64. Slip ring
arrangement 64 has an inner bearing race all_`txcd to tubular
ball extension 48. An outer bearing race is rotatably con-
nected by pins to a pair of arms extending from linear

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actuator 57. Needle bearings are used between the inner and
outer races of slip ring 64. Asimilar slip ring1 65, is provided
about tubular ball extension 49 for the rotatable connection
of linear actuator 59 thereto. The extensions and contrac-
tions ot` linear actuators 57 or 59 force tubular ball exten-
sions 48 or 49 toward or away from the rotatably connected
clevises of the corresponding ones of actuator brackets 50
and 51 to thus simulate the motion of a human arm being
extended or retracted. The orientation of that extension, is
described above, is controlled by linear actuators 56 and 58
in orienting the axis of bent pin 60 and 61, respectfully, to
orient the location of corresponding balls 46 and 47.

Below tubular ball extensions 48 and 49 arc the structures
used to simulate motion of a human forearm about the
elbow. The human elbows are Simulated by single degree-
of-freedom joints in slave robot 10, such a single degree-
o[-freedorn joint1 70, being supported by tubular ball exten-
sion 48 Fllibular ball extension 49 supports a similar single
degree-of-freedocn joint, 71, Tubular ball extension 48 sup-
ports joint 70 by supporting a tubular joint base, 72, rotat-
ably attached thereto through a pair of bearings having inner
races attached to tubular joint base 72 and outer races
attached to tubular ball extension 48 which cannot be seen
in the drawings The bottom of tubular ball extension 48 has
therearound a set of gear teeth, 73. A motor, 74, allixcd to
rubularjoint base 72 forces that base and motor 74 to rotate
within tubular ball extension 48 in the bearings just
described through a gear on the output shaft thereof engaged
with gear 73. 'l`hus, single degree-of-freedom joint 70 and
the apparatus there beyond can be caused to rotate with
respect to tubular ball extension 48,

Asimilar structure is provided in connection with tubular
ball extension 49 and single degree-ol`~i`reedom joint 71_
`l'ubular ball extension 49 supports a tubular joint base, 75,
through a pair of bearings between them not seen in the
hgures in the same arrangement as used in connection with
tubular ball extension 48 and tubular joint base 72. 'l`he end
of tubular ball extension 49 has a gear thercaround, 76, and
tubular joint base 75 can be rotated within tubular ball
extension 49 and the bearingsjust mentioned by a nietor, 77,
through a gear on the output shaft thereof engaged with gear
76_

FIG_ 6 shows more detail in a selected one of'joints 70 and
71, herejotnt 70. As can be seen, a linear actuator, 80, is used
to force the side of joint 70 opposite tubular joint base 72
into motions relative to that base. l_inear actuator 80 is
rotatably connected at one end thereof to a bracket1 81,
which is mounted on tubular joint base 72 as can be more
easily seen in the cross section view ot` FIG. 7, '[`hc opposite

end of linear actuator 80 is connected to a ilexible mechani- _

cal drive tape, 82, guided in a pair of tape guides, 82', by a
tape connector, 83, mounted on that end of actuator 80
which can be better seen in the cross section view of l"[(i.
ti. A linear variable dillerential transformer, 84, is held by a

bracket, 85. to tubular joint base 72, and has its movable _

core, 86, connected by a oonneclor, 87, to the same end of
actuator 80 as is tape 82,

A tubular joint extension, 38. shown in FIG, 6 is subject
to being rotated both clockwisc and counterclockwisc in the
view of that figure about a end portion of tubular joint base
72 opposite that end thereof engaged with tubular ball
extension 48 in accord with the single dcgree»of-frccdom
permitted joint 70. 'Ihe bearing arrangement to allow such
rotation of joint extension 88 is best seen in FIG. 9 where it
can be seen that tubular joint base 72 expands at the
rotational axis location of joint 70 to form on one side
thereof a cup-like portion 89 (in which there is provided a

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removable plate to permit external access) supporting a
portion of and enclosing, except for a side facing away from
the rest of the cup, a circular bearing holder band, 90, with
an open interior space_ A pair of thin section angular contact
bearings, 91, are Etted within the circu lar open interior space
provided by bearing position band 90 on opposite sides of
that band with the bearing outer races connected to the inner
surface of this band.

]oint extension 88 also expands in the portion thereof at
the rotational axis of joint 70 by forming a rectangular space
a rectangular oii`set tub, 92, which has extending from the
wall thereof farthest from the remainder of extension 88
within the rectangular space a truncated cylindrical shell, 93.
Truncated cylindrical shell 93 has an outer diameter to
permit it to tit within the circular open interior space ot`
bearing holder band 90 of tubular joint base 72, and within
bearings 91, so that the inner race of these bearings is
connected to the outer surface of truncated cylindrical shell
93 so as to enable this shell to rotate within bearing holder
band 90.

loint extension 88 is driven i_n and out of the plane of FIG.
9 by mechanical drive tape 82 being fastened about the outer
Surface of truncated cylindrical shell 93 of that extension
between the pair of bearings 91 to thereby be subject to
being rotationally moved by movements of linear actuator
80 forcing that tape to correspondingly move. Meehanieal
drive tape 82 is fastened to thc outer surface of truncated
cylindrical shell 93 by pin, 94, seen in the cross section view
ot` l"l(l. 10. 'l`here, mechanical drive tape 82 can be seen to
pass through a slot in cup-like portion 89 of tubular joint
base 72 to be wrapped around and pinned to the outer
surface of truncated cylinder 93.

ll`hus, movement of linear actuator 80 in l"l(_`r. 10, thereby
forcing upward the end of tape 82 connected to it, will lead
lo clockwise motion of joint extension 88, and downward
motion of linear actuator 80 will lead to counterelockwise
motion of joint extension SS. This is possible because
mechanical drive tape 82 is a rugged but flexible polymer
material designed for such service and sold under the
trademark DYMETROL®. An advantageous result of using
such a mechanical tape drive to transmit movement force to
joint extension 88 from linear actuator 80 is the providing of
an open passageway through the interior of the tubular joint
base 72, through it’s cup-like region 89, and then through
truncated cylinder 93 and rectangular oEset portion 92 ot
joint extension 88_ This again is allows wiring to be passed
therethrough and on to further locations in the apparatus of
slave robot 10 beyond joint 70.

Single degree-of-freedom elbow-like joint 71 also has a
tubularjoinl extension, 95, shown in FIG. 2 that is subject
to be rotated upward and downward in that figure with
respect to extension 49. Extending from each of joint
extensions 88 and 95 are the remainder of the stmctures ot`
slave robot 10 which are used to simulate the human
t`orearm, the human wrist and the human band, The human
t'oreami is simulated by joint tubular base, 96, supported by
tubular joint extension 88 with joint base 96 being rotatably
attached to joint extension 88 through a pair of bearings
having inner races attached to tubularjoint base 96 and outer
races attached to tubular joint extension 88 which cannot be
seen in the drawings The bottom of joint extension 88 has
therearound a set of gear teeth, 97. A motor, 98, allixed to
tubular joint extension 88 forces tubular joint base 96 to
rotate within extension 88 in the bearings just described
through a gear on the output shaft of that motor engaged
with gear 97,

Sirnilarly, joint extension 95 supports a joint tubular base,
99, simulating a human forearm rotatably attached thereto

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through a pair of bearings having inner races attached to
tubular base 99 and outer races attached to extension 95
which cannot he seen in the drawingsl 'I`he bottom of
extension 95 has there arouttd a set gear teeth, 100. A motor,
101, afhtted to tubular joint extension 95 forces tubular joint
base 99 to rotate within extension 95 in the bearings just
described through a gear on the output shaft of the motor
engaged with gear 100.

Further in l"[(`r. 2, joint tubular base 96 supports a wrist-
likejoint, 102, and joint tubular base 99 supports a wrist-like
joint, 103. Wrisl-like joint 102 supports a hand-like
structure, 104, and wrist-like joint 103 supports a hand-like
structure, 105.

IIand-like structure 105 is shown in greater detail in a
front pictorial view thereofin FIG. ll, and in a rear pictorial
view thereof iri FIG. 12, As can be seen there, joint tubular
base 96 in turn supports a pedestal and mounting block
arrangement, 110, on Which wrist-like joint 102 is mountedl
Also supported on tubular basejoint 96 is a drive motor, 111,

clamped thereon by split clamp having a first clamp portion, h_

112, a|Iixed to drive motor 111 and a separated second clamp
portion, 113, which goes on the opposite side of joint tubular
base 96 and a part of mounting block arrangement 110.
When clamp portions 112 and 113 a_re brought together

around portions Of base 96 and arrangement 110 and h

clamped together by machine bolts (not shown] extending
from one clamp portion to the other, motor 111 is tirn‘lly
affixed to base 96 and arrangement 110.

Also aiftxed to joint tubular base 96 is a transducer

bracket, 114, which has a circular opening therein to allow _

it to be slid over joint tubular base 96 against which it is
tightened by a set screw not shown. Transducer bracket 114
has a spaced apart pair of arms extending therefrom with a
valley in each covered by a clamping bracket, 115, to accept

and rotatablyr hold in these valleys a solid pivot pin, 116, _

[seen only in FIG, 13 introduced below) extending from one
Sir]c of a transducer holder, 117, and a center tapped pivot
pin, 118, extending from the other side thereof l’in 118 has
a set screw therein which afExes holder 117 to the outer
cylindrical shell body, 119, of a linear variable differential
transforrncr, 120, positioned in a hole provided through
holder 117 at right angles to the axis of the pins therein An
internal shaft, 121, of transducer 120 is ad:ixed at the other
end thereof in a yol_lt, 122. Yolk 122 is rotatably attached to
a drive housing framing block, 123, by a pivot pin, 124,
extending through the two sides of yolk 122 and an exten-
sion boss, 125, of framing block 123 which boss is posi-
tioned between those sides Linear variable dili`ercntial
transformer 120 serves as a displacement measure trans-

ducer to indicate effectively the angular displacement of a _

drive housing that includes framing block 123 due to actions
of motor lll.

This drive housing is shown in an exploded view of
wrist»like joint 102 in FIG. 13, and is there shown fomied of

a further drive housing framing block, 126, positioned in \

joint 102 opposite framing block 123, and two drive housing
sectorial frames, 127r and 128, spaced apart but joined
together by these two framing blocks Drive housing fram-
ing blocks 123 and 126 arc connected to drive housing
sectorial frames 127 and 128 by machine screw and pin scts,
129. In each of drive housing sectorial framcs 127 and 128
are provided bearing races, 130, in which ball bearings, 131,
are positioned Ball bearings 131 are held in bearing races
130 by drive housing sectorial mounts, 132 and 133. Mounts
132 and 133 each have bearing races, 134, in which ball
bearings 131 are positioned as well as in races 130 ot` the
corresponding one of drive housing sectorial frames 121 and

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128 where they are held With these frames elamped against
those mounts. Pins, 135, are provided at the opposite ends of
the beating races 134 to keep ba_ll bearings 131 contained in
races 130 and 1341 Framing mounts 132 and 133 are attixed
to mounting block 110 by a pair of machine screw and pin
sets not shown.

In addition, drive housing sectorial frames 127 and 128
support a motor mount structure therebetween to be
described below held thereto by a pair of machine screw and
pin sets, 136. Drive housing sectorial frame 12’7l further has
a sectorial bevel gear, 137 affixed thereto by machine screw
and pin sets 129, Sectorial bevel gear 137 and drive housing
sectorial frame 127 are driven together, and so also the drive
housing along the sectorial track of that bevel gear by a

~ beveled pinon gear, 138, mounted on the output shat`t ot`

drive motor 111_ Thus, the frame of the drive housing,
formed of drive housing framing blocks 123 and 126
together with drive housing sectorial frames 127 and 128, is
driven about an axis perpendicular to the axis joining two
accommodational openings, 139, for ball bearing assemblies
in drive housing framing blocks 123 and 126.

l;`ach of ball bearing assembly accommodational openings
139 (only one of which is seen in FIG. 13) accommodate a
corresponding prelnaded hall bearing assembly, 140 and
141 The inner races of hall hearing assemblies 140 and 141
are press titled on corresponding shafts, 142 and 143, each
of which have a raised ring machined thereahout located at
approximately the center thereof serving as spacers.

The opposite ends of shafts 142 and 143 are pressed tit
into openings in a further output yolk, 144, serving as the
joint 102 output structure supporting hand-like structure
104. Further ati“ixed to one side of output yoll< 144 is a sector
geat, 145, through which shaft 143 passes into yolk 144.
Sector gear 145 is ail"txed to the side ol` yolk 144 by machine
screws not shown.

A drive housing motor support, 146, is, as previously
mentioned, connected to drive housing sectorial frames 127
and 128 by machines screw and pin sets 136. Motor support
146 supports a further drive tnotor, 147, on an axis orthogo-
nal to that about which the output shaft of drive motor 111
rotates. Drive motor 147 is mounted on motor support 146
by machine screws not shown extending through that mount
into a flange on the face of drive motor 147. The output shaft
of drive motor 14'1‘r extends through motor support 146 into
a pinon gear, 148, engaged with sector gear 145 and which
also drives an idler ge ar, 149, which is rotatably mounted on
motor support 146 by a shoulder screw, 150. ldler gear 149,
i_n tum, drives a further gear, 151, mounted on a threaded
shaft, 152, which also extends through motor support 146.
Rotation of gear 143 by motor 147 forces sector gear 145
and output yoke 144 to also rotate about the axis through
shafts 142 and 143 so that hand-like structure 104 mounted
on yoke 144 can be rotated to a desired angle by the
combined motions provided by operating both motors 111
and 147.

Threaded shaft 152 extends i_nto a threaded nut (not seen)
in a translation carriage, 153. Thus, rotation of gear 148 by
motor 14'1, and so rotation of gears 149 and 151, also causes
threaded shaft 152 to rotate which in turn forces thc nut in
carriage 153 to move lincarly along threaded shaft 152 thus
translating rotation motion of gear 151 to linear motion of
carriage 153. Carriage 153 is aflixed to an output shaft, 154,
belonging to a linear variable dilIerential transformer, 155,
used to measure the linear displacement ot` carriage 153 and
thus the number of revolutions of drive motor 14»',|r from a
reference point. 1lence, the angular displacement of output

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yoke 144 can be elIectively measured Lineat' variable
differential transformer 155 is supported at its opposite end
in a clamp, 156, placed around it and the base of drive motor
147. (.'lamp 156 is tightened by a machine screw, 157, and
linear variable differential transformer 155 can be tighten in
clamp 156 by use of a setscrcw, 158,

Returning to I-`IGS. 11 and 12, hand-like structure 104 is
supported on output yoke 144 by a slave support frame, 160,
at a slave support base, 161, therein that is fastened to yoke
144 with machine screws, 162. Support frame 160 is better
seen in FIG. 14 where a first extension, 163, extends from
support base 161 to the right in that ftgure to thereafter curve
around behind that base. A small subextcrlsion, 164, extends
out from both base 161 and first extension 163 in a forward
direction in that figure with a recess therein, not secn, that
has a surface following a portion of a spherical surface. A
frame cap plate, 165, with a recess therein having a surface
also following a portion of a spherical surface, again not
seen, is fastened to base 161, first extension 163, and
subextension 164 to trap therebetween in the recesses a ball
support, 166, having at least a portion of its surface follow-
ing the surface cf a portion of a sphere. Extending front ball
support 166 is a tube support, 167, that passes through a
second, opposite side access opening to thc recess in frame

cap plate 165 to be further described below. Tube support _

167 and ball support 166 both have a common opening
extending therethrough which meets another opening
between frame cap plate 165 and both first extension 163
and subexten.sion 164 to permit actuator and sensor wiring

to extend from frame support 160 into that which is sup- _

ported on tube support 167 to be described below.

Slave support frame 160 has a second extension, 168,
rotatath connected to support base 161 by a shouldered
sleeve, 169, fastened to base 161 by a machine screw, 170.

l:`,xtensiott 168 extends to the left in l~"l(i. 14 from its rotaryl `

connection to base 161 and then curves around behind that
base to be rotatably connected to a linear actuator, 171, by
a pivot pin, 172, passing through the opposite sides of the
outer moveable body of actuator 171 and through a hole
through the end ofsecond extension 168 positioned between
these two sides.

'ihe opposite, or base, end cf linear actuator 171 is
rotatably connected in a yoke, 173, formed at the end of first
extension 163 by a pivot pin, 174, passing through the two
sides of yoke 173 and the base end of actuator 171_ Thus, the
outer moveable body of actuator 171, in being activated to
travel back and forth with respect to the end thereof held in
yoke 173 forces second extension 168 to rotate clockwise
and countercloclrwise with respect to support base 161. 'l`he

degree of such rotation is measured by a linear differential _

variable transformer, 175, fastened to both the base end and
the outer body of linear actuator 171 to measure the distance
one has traveled with respect to the other. A machined spring
is aLso formed at the base of linear actuator 171, and a linear

variable differential transformer not seen is provided there- \

across to measure the elongation or contraction of that
spring to thereby measure the force on actuator 171.
Rotatably mounted to first extension 163 are a pair of
cleviscs, 176 and 177, by sleeves and machine screws not
shown Sirnilarly, rotatably mounted to second extension
168 arc a pair ofclcv`tses, 178 and 179, again by sleeves and
machine screws not shown Each of these cleviscs in each of
these pairs thereof has the base end of a corresponding linear
actuator rotatany mounted therein, as can be seen in FIG.
11, by a corresponding pivot pin not seen Thus, clevis 176
is rotatahly connected to a corresponding linear actuator,
180. Similarly, clevis 177 is rotatably connected to a corre-

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sponding linear actuator, 181. ln the remaining pair of
clevises connected to second extension 168, clovis 178 is
rotatably connected to a corresponding linear actuator, 182,
and Clevi.$ 179 is rotatably connected to a corresponding
linear actuator, 183.

Two further support items are mounted in Slave Support
frame 160 as assembled for uSc, one in an opening, 184, in
frame cap plate 165 over first extension 163 and the other in
an opening, 185, in second extension 168 as seen in FIG. 14.
These support items are support hall pedestal tuhes, there
being a support pedestal, 186, llxedly mounted in opening
184 and another support pedestal, 187, fixedly mounted in
opening 185 as seen in FIG. l_l, Pedestal 186 supports a
lixedly attached pedestal ball, 188, having at least a portion
of its surface following the surface of a portion of a sphere.
Similarly, pedestal 187 supports a ftxedly attached pedestal
ball, 189, also having at least a portion of its surface
following the surface of a portion of a sphere_ The pedestal
and the ball in each of these pedestal and support ball
combinations both have a common opening extending there-
through to permit actuator and sensor wiring to extend
therethrough, as can be seen for pedestal ball 189 in FIG_ 11
where thc structure actually surrounding it has been partially
broken away in that view to expose a portion of that pedestal
ball,

Pedestal 186 and pedestal ball 188 Support an cffector
base, 190, with a ball capture lip structure, 191, surrounding
the bottom thereof to capture pedestal hall 188 therein as
seen in FIG. 11, The opening in eli`ector base 190 and ball
capture lip structure 191 has an interior surface of which at
least a portion follows a spherical surface to thereby allow
elfector base 190l and ball capture lip structure 191 to rotate
around pedestal ball 188 in any direction, i.e. to be capable
of rotating in orthogonal directions thereat‘ound. Ball cap-
ture lip structure 191 has two outward extensions on the rear
side thereof to form a yoke, 192, seen in part in both FIGS.
ll and 12. l:`tfector base 190, ball capture lip structure 19l,
and yoke 192 are formed from two half structures split along
the length thereof, more or less vertically in FIGS. 11 and 12,
which are brought together to capture pedestal ball 188
therebetween and arc thereafter held together by a pair of
machine screws, 193.

Sir'nilarly, pedestal 187 and pedestal ball 189 support
another effector base, 194, with a ball capture lip structure,
195, surrounding the bottom thereof to capture pedestal ball
189 therein as again seen in FIG. 11_ The opening in edector
base 194 and ball capture lip structure 195 has an interior
surface of which at least a portion follows a spherical surface
to thereby allow ett`ector base 194 and ball capture lip
structure 195 to rotate around pedestal ball 189 in any
direcrion, i_c. to be capable of rotating in orthogonal direc-
tions therearoundt Bal| capture tip structure 195 has two
outward extensions on the rear side thereof to form a another
yoke, 196, seen in part in both FIGS_ ll and 12. llere too,
ett`ector base 194, ball capture lip structure 195, and yoke
196 are formed from two half structures split along the
length lhereof, more or less vertically in I~`IGS. ll and 12,
which are brought together to capture pedestal ball 189
therebetween and are thereafter held together by a pair of
machine screws, 197.

ll|icctor base 190 is forced to rotalc about pedestal ball
188 by linear actuators 180 and 181, the base ends of which
are rotatany connected to first extension 163 on either side
ot` pedestal 186 mounted in frame cap plate 165 at opening

' 184 through being rotatany connected by pivot pins to

clevises 176 and 177, respectively, as described above `l`he
opposite ends of actuators 180 and 181 have at the extremes

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thereof a ball ou a base, or short pedestal, captured in a
socket in the nearest arm of yoke 192 on either side of the
opening in base elIector 190 and ball capture lip structure
191 in which pedestal ball 188 is captured. Thus, actuator
181 has a ball, 198, on its outer body moveable end which
is captured in an opening formed in the nearest arm of yoke
192 and a capture plate, 199, fastened thereto as seen in FIG.
ll. This opening again has an interior surface at least a
portion of which follows a portion of a spherical surfacc_
'|'he hall on the outer body moveable end of actuator 180
cannot be Sectt in FIG. 11. nor can it be seen in l~`lG, 12.
However, a capture plate, 200, l`or capturing this unseen ball
at this end of actuator 180 can be seen in the view in t"l(l.
12_

Linear actuators 180 and 181 are capable of forcing
elIector base 190 to any angle with respect to vertical within
a limited angular range about the vertical in FIGS. 11 and 12
substantially followed by the length axis of effeetor base 190
in thc straight-up position thereof in those figures Extcnding
or retracting the movcable ends of actuators 180 and 181 in
unison forces effector base 190 forward and backward in the
views of these figures with the combined forces supplied by
each actuator, while differentials in the motions between the
moveable ends of these actuators result in side-to-side

motions of effector base 190. As a result, combinations of §

such motions allow choosing any desired angle for etIector
base 190 within the limited range_ The angular range pos-
sible for effector base 190 is clearly limited mechanically by
interference between ball capture tip stn:cture 191 and

pedestal 186, by the maximum excursion oi` the moveable _

ends of actuators 180 and 181 from the base ends thereof,
and by the location of effector base 194 and the location of
an opposing ehector base not yet deseribed. Practically,
however, the angular range limits for effeclor base 190 will
be established by operating controls on actuators 180 and
181 to limit the excursions of the moveable end thereof with
respect to the corresponding end_

Sirnilarly, director base 194 is forced to rotate about
pedestal ball 189 by linear actuators 182 and 183, the base
ends of which are rotatany connected to second extension
168 on either side of pedestal 187 mounted in opening 185
in that extension through being rotatany connected by pivot
pins to clcvises 178 and 179, respectively, as described
above_ The opposite ends of actu ator.s 182 and 183 also have
at the extremes thereof a ball on a base, or short pedestal,
captured in a socket in the nearest arm of yoke 196 on either
side of the opening in base eEf`ector 194 and ball capture lip
structure 195 in which pedestal ball 189 is captured Thus,
actuator 183 has a ball1 201, on its outer body moveable end

which is captured in an opening formed in the nearest ami _

of yoke 192 and a capture plate, 202, fastened thereto as seen
in I~`IG, 11. This opening again has an interior surface at least
a portion ot` which follows a portion ot` a spherical surface
`I`hc ball on the outer body moveable end o|` actuator 182
cannot he seen in l"`l(`r_ 1`1, nor can it be seen in FIG_ 12.
llowcver, a capture plate, 203, for capturing this unseen ball
at this end of actuator 182 can be seen in the view in FIG.
12.

In the same manner, linear actuators 182 and 183 are
capable of forcing effector base 194 to any angle with
respect to vertical within a limited angular range about the
vertical in FIGS. 11 and 12 substantially followed by thc
length axis of effector base 194 in the straight up position
thereof in those figures l-tere again, extending or retracting
the moveablc ends of actuators 182 and 183 in unison forces
effector base 194 forward and backward with the combined
forces of each actuator in the views of these figurcs, while

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dih'erentials in the motions between the moveable ends of
these actuators result in side-to-sidc motions of cil`cctor base
194_ 'l"hus, combinations of such motions allow choosing
any desired angle for eli`ector base 194 within the limited
range. 'I`he angular range possible for effector base 194 is
limited in the same way as that for effeclor base 190_

'I`he angular position achieved by either of eEector bases
190 or 194 is measured in the manner that the angular
position of second extension 168 in support frame 160 is
determincd, that is, by use of a linear variable differential
transformer like transformer 175 measuring the extension of
the moveable end of the corresponding linear actuators with
respect to the base end thereof. Thus, in FIG. 12, linear
actuator 180 has a linear variable differential transformer,
204, connected between its base and moveable ends; linear

~ actuator 181 has a linear variable dilIerential transl`ormer,

205, connected between its base and movcable ends; linear
actuator 182 has a linear variable differential transformer,
206, connected between its base and moveablc ends; and
linear actuator 183 has a linear variable differential
transformed 20?, connected between its base and moveable
ends,

'l`he force appearing along the length axis of each of linear
actuators 180, 181, 182 and 183 is also measured through thc
usc Of machined springs fomied in a cylindrical block of
material at the base ends of these actuators where this
forming is accomplished by sawing slits into the cylindrical
block, The remaining material forms a high spring constant
spring with the deflection thereof being a measure of the
applied force. That deflection is measured by a further linear
variable differential transformer mounted across the ends oi`
lite machined springs in these actuators. Again in FIG. 121
linear actuator 180 has a linear variable dilIerential
transformer, 208, connected across the ends ol` its machined
spring, 209, formed at its base cnd,' linear actuator 181 has
a linear variable differential transformed 210, connected
across the ends of its machined spring, 211, formed at its
base end; linear actuator 182 has a linear variable differential
transformer, 212, connected across the ends of its machined
spring, 213, formed at its base end; and linear actuator 183
has a linear variable differential trausformer, 214. connected
across the ends of its machined spring, 215, formed at its
base cnd_

Elt"eetor base 190 has a first gripping extensiou, 216,
rotatably connected thereto at the end thereof opposite that
in which pedestal ball 188 is captured as seen in FIGS. ]_t
and 12. Extension 216 has a yoke like end with two
extensions between which a portion of elI`ector base 190 is
held by a pivot pin, 217, extending therethrough A linear
actuator, 218, has a base end thereof rotalahly connected by
a pivot pin, 219, between the extensions of yoke 192_ The
moveahle end of actuator 218 is rotatably connected
between a pair of extensions forming a yoke, 220, in i"lr'st
gripping extension 216 by a pair of pivot pins, 221. Exten-
sions and retractions of linear actuator 218 forces first
gripping extension 216 to rotate forward and backward
about pins 221 with respect to effector base 190, A linear
variable differential transfortner, 222, again mcasurcs the
displacement between the base and moveable ends of actua-
tor 218 to measure the degree of this rotation

A second gripping cxtcnsion, 223, has a portion thereof
rotatably connected to first gripping extension 216 between
portions thereof forming a further yoke by a pin, 224, at its
end opposite the end having a yoke connected to elfector
base 216. This gear is engaged with gears not seen in first
gripping extension 216 forcing second gripping extension
223 to rotate with respect to first gripping extension 216
when the latter is rotated with respect to effector base 190.

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Similarly for effector base 194, that base has a first
gripping extension, 225, rotatably connected thereto at the
end thereof opposite that in which pedestal ball 189 is
captured as seen in FIGS. 11 and 12. Extensicn 225 has a
yoke like end with two extensions between which a portion
of effector base 194 is held by a pivot pin, 226, extending
therethrough A linear actuator, 227, has a base end thereof
rotatably connected by a pivot pin, 228, between the exten~
sions of yoke 196. The moveable end of actuator 227 is
rotatably connected between a pair of extensions forming a
yoke, 229, in first gripping extension 225 by a pair cf pivot
pins, 229‘. Extensions and retractions of linear actuator 227
forces first gripping extension 225 to rotate forward and
backward about pins 229' with respect to etfector base 194
A linear variable dih`erential transforrncr, 230, again mea-
sures the displacement between the base and moveable ends
of actuator 22'7 to measure the degree cf this rotation

A second gripping extension, 231, has a portion thereof
rotatany connected to first gripping extension 225 between
portions thereof forming a further yoke by a pin, 232, at its
end opposite the end having a yoke connected to effeetor
base 225. Pin 232 also has a gear centrally mounted thereon
This gear is engaged with gears not seen in first gripping
extension 225 forcing second gripping extension 231 to

rotate with respect to first gripping extension 225 when the ~

latter is rotated with respect to eti`ector base 194.

.An opposed effector suhhase, 233, is mounted on a
narrowed, upper portion of tube support 167 in FlG_ 14 over
a carrier bracket, 234, elamped to a wider, lower portion of

that support by a set screw not shown A socket former, 235, ‘

is attached to opposed eti`ector suhbase 233 by machine
screws not shown. 'l`hus. opposed elfector subbase 253,
carrier bracket 234 and socket former 235 are all rotatable
together on ball support 166 to the extent permitted by the
access opening in frame cap plate 165 through which tube
support 167 extends.

These components assembled appear in FIGS. 11 and 12
where carrier bracket 234 has the two extended sides thereof
curving downward in those figures form a yoke in which the
base end cfa linear actuator, 236, is rotatalrly held by a pivot
pin, 237, passing therethrough and through the sides forming
the yoke, ']`he moveable end cf actuator 236 is also rotatably
connected by a pivot pin, 237', in a yoke formed in an
opposed gripping base, 238. Opposed gripping base 238 is
rotatably connected to both an opposed gripping extension,
233‘, and to opposed effector subbase 233, this latter rotary
connection made by a pivot pin, 239.

The rotatable connection of opposed gripping base 238 to

opposed gripping extension 238' is made by a further pivot `

pin, 239‘_ Pin 239’ also has a gear centrally mounted thereon
This gear is engaged with gears not seen in opposed gripping
base 233 forcing opposed gripping extension 238‘ to rotate
with respect to opposed gripping base 238 when the latter is
rotated with respect to opposed effector subbase 233, Linear
actuator 236 forces opposed gripping base 238 to rotate with
respect to opposed effector subbase 233, and the extent of
this rotation is again measured by the displacement between
the base and moving ends of this actuator. This displacement
measurement is made by a linear variable differential
transforrner, 240. Force on this actuator is measured by usc
cf a machined spring, 241, in the base end thereof with its
displacement measured by a further linear variable differ-
ential transformer, 242.

Circumferential motion of opposed eifeetcr subbase 233
on tube support 167 and ball support 166 with respect to first
extension 163 and subextension 164 to simulate such motion

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of the human thumb is provided by two further linear
actuators, 243 and 244, which extend and retract at approxi»
mately right angles to one another to provide such motion.
Actuator 243 has a machined spring, 245, in the base thereof
and a short pedestal, 245', supporting a bal_l not seen on the
moveable end thereof. Acrnator 243 has this base end thereof
rotatably connected by a pivot pin, 246, in a clevis, 247,
which is rotatably connected in an opening, 248, in a support
extension, 249, of frame support 160 seen in FIG. 14. 'I`he
moveable end of actuator 243 has the unseen ball at its
extreme on short pedestal 245' captured itt the opening
provided by opposed effector Subbase 233 and socket fenner
235. This opening has an interior surface cf which at least
part follows a portion of a spherical surface to a|_low the ball
captured to rotate therein A linear variable differential
transformer, 250, measures translation between the base and
moveable ends of actuator 243, and a further linear variable
differential transformer, 251, measures the elongalion and
compaction of machined spring 245,

Linear actuator 244 has a machined spring, 252, in the
base thereof and has this base end rotatably connected by a
pivot pin, 253, in a clevis, 254, which is rotatably connected
in an cpening, 255, in first frame extension 163 of frame
support 160 seen in FIG. 14‘ The moveable end of actuator
244 is rotatany connected by a pivot pin, 256, in a clevis,
257, which is rotatany connected into opposed elfector
subbase 233. A linear variable differential transfornier, 258,
measures translation between the base and moveable ends of
actuator 244, and a further linear variable differential
transforrner, 259, measures the elongation and compaction
of machined spring 252.

FIG. 15 shows a pictorial view of a linear actuator, 260,
similar to those used in slave robot l(| described above and
in control exoskcleton 12. A base, 261, contains an electrical
motor to rotate a shaft mounting an exterior helical screw
thread arrangement, 262, and a shaft eneoder to provide
electricals indicating these rotaticns. Shaft exterior screw
thread arrangement 262 is engaged with an interior screw
thread arrangement, 263. at the inner surface cf a moveable
cylindrical body or end, 264, of linear actuator 260. Move-
able end 264 is shown formed with a yoke, 265. at the end
thereof, but slave robot 10 also used such linear actuators
having instead a ball on a pedestal at the extreme of the
moveable end thereof.

A machined spring, 266, formed by sawing slits into a
cylindrical metal block provided in base 261, provides a
portion of a force measuring sensor through its elongating or
compressing in proportion to the tensile or compression
forces provided thereon, the resulting elongation or com-
pression being measured by a linear variable diE`erential
transfon'rter, 267, connected on opposite sides of spring 266
as part of the sensor. 'I`he elongation of spring 266 permitted
is limited by a retainer, 26?', also connected on opposite
sides of that springl to thereby prevent inelustic extensions
thereof under sufficiently large tensile foroes.

The translation of moveable end 264 with respect to base
end cf spring 261 has been typically measured by a further
linear variable differential transformer having one end con~
nected to each as has been shown for the linear actuators
described above, but a cheaper though less accurate altcr~
native is shown in l"IG, 15 in the form of an electrical switch,
268, which is caused to switch between open and closed by
a tab, 269, extending from the near end of moveable body
264, to set positioned reference point for that bcdy. Trans-
lation of body 264 from that point is then kept track of by
the signals provided by the shaft encoder in base 261. A
further alternative not shown is the use cf a sliding wiper

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potentiometer connected to both base end 261 and moveable
end 26410 measure translations therebetweenl

Various force sensing pads, 270, are provided on the
gripping surfaces of hand-like structure 104 as seen in FIG.
11, including over a cover cushion, 271, mountable on
pedestals 186 and 187 for providing a smooth surface to grip
objects against 'lhe electrical wiring used to interconnect
these pads with the transmitter in slave robot 10 in commu-
nication with system controller 15 is not shown. Pads 270
are typically formed by two sheets of closely spaced elec-
trical conductors positioned to have the conductors in each
sheet orthogonalto those in the other to in effect form a grid
with each sheet of wiring separated form the other by a
material which reduces its electrical conductivity with
increasing force thereon 'Ihe locations in the grid with
reduced electrical resistance between conductor cross over
points can be determined to indicate the location and mag-
nitude of the applied force which is conveyed to system
controller 15.

As indicated above, bodily motion based force magnitude
signals (and some translation magnitude signals) derived
front signals generated in control exoskeleton 12 during its
operation are used by control arrangement 13 to cause
similar motions by the above described similar actuators in

slave robot 10 through control arrangement 13 transmitting _,

such signals to slave rohot l0. Such signals generated in
control exoskeleton 12 during its operation are generated by
sensors located in the various portions of control exoskel-
eton 12 adjacent actuators used in those portions Exan'iples

of portions of control exoskeleton 12 having such actuators `

along with appropriate sensors are provided by a pair of
wrist-like joints, 280 and 281, supporting a pair of corre-
sponding hand-like structures, 282 and 283. Control exosk-
eleton 12 receives signals from control arrangement 13

based on the signals control arrangement 13 received t`rorn _

the sensors in these portions and uses the information in
those signals to operate the corresponding actuators in slave
robot 10, and also in control exoskcleton 12 to aid human
operator 11 in moving the exoskeleton apparatus to the
extent desired by that operator That is, the signals received
in control cxoskcleton 12 from control arrangement 13 arc
used to move the corresponding actuators therein sul]icientlyr
to null out force magnitude signals measured by force
sensors thereon due to forces imposed by bodily motions of
human operator 11 which force signals (aod some translation
magnitude signals) were transmitted to control arrangement
13.

Wrist-like joint 280 and hand-like structure 282 are shown
in more detail in a front pictorial view thereof in FlG. 16 and

in a corresponding rear pictorial view in FlG, 1?. Wrist-l ike _

joint 280 has essentially the construction of wrist-like joint
102 in F|GS. 11, 12 and 13 except for the force actuators
used. The force actuators in Wrist~like joint 280 are provided
by a pair of linear actuators, 283 and 284, rather than by
electrical motor 111 with pinion 138 and electrical motor
147 with pinion 148 driving corresponding sector gears 137
and 145 used in joint 102. Also, two linear variable differ-
ential transformers, 285 and 286, are used to provide a
measure of the angular rotation ot` the drive housing through
measuring the translation of the corresponding moving ends
of linear actuators 283 and 284 with respect to the bases
thereof Only portions of linear variable differential trans-
formers 285 and 286 can be seen in FIGS. 16 and 17. Linear
variable differential transformer 285 corresponds to linear
variable transformer 120 in FIGS_ 11, 12 and 13 and linear
variable differential transformer 286 is the substitute for
linear variable differential transformer 155 in FIG. 13 used

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with translation carriage 153, Becausc of the otherwise
similar construction and performance of wrist~likejoints 102
and 280, no further description will be provided here of joint
280 other than that hand-like structure 282 is supported on
an output yoke, 28',’, in wrist-like joint 280_

Hand-likc structure 282 is supported on output yoke 287
by a master support frame, 288, at a master support base,
289, therein that is fastened to yoke 287 with machine
screws not shown. Support frame 288 is better seen in FIG.
18 where a first extension, 290, extends from support base
289 to the right in that figure to thereafter curve around
behind that base, Support frame 288 has a second extension,
291, rotatany connected to support base 289 by a shoul»
dered sleeve, 292, fastened to base 289 by a machine screw,
293. Extension 291 extends to the left in FIG. 18 from its
rotary connection to base 289 and then curves around behind
that base to be rotatably connected to a linear actuator, 294,
by a pivot pin, 295, passing through the opposite sides of a
yoke at the extreme end of the outer movable body of
actuator 294 and through a hole through the end of second
extension 291 positioned between those two sides.

The opposite, or base, end of linear actuator 294 is
rotatably connected in a yoke, 296, formed at the end of first
extension 290 by a pivot pin, 297, passing through the two
sides of yoke 296 and the base end of actuator 294. Thus, the
outer movable body of actuator 294, in being activated to
travel back and forth with respect to the end thereof held in
yoke 296, forces second extension 291 to rotate clockwise
and counterclockwise with respect to base support 289. The
degree of such rotation is measured by a linear differential
variable transformer, 298, fastened both to the base end and
the outer body of linear actuator 294 to measure the distance
one end has traveled with respect to the other_ A machine
spring is also formed at the base of linear actuator 294, and
a linear variable dill`erential transformer not seen is provided
thercacross to measure the elongation or contraction of that
spring to thereby measure the force on actuator 294.

Rotatably mounted to first extension 290 are a pair of
cleviscs, 299 and 300, these being rotatably connected by a
corresponding pair of sleeve and machine screw
combinations, 301 and 302. Similarly, rotatably mounted to
second extension 291 are a pair of clevises 303 and 304,
again so connected by a corresponding pair of sleeve and
machine screw combinations 305 and 306. l:`.ach of these
clevises in each of these pairs thereof has the base end of a
corresponding linear actuator rotatably mounted therein by
a corresponding pivot pin as can be seen in FIG. 16, Thus,
clevis 299 is rotatany connected to a corresponding linear
actuator, 307. Similarly, clevis 300 is rotatany connected to
a corresponding linear actuator, 308. ln the rem aining pair of
clevises connected to second extension 291, clevis 303 is
rotatany connected to a corresponding linear actuator, 309,
and clevis 304 is rotatably connected to a corresponding
linear actuator, 310_

Linear actuator 307 has provided at the extreme of the
movable end thereof a ball, 311, supported on a short
pedestal as seen in FIG. 16i Similarly, the extreme of the
movable end of linear actuator 308 has provided thereat a
further ball, 312, on a short pedestal. In much the same
manner, linear actuator 309 has a ball, 313, supported Ort a
Shott pedestal as thc extreme of its movable end, as does
linear actuator 310 in supporting a further ball, 314.

Lirlcar actuators 307 and 308 together rotatably support a

‘ digit capture base, 315, ata yoke, 316, formed at the bottom

thereof as seen in FIGS. 16 and 17, The arms of yoke 316
each have an opening therein having an interior surface of

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which at least a portion follows a spherical surface. Bal_l 311
is captured in one of these openings by a capture plate, 317,
also having an opening therein following in part a spherical
surface, such that digit capture base 315 can rotate about ball
311, Ball 312 is captured in the remaining opening in the
other arm of yoke 316 by a further capture plate, 318, also
having a opening with the portion following a spherical
surface so that base 315 can rotate about ball 312 also.

The remainder of digit capture base 315 extending
upward in FlGS. 16 and 17 from yoke 316 is formed much
like a portion of a hollow tube -like structure with portions of
the tube wall omitted ’l`hus, there are two sidewa_lls, 319 and
320, in digit capture base 315 extending upward in FIGS. 16
and 17 from yoke 316 with a back bridge, 321, joining
sidewalls 319 and 320 just above yoke 316 as is best seen in
FIG. 1'1 Fu.rther up digit capture base 315 is a front bridge,
322, also joining sidewa]_ls 319 and 320 with front bridge
322 flaring outward from those sidewalls to provide room
for aportion of the index finger or digit of operator 11 within
digit capture base 315 during use.

At the end of digit capture base 315 opposite that end
thereof formed with yoke 316 there is rotatably connected a
digit capture first extension, 323, with this rotatable con-
nection being accomplished by a pair of pivot pins, 324
Again, a yoke, 325, is formed toward the bottom of digit
capture Erst extension
linear actuator, 326, is rotatably attached by a pair of pivot
pins, 327. ’Ihe base end of linear actuator 326 is fastened in
yoke 316 of digit capture base 315 by a further pair of pivot
pins, 328. Thus, linear actuator 326 is capable of causing

digit capture first extension 323 to rotate with respect to digit _

capture base 315 about pivot pins 324_ Linear actuator 326
has a machined spring at the base end thereof over which is
connected a linear variable differential transformer, 329, to
measure the elongation and contraction of that spring to
determine the force on actuator 326 which is to be nulled out
by control arrangement 13 in operating that aetuator_ ln
addition, a further linear variable differential transformer,
330, is connected between the base and moveable ends of
actuator 326 to determine the translation of the moveable
end with respect to the base as an indication of the amount
of rotation of digit capture first extension 323 with respect
to digit capture base 315 provided by the captured index
digit of operator 11 and actuator 326 in milling out the force
provided by that index digit.

l.inear actuators 307 and 308 also each have machined
springs at the ends thereof for determining forces on these
actuators while positioned at the back of the right hand of
operator 11 during use, Here, though, such forces can arise
because ot` motions of the index digit of operator 11 that are
other than rotary motions about a single axis because digit
capture base 315 is not merely rotatany connected to
another solid structure hy pivot pins but is instead connected
to linear actuators 307 and 308 using ball~and-socket con-
nectionsl thereby permitting relations of base 315 about art
entire array of axes. l,inear actuator 307 has a linear variable
differential transformer. 331, connected over its base
machined spring to determine the force thereon introduced
by movements of the index digit of operator 11 during use,
Siinilarly, linear actuator 308 has a linear variable differen-
tial transformer, 332, connected over its base machined
spring to determine the force thereon during use, Here too,
the forces on these actuators must be ttulled out by control
arrangement 13 operating the corresponding actuator, and
these forces rnay be unequal because of side-to-s`ide motions
of the index digit of operator 11 during use,

A further linear variable differential transformer, 333, is
connected between the base and moveable ends of linear

323 to which the movable end of a s

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actuator 307 to measure the translation between the ends
thereof as an estimate of the rotation of digit capture base
315 about ball 311. ln a like manner, another linear variable
differential transformer, 334, is connected between the base
and moveable ends of linear actuator 308 to measure the
translation between the ends thereof as an estimate of the
rotation of digit capture base 315 about ball 312.

Rerurning to digit capture first extension 323, this exten~
sion is also shaped as a tube-like structure with portions ot`
the tube wall omitted_ Thus, digit capture first extension 323
has a pair of sidewalls, 335 and 33o`, extending upward from
yoke 325 with a back bridge, 337, ltoining sidewalls 335 and
336 together just above yoke 325 A front bridge, 338, also
joins sidewalls 335 and 336 further up front yoke 325, and
again flares outward from sidewalls 335 and 336 to provide
room within digit capture first extension 323 for another
portion of the index finger of operator 11 during nsc.

A further yoke, 339, located at tnc end of digit capture hrst
extension 323 opposite the end with yoke 325, has a digit
capture second extension, 340, rotatably connected to it by
a pair of pivot pins, 341. Digit capture second extension 340
is formed similar to a thimble having the front portion of the
thimble wall omitted ln view of no separate actuator having
been provided to independently operate corresponding sec-
ond gripping extension 223 iri hand-like structure 104 in
slave robot 10, which is instead operated with gearing
actuated by linear actuator 218 to rotate with respect to first
gripping extension 216, digit captire second extension 340
has been allowed to rotate freely with respect to digit capture
first extension 323. in these circumstances of no indepen~
dent force being applied to rotate second gripping extension
223, there is no need for an actuator to be connected between
digit capture second extension 340 and digit capture first
extension 323 to null out forces introduced by the extreme
end section of the index finger or| digit of the right hand of
operator 11 in digit capture second extension 340 as the basis
for generating a force magnitude signal to operate an actua-
tor in slave robot 10 for supplying such independent force to
second gripping extension 223.

In a manner similar to linear actuators 307 and 308, linear
actuators 309 and 310 together rotatably support a digit
capture base, 345, at a yoke, l34¢6, formed at the bottom
thereof again as seen in FIGS_ 16 and 11 The arms of yoke

346 each have an opening therein having an interior surfaoe

- ot` which at least a portion follows a spherical surface Ball

313 is captured in one of these openings by a capture plate,
347, also having an opening therein following in part a
spherical surface, such that digit capture base 345 can rotate
about ball 313_ Ball 314 is captured in the remaining
opening in the other arm of yoke 346 by a further capture
plate, 348, also having a opening with the portion following
a spherical surface so that base 345 can rotate about ball 314
also,

l-lere too, the remainder of digit capture base 345 extend-
ing upward in FIGS. 16 and 17 from yoke 346 is formed
much like a portion of a hollow tube-like structure with
portions of the tube wall omitted 'l'hus, there are two
sidewalls, 349 and 350, in digit capture base 345 extending
upward in l"tGS, 16 and 17 from yoke 346 with a back
bridge, 351, joining sidewalls 349 and 350 just above yoke
346 as is best seen iri FlG_ 17_ Further up digit capture base
345 is a front bridge,352, also joining sidewalls 349 and 350
with front bridge 352 ilaring outward from those sidewalls
to provide room for a portion of the middle finger or digit of

' operator 11 within digit capture base 345 during use.

At the end of digit capture base
thereof formed with yoke 346 there

345 opposite that end
is rotatably connected a

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digit capture first extension, 353, with this rotatable con-
nection being accomplished by a pair of pivot pins, 354
Again, a yoke, 355, is formed toward the bottom of digit
capture first extension 353 to which the movable end of a
linear actuator, 356, is rotatany attached by a pair of pivot
pins, 357. The base end of linear actuator 356 is fastened in
yoke 346 ofdigit capture base 345 by a further pair of pivot
pins, 358, Thus, linear actuator 356 is capable of causing
digit capture first extension 353 to rotate with respect to digit
capture base 345 about pivot pins 354. Linear actuator 356
has a machined spring at the base end thereof over which is
connected a linear variable differential transforrner, 359, to
measure the elongation and contraction of that spring to
determine the force on actuator 356 which is to be nulled out
by control arrangement 13 in operating that actuator. In
addition, a further linear variable differential transforrner,
360, is connected between the base and moveable ends of
actuator 356 to determine the translation of the moveable
end with respect to the base as an indication of the amount
of rotation of digit capture first extension 353 with respect
to digit capture base 345 provided by the captured middle
digit of operator 11 and actuator 356 in milling out the force
provided by that middle digit.

Linear actuators 309 and 310 also each have machined
springs at the ends thereof for determining forces on these
actuators while positioned at the back of the right hand of
operator 11 during use. Here, though, such forces can arise
because of motions of the middle digit of operator 11 that are
other than rotary motions about a single axis because digit

capture base 345 is not merely rotatably connected to _

another solid structure by pivot pins but is instead connected
to linear actuators 309 and 310 using ball-and-soeket oon-
nections thereby permitting rotations of base 345 about an
entire array of axes. Linear actuator 309 has a linear variable

dih`erential transforrner, 361, connected over its base _

maehined spring to determine the force thereon introduced
by movements of the middle digit of operator 11 during usc.
Similarly, linear actuator 310 has a linear variable diti`eren~
tial transforrner, 362, connected over its base machincd
spring to determine the force thereon during use. Here too,
the forces on these actuators must be nulled out by control
arrangement 13 operating the corresponding actuator, and
these forces may be unequal because ofside-to~side motions
ot` the middle digit of operator 11 during use.

A further linear variable differential transforrner, 363, is
connected between the base and moveable ends of linear
actuator 309 to measure the translation between the ends
thereof as an estimate of the rotation of digit capture base
345 about ball 313. ln a like manner, another linear variable
differential transforrner, 364, is connected between the base
and moveable ends of linear actuator 310 to measure the
translation between the ends thereof as an estimate of the
rotation of digit capture base 345 about ball 314.

Returning to digit capture first extension 353, this exten-
sion is again shaped as a tube-like structure with portions of
the tube wall omittedv Thus, digit capture Hrst extension 353
has a pair of sidewalls, 365 and 366, extending upward from
yoke 355 with a back bridge, 36")', joining sidewalls 365 and
366 together just above yoke 355. A front bridge, 368, also
joins sidewalls 365 and 366 further up from yoke 355, and
again flares outward from sidewalls 365 and 366 to provide
room within base capture first extension 353 for another
portion of the middle finger of operator 11 during use.

A further yoke, 369, at the end of digit capture first
extension 353 opposite the end with yoke 355 has a digit
capture second extension, 3'!0, rotatably connected to it by
a pair of pivot pins, 371 Digit capture second extension 370

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is, like extension 340, formed similar to a thimble having the
front portion of the thimble wall omittcd. In view of no
separate actuator having been provided to independently
operate corresponding second gripping extension 231 in
hand-like structure 104 in slave robot 10, which is instead
operated with gearing actuated by linear actuator 227 to
rotate with respect to first gripping extension 225, digit
capture second extension 370 has been allowed to rotate
freely with respect to digit capture first extension 353.
Again, in these circumstances of no independent force being
applied to rotate second gripping extension 231, there is no
need for an actuator to be connected between digit capture
second extension 370 and digit capture first extension 353 to
null out forces introduced by the extreme end section of the
middle finger or digit of the right hand of operator ll in digit
capture second extension 3?0 as the basis for generating a
force magnitude signal to operate an actuator in slave robot
10 for supplying such independent force to second gripping
extension 231.

An opposed digit capture bracket, 375, has a yoke, 376,
formed at the lower end thereof in FIGS_ 16 and 17, and a
further yoke, 377, formed at the opposite, upper end thereof
A linear actuator, 378, is rotatably held by a pivot pin, 379,
passing therethrough and through the sides of yoke 376. The
movable end of actuator 378 is also rotatany connected by
a further pivot pin unscen but used in a yoke, also unseen,
that is formed as an inner yoke inside an outer yoke, 379,
which is formed in an opposed digit capture base, 380, along
with this unseen inner yoke. Opposed digit capture base 380
has its outer yoke 379 rotatably connected to yoke 377 of
opposed digit capture base 375 by a pair of pivot pins, 381.
l`l`hus., linear actuator 378, positioned during use against thc
side of the right hand ol` operator 11 below the thumb, is
operated by control arrangement 13 to null any force intro-
duced thereon by the thumb of operator 11 in causing
opposed digit capture base 380 to rotate with respect to
opposed digit capture bracket 375. 'l'he extent of any such
rotation is again estimated by the translation between the
base and moving ends of actuator 378 as measured by a
linear variable di|Ierential transforrner, 382, connected ther-
ebetween Any force introduced on this actuator is again
measured by the use of a machined spring in the base end
thereof with its elongation and contraction measured by a
further linear variable differential transformer, 383, fastened
to the base end of actuator 378.

()pposed digit capture base 380 has a further yoke, 384,
formed at the opposite end thereofl A.n opposed digit capture
extension, 385, has a yoke, 386, formed at the lower end
thereof, and this yoke 386 is rotatably connected to yoke 384
of opposed digit capture base 380 by a further pair of pivot
pins, 381 Outer yoke 379 at the lower end of opposed digit
capture base 38(), and the unseen inner yoke therein rotat-
any connected to the movable end of linear actuator 378, are
formed on the lower ends ol` a pair of side walls, 388 and

_ 389, which extend upward to form upper yoke 384 in that

base, Thus, this base again is formed as a tube-like structure
with portions of the tube wall omitted, A back bridge, 390,
joins side walls 388 and 389 just above outer yoke 379. A
front brir|ge, 391, joins side walls 388 and 389 further up
base 380 closer to yoke 384.

Opposed digit capture extension 385 again is formed
much like a thirnble with a portion of the thimble wall
omitted Here too, since no separate actuator has been
provided to independently operate corresponding opposed
gripping extension 238' in hand-like structure 104 of slave
robot 10 to rotate sa me with respect to first opposed gripping
extension 238 (gearing actuated by linear actuator 236 being

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used instead}, opposed digit capture extension 385 has been
allowed to rotate freely with respect to opposed digit capture
base 380. Sinoe no independent force is being applied to
rotate opposed gripping extension 238', there is rio need for
an actuator to be connected between opposed digit capture
base 380 and opposed digit capture extcmion 385 to null out
forces introduced by the extreme end section of the thumb
of the right hand o[ operator 11 in opposed digit capture
extension 385 as a basis for generating a force magnitude
signal to operate an actuator iri slave robot 10 for supplying
such independent force to opposed gripping extension 238'.

lvleasuring the results of circumferential motion ol` thc
thumb ol` the right hand of operator 11 during usc is provided
for by two further linear actuators. 393 and 394, which
extend and retract at approximately right angles to one
another during use in nulling out the forces introduced
thereon by the thumb of that operator. Actuator 393, shown
exploded away from the rest of hand-like structure 282 in
FlG_ 16, has a machined spring, 395, iri the base thereof and
has this base end rotatably connected by a pivot pin, 396, iri
a clevis, 397, which is rotatably connected in an opening,
398, in a support bar, 399, in master frame 288 which is
attached to support base 289 therein as seen in FIG. 18. The
movable end of actuator 393 has a ball at its extreme end on

a base, or short pedestal, which is captured in an opening h

provided in part by opposed digit capture bracket 375 to be
described below. A linear variable differential transforrner,
400, measures translation between the base and movable
ends of actuator 393, and a further linear variable differential

transforrner, 401, measures elongation and compaction ot` l

machined spring 395.

Linear actuator 394, better seen in l~`lG, 17, has a
machined spring, 402, in the base thereof and has this base
end rotatany connected by a pivot pin, 403, in a clevis, 404,

which is rotatany connected in an opening, 405, in l_irst _

frame extension 290 of support frame 288 seen in FIG. 18.
`l`he movable end of actuator 394 is rotatably connected by
a pivot pin, 406, in a clevis, 407, which is rotatably con-
nected into a portion of opposed digit capture bracket 375 to
be described below. A linear variable differential
transforrner, 408, measures translation between the base and
movable ends of actuator 394, and a further linear variable
differential transforrner, 409, measures the elongation and
compaction ol` machined spring 402.

Opposed digit capture bracket 375 has a first circu mfer-
ential motion ami, 410, rigidly connected therein in which
clevis 407 is rotatany connected Bracket 375 also has a
second circumferential motion arrn, 411, rigidly connected
therein on the opposite side thereof from arm 41 |l, and arm
411 has an opening therein at its extreme end that has an
interior surface of which at least a part follows a portion of
a spherical surface to allow the ball on the short pedestal at
the extreme of the movable end of linear actuator 393 to be
captured and rotated therein by a capture plate, 412. Capture
plate also has an opening therein with nn interior surface at
least a part of which follows a portion o[ the spherical
surface

Circumferential motions of the right thumb ofoperator ll
will lead to introducing forces on linear actuators 393 and
394 which will be sensed by the corresponding force sensors
formed of maehined spring 395 and linear variable diflcr~
ential transformer 401 for actuator 393, and of machined
spring 402 which linear variable differential transformer 409
for actuators 394. ”Ihese signals will be used by control
arrangement 13 to provide operating signals to linear actua-
tors 393 and 394 to null out the sensed forces thereon as a
basis for generating signals by control arrangement 13 for

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operating linear actuators 243 and 244 in hand»like structure
104 of slave robot 10.

A support plate, 415, with a VELCRO® hook tape
mounted thereon is afExed to master support base 289 of
master support frame 288 by machine serews, 416, (but
shown exploded away therefrom in FIG. 16). Operator 11
has his right hand during use inserted iri a glove, 417, seen
in FIG. 19. 'I`he back of glove 417 has a VELCRO® loop
tape, 418, mounted thereon but shown only in dotted line
l`orm in FIG. 19. Thus, when operator 11 has his right hand
inserted in glove 417 with 1) his thumb positioned iri
opposed digit capture base 380 and opposed digit capture
extension 385, ii) his index finger positioned in digit capture
base 315, digit capture first extension 323 and digit capture
second extension 340, and iii) his middle linger positioned
in digit capture base 345, digit capture first extension 353
and digit capture second extension 370, the Vl:`l.CRO®
hook tape mounted on support 415 will be removably
fastened to VELCRO® loop tape 418 mounted on glove 417
to the right hand of operator 11 in this position in master
hand-like Structure 282_

l~lcnce, motions of the thumb, index finger or middle
finger of the right hand of operator 11 will cause similar
motions of the corresponding mechanical apparatuses iri
which they are positioned in master hand-like structure 282,
rather than these corresponding apparatuses being only
partially moved dire slippings of master hand-like structure
282 about the hand of operator ll during such motions in the
absence of such a back of the hand fastening arrangement
As a result of thc good correlation between the motions of
the thumh, index finger or middle finger ot` the right hand of
operator 11 initiated by that operator and the resulting
motions of the corresponding mechanical apparatuses in
which they are positioned in master hand-like structure 282,
the forces from these initiated motions leading to the
mechanical apparatus motions will be fully nulled out by
control arrangement 13 resulting in accurate signals being
sent by control arrangement 13 to faithfully direct corre-
sponding motions of corresponding apparatuses in slave
hand-like structure 104_

Glove 41'}r has two further VEI‘CRO® hook tapes
portions, 419, provided thereon in the portion thereof cov-
ering the palm of the right hand of operator ll. Portions 419
are for removany fastening a tactile actuator mount, 420, to
that palm portion of glove 417 at two corresponding VEL»
CRO® loop tape portioiis, 421, on that mount seen only in
dotted line form in FIG, 19. Mount 420 supports a group of
electrical solenoid actuators, 422, protruding therethrough
which are held against the palm portion of glove 417 with
that mount fastened to that glove as described Mount 420
along with actuators 422 form one of tactile force actuators
18 used for applying forces or pressure during operation to
the palm ol`the right hand ot` operator ll in proportion to the
forces sensed by force sensing pads 270 on cover cushion

_ 271 of hand-like structure 104 in such operation under the

control of control arrangement 13.

()thers ol` tactile force actuators 18 seen in FIGS. 16 and
1';' on the various bases and extensions shown there of
hand-like structure 282 also apply forces or pressure to the
portions of the right hand of operator 11 against which they
are adjacent in proportion to the forces sensed on oorrc-
sponding ones of sensing pads 270 of hand-like structure
104 also under the control of control arrangement 13_ 'I`hese
tactile force actuators, however, rather than being electri-
cally operated solenoids, are each a group of electrically
operated hammers or forcing arms as seen in more detail in
the partially exploded view of FIG. 20. 'I`here, a base block,

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423, supports on its bottom the ends of nine resilient metal
forcing arms, 424, which have the ends thereof opposite the
supported ends turned upward at a ninety degree angle and
covered with end eaps, 425.

Eaeh of metal forcing arms 424 at a distance from block
423 has an actuator wirc, 426, fastened thereto through it
being woven through three openings provided in that arm at
that location, the opposite ends of wires 426 being held iri
slots in the top of block 423_ Wires 426 are each formed of
a shape-memory alloy which contract proportionally to the
heating thereof which is provided by supplying a corre-
sponding electrical current therethroughl To this end, elec-
trical lead wires, 427, are provided to block 423 to connect
to the supported ends of forcing arms 424 and the ends of
wires 426 embedded in the slots of block 423 as can be seen
in the cross section view shown in FlG. 21.

A touchboard, 428, has holes therethrough to accommo-
date end caps 425 and is fastened to block 423. Coiitraction
of wires 426 forces forcing arms 424 upward to force end
caps 425 outward through the holes in touchboard 428 and
against the adjacent portions of glove 417 and the corre-
sponding portions of the right hand of operator ll, The
outward extent reached by these end caps, and so the tactile
force or pressure applied to operator 11, is set by control
arrangement 13 based on the amount of force sensed by the
corresponding sensing pad 270 in hand-like structure 104.

Toucl:iboard 428 is, in tum, fastened to a housing, 429, i`or
enclosing and protecting the actuator. 'ibuehboard 428, case
429 and arms 424 can all be formed with appropriate
curvature therein to accommodate having thc glove facing
Surface thereof maintain the adjacent surface curvature
therearound when mounted in openings in the curved sur-
faces of the various bases and extensions of hand-like
structure 282.

Although the present invention has been described with
reference to preferred embodiments, workers skilled in the
art will recognize that changes may be made in form and
detail without departing from the spirit and scope of the
invention.

Wliat is claimed is:

1, An articulated manipulating system for mounting on a
base in a robotic manipulator and capable of engaging
selected objects, said system comprising:

a support frame having a base support for mounting on
said base with said base support having a first frame
extension so as to extend therefrom in a first direction
and a second frame extension rotatable connected to
said base support and extending therefrom in a second
direction at an angle to said first direction;

a first effector base rctatably connected to said first frame
extension so as to be rotatable with respect thereto in
plural different directions;

a second ellcctor base rotatable connected to said second

frame extension so as to be rotatable with respect ,

thereto in plural different directions;

first pair of base linear actuators each having an end
thereof rotatany connected to said first frame extension
at corresponding extension connection locations
thereon, and each having that opposite end thereof
rotatablyr connected tc said first eti`cetor base at corre-
sponding effector connection locations thereon so that
any substantial differentials in movement of these
actuators cause corresponding substantial motions of
said first effector base towards a corresponding one of
said extension connection locations and so that sub-
stantial common movements of these actuators causes

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substantial motions of said first said effector toward or
away from both of said extension connection locations;
and
a second pair of base linear actuators each having an end
thereof rotatable connected to said second frame exten-
sion at corresponding extension connection locations
thereon, and each having that opposite end thereof
rotatably' connected to said second effector base at
corresponding elfector connections locations thereon.
2. The apparatus of claim l wherein said first etfector base
is rotatably connected to said first frame extension by there
being a first pedestal extending from said first frame exten-
sion in a direction at an angle with respect to said first
direction and substantially away from said base arrangement
and having a first partial spherical support mounted on said
first pedestal having an outer surface substantially shaped at
least in part as a portion of a spherical surface, said first
cf[ector base having a first capture opening at one end
thereof with an interior surface substantially shaped at least
in part as a portion of a spherical surface in which said first
partial spherical support is positioncd, said first pair of base
linear actuators each having an end thereof rctalably con-
nected to said first frame extension on either side of said first
pedestal, and each having that opposite end thereof rotatany

q connected to said first effector base on opposite sides of said

first capture opening

3. The apparatus of claim l further comprising a first
gripping extension rotatanyr connected to said first eifector
base and an extension linear actuator having one end thereof
rotatahlyr connected to said first eli`ector base adjacent where
said first frame extension is rotatany connected lhereto, and
that opposite end thereof rotatath connected to said first
gripping extension adjacent to where said first gripping
extension is rotatably connected to said lirst elIector base.

4. The apparatus of claim 1 wherein said support frame

` has a sub-extension extending in a subextension direction at

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art angle to said first direction and said support frame has a
support frame extension extending in a support direction at
an angle to said first direction, and further comprising:
an opposed cffector base rotatany connected to said
subextension so as to be rotatable with respect thereto
in orthogonal directions; and
a pair of lateral linear actuators each having a_n end
rotatany connected to said opposed effeelor base and
one of said pair having that opposite end thereof
rotatany connected to said support frame extension,
and that one remaining having that opposite end thereof
rotatany connected to said first frame extension
5. An articulated manipulating system for mounting on a
base in a robotic manipulator and capable of engaging
selected objects, said system ccmprising:
a support frame having a base support with a first frame
extension so as to extend therefrom in a first direction,
a base arrangement |`or mounting on said base com-
prising an output ell`ector ali`lxed to said base support,
said output effector being rotatably mounted in a drive
housing, said drive housing having a pair of housing
sectorial frames affixed tltereto, each having a bearing
race following a circular arc therein for holding corre-
sponding ball bearings against a corresponding bearing
race following a circular arc in a corresponding one of
a pair of housing sectorial mounts affixed to a support
standard to result in said drive housing being rotatably
connected to said support standard;
a first eft`cctor base rotatably connected to said first frame
extension so as to be rotatable with respect thereto in
plural different directions; and

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a first pair of base linear actuators each having an end
thereof rotatable connected to said first frame extension
at corresponding extension connection locations
thereon, and each having that opposite end thereof
rotatably connected to said first etfeclor base at corre-
sponding eEector connection locations thereon so that
any substantial differentials in movement of these
actuators cause corresponding substantial motions of
said first elIector base towards a corresponding one of
said extension connection locations and so that sub-
stantial common movements of these actuators causes
substantial motions of said first said etfector toward or
away from both o[ said extension connection locations

6. The apparatus of claim 2 wherein each of said first

eEeetor base linear actuators has said end thereof rotatany
connected to Said first effector base so as to have said first
ctiector base be rotatable with respect thereto in orthogona]
directions

7. The apparatus of claim 3 further comprising a second

gripping extension rotatably connected to said first gripping
extension at an ean thereof opposite that to which said
extension line ar actuator is connected

8_ The apparatus of claim 1 wherein those ends of said

first and second frame extensions away from said base

support are directed suchiently toward one another to -

permit connecting a relative motion linear actuator therebe~
tween to permit causing said second frame extension to be
rotated about said rotatable connection thereof to said base
supportl

9. The apparatus ol` claim l wherein said second ell`ectt:r _

base is rotatably connected to said second frame extension
by there being a pedestal extending t`rorn said second frame
extension in a direction at an angle with respect to said
second direction and substantially away from said base
arrangement and having a partial spherical support mounted
on said pedestal having an outer surface substantially shaped
as a portion of a spherical surt`ace, said second e|l`eetor base
having a capture opening at one end thereof with an interior
surface substantially shaped as at least a portion o[ a
spherical surface in which said partial spherical support is

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positioned, said second pair of base linear actuators each
having an end thereof rotatany connected to said second
frame extension on either side of said pedestal, and each
having that opposite end thereof rotatably connected to said
second edector base on opposite sides cf said capture
opening.

10_ The apparatus of claim 4 further comprising an
opposed gripping extension rotatably connected to said
opposed effectot' base and an opposed extension linear
actuator having one end thereof rotatably connected to Said
opposed effector base adjacent where said subextension is
rotatablyr connected thereto, and that opposite end thereof
rotatany connected to said opposed gripping extension
adjacent to where said opposed gripping extension is rotat-
ably connected to said opposed base ellector.

11. The apparatus of claim 5 wherein said output eti`cctor
has a housed gear sector aBixed thereto engaged with a
housed drive gear on an output shaft of a housed drive motor
supported in said drive housing, and with one of said pair of
housing sectorial frames aH'ixed to said drive housing having
a housing drive gear sector adixed thereto which is engaged
with a housing drive gear on an output Shaft of a housing
drive motor supported by said support lube.

12. The apparatus of claim 6 further comprising said lirst
edector base linear actuators each having force sensors
therein capable measuring forces thereon.

13. The apparatus of claim 6 further comprising said first
effector base linear actuators each having relative translation
sensors thereon capable measuring relative translations
between ends thereo|`.

14. The apparatus ofclaim l wherein said [irst pair of base
linear actuators arc rotatany connected to said first elfector
base as aforesaid so as to be also on a further common side
thereo|`_

15. 'I`he apparatus of claim 14 wherein said lirst pair of
base linear actuators are rotatably connected to said first
frame extension as aforesaid on either side of where said first
effector base is rotatably connected theretol

cities

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UNITED sTATEs PATENT AND TRADEMARK 0FFICE
CERTIFICATE OF CORRECTION

PATENT No. : 5,96?,580
D“TED 1 ocToBER19, 1999

INVENTOR(S) :
MARK E.. ROSHEIM

h is certified that error appeals In the above-identified patent and thai said Lel‘lers Patent is hereby
corrected as shown be¢ow:

Col‘ 27, line 47, delete “rotatable”, insert --rotatany--

Col. 27, line 53, delete “rotatable;’, inse!1 --rotatably--

Signed and Sealed this
'I`wenty-Hfth Day of July, 2000

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(75) lnventor: Mark l*l. Rushoim, St. Paul, MN (US] 59“>?,530 1\ 101'1999 llosheim .. 2‘»‘4.»’&8
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( * ) Nolice: Subject to any disclaimer, the term of this * Cile¢i by examiner

patent is extended or adjusted under 35

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(?4) Arromey, Agem, or Ft`rm-~Kinney & l_,ang,e, l’.A_
(57) ABS'l`RA(,"l`

(21) Appl. No.: 10!'234,926

(22) Filed: Oct. 31, 2002
A controlled relative motion system having first and second

Relmed U-S- Appllcatl[m nom support structures With a controlled output position joint

(50) _P"°"i$i°nal application N°~ 59335»477» filed O" Ocl- 311 connecting them, and with similar joints on these support
2001 structures (Jne joint is coupled to another controlled relative

[51} Int. Cl."` BZSJ 17,!02 motion system having an output carrier rotatable in two
(52) U_S_ C]_ 74]490.05; 901_£16; 901,126; perpendicular directions through the use of gears thereinv
om;gg This output carrier supports two articulated manipulating

(ss) Fretd or Sean:h 74;490.01, 490,03, SVS*C'I‘S Of Whi€h 999 has a Singlc axis rotatable Subbasc

74§»490.05’ 490_06; 901;15‘ ]6’ 23, 25‘ supporting a rotatable gripping extension, and the other has

26‘ B a shackle connected to a base cti°ector which shackle is

supported on a fixed pedestal and another shackle connected

(5,5) Refcmm._,_.§ Citcd to a base effector which shackle is supported on a moveable

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EXH|B|T 2

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Sheet 4 of 15

Dcc. 9, 2003

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RoBoTIC MANIPULAT¥)R

cnoss-REFERENCE To REr.ArEo
APPLlCATIoN(s)

'Ihis application claims the benth of Provisional Appli-
cation No. 601336,47'! filed Oct. 31, 2001 for "Robotic
Manipulator”.

BA(?KGROUND OF THE INVENTION

The present invention relates to controlled motion
mechanical members used as a mechanical manipulator and,
more particularly, to a motion controllable, anthropumor-
phic mechanical manipulator providing some ot` the capa-
bilities of an upper human torso.

A need for increased automation in the workplace, espe-
cially in those workplace environments unsuitable for
humans, and a desire to increase the use of animated figures
depicting humans or other characters of ten in entertainment
situations, has led to substantial efforts in the development
of robotics. As a result, substantial advances have occurred
in many aspects of robotics,

An important aspect in robotics is the controlling of
mechanical manipulators, the portion of a robot used to
change the position or orientation of selected objects 1n may
instances, such manipulators are desired to have motion
capabilities similar to those of a human chcst, shoulder, arm,
wrist and hand, or portions thereof.

Providing a mechanical manipulator simulating such por- _

tions of the human torso presents a difficult design problem
'I`he chest portions of a human supporting a shoulder can be
considered to have two degrees-of-freedorn in motion pos-
sibilities available to it, and the shoulder supporting the arm
can be considered to have three degrees-of-freedom in
motion possibilities available to it. In addition, the elbow
can be considered to have a single dcgrcc~ot`-freedom in its
possible motion and the wrist can be considered to have
three degrees-of-freedom in motion possibilities available
for it. Finally, the human palm can be considered to have a
degmecf-heedom in its relative motion possibilities while
the fingers and thumb thereon can be musidered to have four
degrees-of-freedom in the motion possibilities thereof

A number of mechanical joints or mechanical manipula-
tors have been proposed which attempt to exhibit the motion
possibilities ot` the corresponding human joints, and some of
these proposals have actually achieved corresponding capa-
bilities to a significant degree 'lhese joints typically have a
base on which one side of the joint is [asteued, and from

which a force imparting arrangement is provided to operate _

movable members in this fastened portion of the joint.
Mechanical transmission arrangements then couple this
motion on this fastened side ol` the joint to the controlled side
of the joint to cause that portion to correspondingly move.

llowcver, such joints have of ten been constructed using
a substantial number of parts causing significant cxpcnse,
and with the result that they are cf ten diEchlt to assemblel
Further, such joints of ten fail to have the controlled portion
thereof exhibit the desired dexterity and range of motion In
addition, the construction have of ten exhibited bulky geom-
ctrics which do not appear much like those ot` the human
counterparls.Also, control of the controlled side o[ the joint
has cf ten been insufEcient in the operator not having
convenient controlling arrangements available FlG. 1
shows a joint, mechanical manipulator, or controlled mem»
ber motion system, 10, which can have a very large output
operating range in various configurations over which il is

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free of singularities, and which is operated by various force
imparting devices directly or through various drive trains A
compact, ruggediz,ed version of manipulalor 10 is shown in
l-`I(l. 1 using yoke and shackle arrangements to rotatably
secure the pivoting links provided therein.

Thus, FIG. 1 shows a perspective view of manipulath 10
in which manipulator 10 is positioned on a mounting
arrangement, 11, which can he connected with an electric
motor arrangement, unseen in these figures, that can rotate
mounting arrangement 11 in either the clockwise or coun-
terclockwise direction as selected by the user to thereby
can'y the remainder ol` joint or manipulator 10 correspond-
ingly with it in these directions l)irectly supported on
mounting arrangement 11 is a base support, 12, shown as a
rounded corner rectangular solid structure, though different
geometrical shapes can be used, having four arms extending
out iroro the main body o[ the support at thc four thickness
surfaces thereof initially parallel to the large surfaces of that
support, and then bending at right angles away from mount-
ing arrangement 11. These extending arms each thereby
form something of a “U“ shape to provide a capture space
between the main support body of base support 12 and itself
to result effectively in a yoke to rctatably accommodate the
ends of pivoting links {described below) therein which are
secured there by the use of a pin extending through the arm
and pivot link end into the main body that allows the pivot
link to rotate thereabout, A corresponding shroud plate
extends from the main body of support 12 to each of these
arms on the side of its capture space opposite the side thereof
through which pivoting link secured therein extends to add
support to that arm_

Support 12 has art opening, 13, (unseen in FIG. 1)
extending along the central axis of rectangular symmetry for
support 12 extending out from mounting arrangement 11 to
parallel the outer sides of support 12. Opening 13 extends
through support 12 and from there through mounting
arrangement 11 along the axis about which it is capable of
rotating manipulator 10 so as to be capable of permitting
some desired means extend therethrough such as electrical
wiring, optical fibers or some mechanical arrangement, or
some combination thereof.

Also shown supported directly on mounting arrangement
11 are a pair of linear actuator support pedestals, 14, (unseen
in F1G. 1] connected to mounting arrangement 11 each of
which is shown supporting a linear actuator along with the
direct mechanical interconnection between that linear actua~
tor and the remaining portions of manith lator 10, Tha| is, a
pair of linear actuators, 15 and 16, are each rotatably
mounted in the corresponding one ot` pedestals 14 by an
outer body thereof, `17. Linear actuator 16 has an actuator
output shat`t, 18, extending t`rom outer body 17 thereof
which is directly aliixed to a clevis, 19. (,`levis 19 on output
shaft 18 of linear actuator 16 is directly and rotatahly aftixed
to a pivoting link, 20, by a further pin, 21, through an
opening in a hoss, 22, extending from pivoting link 20
(which pin may be in bearings or a bushing mounted in boss
22 positioned about the opening therein). Linear motion by
output shaft 18 in actuator 16 outward or inward causes
clevis 19 to correspondingly move away from or toward
body 17 of linear actuator 16.

Such motions by clevis 19 forces pivoting link 20 to in
turn rotate one way or the other about a pin, 23, around a
rotation axis extending through pin 23 that is more or less
perpendicular to the length of link 20. Pin 23 is directly
aHixed in an opening in thcl central rectangular portion of
base support 12 and in an opening in an extending arm of
base support 12 as two sides of a yoke to extend through the

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capture space therebetween and through an opening in the
end of pivoting link 20 (which pin may be in bearings or a
bushing mounted in the opening in link 20, and pin 23 could
be a pivot screw (shoulder bolt) rather than a pin. Such a
pivot screw is threaded at the end thereof opposite the screw
head only a relatively short distance in from that end to
permit its being screwed firmly into base support 12 but only
a fixed distance therein to assure a selected length of the
screw is exposed outside support 12 The surface of this
exposed portion of the screw from support 12 to the screw
head is smooth especially if no bearing or bushing is used
between this screw and pivoting link 20 lubrication at the
least would be likely to be used irl this situation),

An identical linear actuator translation drive system for
forcing rotational motion ot` another pivoting link is pro-
vided in connection with linear actuator 15, As seen in FIG.
1, a clevis, 19‘, is affixed tc output shaft 18 ot` linear actuator
15 with the otherend ofclevis 19‘ being affixed by a pin, 21‘,
to a further pivoting link, 20‘, rotatably connected to base

support 12, through an opening in a boss, 22', extending h

from pivoting link 20'. Thus, again, linear motion by output
shaft 18 in actuator 15 outward or inward causes clevis 19`
to correspondingly move away from or toward body 17 of
linear actuator 15 which forces pivoting link 20' to corre-

spondingly rotate in either a clockwise or counterclcckwise _

direction. l’ivoting link 20' can rotate on bearings about a pin
or screw, 23', not seen in these ligures, positioned in an
opening therein ar its end with pin or screw 23' athxecl to the
sides of the corresponding yoke in base support 12, and
pivoting link 20' again rotates arouan an axis extending
therethrough more or less perpendicular to the length of link
20'.

Pivoting links 20 and 220' are two pivoting links in a
plurality cf lower pivoting links in manipulator 10, this
lower plurality further including two other pivoting links,
20" and 20"' (not all seen in FlG. 1), with extending bosses,
22" and 22"‘ (not all seen in FIG. 1). Bosses 22" and 22"' are
unused in thc present situation in which just two linear
actuators are used to operate manipulator 10, but can be used
with the usc of further linear actuators 'Ihese last two
pivoting links arc each capable of rotating on bearings about
a corresponding one of pins or pivot screws, 23“ and 23'"
(not all seen in FIG. l.), respectively, with the corresponding
axis of rotation extending therethrough substantially perpen-
dicular to the length of links 20" and 20"'. Pins or pivot
screws 23" and 23'*' are again directly afl]xed in a corre-
sponding opening in the central rectangular portion of base
support 12 and in a corresponding opening in a correspond-
ing extending arm of base support 12 in the capture space
therebetween (which pin may be in bearings or a bushing
mounted in each of these base support 12 openings so as to
be positioned about that opening, and pin 23 could he a pivot
screw rather than a pin). Each of pins or pivot screws 23, 23',
23" and 23"' is allixed to base support 12 such that the

corresponding one of the plurality ot` lower pivoting links ‘

rotatany coupled to base support 12 thereby rotates about an
axis therethrough that intersects, and is perpendicular to the
axis of rectangular symmetry of support 12 extending out
from mounting arrangement 11, with these rotation axes
being separated from adjacent ones by equal angles mea-
sured about the symmetry axis, here 90°.

'l`hc lower plurality of pivoting links 20, 20'. 20" and 20'“,
in addition to each having an end thereof being rotatably
connected to base support 12 by the yokes effectively
provided by the central rectangular portion and the corre-
sponding extending arm of that base support as described
above, also each have the opposite end thereof formed as

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devises with two spaced apart arms that are rotatany con-
nected by four further pins or pivot screws, 24, 24', 24" and
24"', to corresponding pivot holder shackle members, 25,
25', 25" and 25'". Each of these pivoting link devises has a
shroud plate extending between the arms thereof on the Side
opposite that through which a corresponding shackle
extends to add support to these two arms. Each of these pivot
holder shackle members is formed as a bent link with an
opening therethrough at each end to accept a pin extending
through it (which pin may he in hearings or a bushing
mounted in the link opening positioned about that opening
therein], the bend in the link occurring along the width
thereol` between the two openings each provided near a
corresponding end thereo[. Each of these pivot holder
shackle members 25, 25', 25" and 25'" has an end thereof
captured in a shrouded clevis at the end of a corresponding
one of the lower plurality of pivoting links 20, 20', 20" and
20'" by a corresponding one of pins 24, 24', 24" and 24"'
extending through the opening in that bent link end into the
arms of the pivoting link clevis on either side thereof.
The axis of rotation of each ot` the lower plurality of
pivoting links 20, 20‘, 20" and 20'" through a corresponding
one of pins or pivot screws 24, 24‘, 24" and 24"‘ in being
rotatably coupled to a corresponding one of pivot holder
shackle members 25, 25', 25" and 25"’, and the axis of
rotation of each of these links through a corresponding one
ol` pins or pivot screws 23, 23', 23" and 23"' in being
rotatany coupled to base support 12 are, in each link
instance, perpendicular to planes therethrough that for each
link interscct one another at substantially right angles. These
rotation axes for each of these pivoting links are also
oriented in directions differing from those in an adjacent
pivoting link, i.e. the next pivoting link thereafter around
base support 12. 'I`his allows pivot holder shackle members
25, 25', 25" and 25"' to be moved by the corresponding
pivoting links substantially with respect to base support 12,
but for the same length links these pivot holder shackle
members will always be in a plane common thereto, and will
move about a circle in such planes, Although pivot holder
shackle members 25, 25’, 25" and 25"' are shown in these
figures as extended bent links. this shape is not required but
instead other geometrical shapes could be used.
Manipulaior 10 is shown in these hgures having a further
upper plurality of pivoting links Each of this plurality has
an end thereof formed as a clevis formed by two spaced
apart arms that is rotatably coupled to each of pivot holder
shackle members 25, 25', 25" and 25'" by a corresponding
one o[ a further set of pins or pivot screws, 27, 27', 27“ and
2"!'" (not all seen in FIG. 1) extending through the other end
opening of such pivot holder shackle member not connected
to a lower pivoting link to be allixcd to the two arms of the
clevis (which pin may be in hearings or a bushing mounted
in the link opening positioned about that opening therein).
Again, each o[ these pivoting link devises has a shroud plate
extending between the arms thereof on the side opposite that
through which a corresponding shackle extends to add
support to these two arms by forming a shrouded clevis.
The axis of rotation of the corresponding one of this upper
plurality of pivoting links, in being able to rotate about its
pin or pivot screws 27, 27', 27" and 27‘", is directed so as to
be more or less parallel to thc length of the link. '.[here is a
corresponding one of a sct of angles, 28, 23‘. 23" and 28‘",
(not all seen in FIG. 1) of a selected angular magnitude
between the axis of rotation of the pivoting link from the
lower plurality thereof rotatably connected tc each pivot
holder member and the axis ot` rotation of the one of the
upper plurality of pivoting links also rotatably connected

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thereto as shown in these ngures set by the bend in the bent
links forming the pivot holder shackle members The selec-
tion of the magnitude of each of angles 28, 28', 28" and 28"'
effects the capabilities of manipulator 10 as will be described
below.

Another set of pins or pivot screws, 29, 29', 29" and 29"‘,
[not all seen in FIG, 1} are each used at the opposite end of
a corresponding one of such an upper plurality of pivoting
links, 30, 30‘, 30" and 30"‘ {not all seen in FIG. 1). If
manipulator 10 is constructed symmetrically above and
below a plane including each of pivot holder shackle mem~
bch 25, 25', 25" and 25"', i.e., angles 28, 28', 28" and 28"‘
in these figures being bisected by such a common plane, the
upper plurality ot` pivoting links 30, 30', 30" and 30"* can be
identicaan construction with each other and with each of the
lower plurality of pivoting links 210, 20‘, 20" and 20"'.
A]though this is a significant economic factor in manufac-
turing significant numbers of joint or manipulator 10, this
symmetry is not required for successful operation of such
manipulators. However, the nature of the positioning of the
output structure in such manipulators for a given rotation of
the rotor shafts of motors 15 or 16 will change with
differences in the portions of angles 28, 28', 28" and 28'"
above and below the horizon. Also, the lengths of pivoting
links in the upper and lower pluralities thereof need not all
be the same to have successful operation of manipulator 10
but, again, the pattern of the positioning of this output
structure will change depending on such differences

'Ihe ou tput structure which is controlled in manipulator 10

by motion of linear actuators 15 and 16 has a hole, 31, _

provided therethrough to form a rounded corner rectangular
solid, open center structure, though different geometrical
shapes can be used, resulting in a manipulable support, 32.
Manipulable support 32 has four arms extending out from
the main body of the support at the four thickness surfaces
thereof initially parallel to the large surfaces of that support,
which then bend away at right angles generally toward
mounting arrangement ll. These extending arms each
thereby form something of a “U” shape to provide a capture
space between the main support body of manipulable sup-
port 32 and itself to result effectively in a yoke to rotatably
accommodate the ends of the upper pivoting links therein
which are secured there by the use of the corresponding one
of pins 29, 29', 29" and 29"' extending through the arm and
pivot link end into the main body that allows the pivot link
to rotate thereabout. A corresponding shroud plate extends
from the main body of support 32 to each of these arms on
the side of the arrn capture space opposite the side thereof
through which the corresponding pivoting link secured
therein extends to add support to that arm.

Again, various items can he extended through opening 31
such as electrical wiring or optical fibers or, in this output
situation, a further mechanical device supported orr support
32, or some combination o|` such features or other alterna-

tives. Also, the output structure as represented by manipu~ ,

lable support 32 can be controlled in manipulator 10 by
motion of a complementary set of linear aclu ators, 35 and
3')', (not seen in FIG_ 1 but referenced here to clarify certain
subsequent ftgures) having their bases mounted in actuator
support pedestals 14 and their output shafts connected to the
two remaining lower pivoting links 20" and 20"` either
instead of using actuators 16 and 15 connected to lower
pivoting links 20 and 20' as described above, or alternatively
aLso using actuators 15 and 16 to provide greater force and
stability

Each of pivoting links 30, 30', 30" and 30"' in the upper
plurality thereof is rotatably coupled by a corresponding one

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of pins or pivot screws 29, 29', 29" and 29"' to manipulable
support 32. Here too, each of the plurality of upper pivoting
links can rotate on bearings about a corresponding one of
pins or pivot screws 29, 29', 29" and 29"` positioned in an
opening therein at its end with the corresponding one of pins
29, 29‘, 29" and 29“‘ affixed to the sides of the corresponding
yoke in manipulable support 32, and each of pivoting links
30, 30', 30" and 30’" again rotates around an axis extending
therethrough more or less perpendicular to the length
thereof. These rotation axes are separated from adjacent
ones by equal angles measured about the symmetry axis,
here again 90° because of the presence of four pivot links
A.lthough the rotation axes of the pivoting links at the rotary
couplings thereof to supports 12 and 32 are described as
making equal angles with adjacent ones thereof as they
occur about those supporn'., these angles need not be iden-
tical about either support, nor identical about one support
with those about the other, to be able to position support 32
over a substantial angular range, though providing substan-
tially such identities is of ten convenient

Pivoting links 30, 30’, 30" and 30"' in the upper plurality
thereof may be connected to the side of manipulable support
32 that is opposite to the side of base support 12 to which the
corresponding one ol` pivoting links 2)0, 20', 20" and 20"' in
the lower plurality thereof is connected as shown in FIG. 1
or, alternatively, connected to manipulable support 32 on the
same side thereof as the side of base support 12 to which the
corresponding one of pivoting links 20, 20', 20'1 and 20"‘ in
the lower plurality thereof is oonnected. The axis of rotation
of such a one of pivoting links 30, 30', 30" and 30"' in the
upper plurality thereof about its pin or pivot screw coupling
il to support 32 extends through that pin or screw more or
less perpendicular to the direction of the length of that link,
and substantially parallel to the axis of rotation about the pin
or pivot screw rotatany coupling the corresponding one of
pivoting links 20, 20', 20" and 20"' in the lower plurality
thereof to base support 12. The correspondence here
between upper and lower plurality pivoting links is estab-
lished by each being coupled to the same one of pivot holder
members 25, 25', 25" and 25'". Again herc, as for the
pivoting links in the lower plurality thereof, the axis of
rotation of one of pivoting links 30, 30', 30" or 30"' in the
upper plurality thereof about its corresponding one of pins or
pivot screws 27, 27', 27" or 27"‘ is substantially perpendicu~
lar to a plane which intersects at substantially right angles
that further plane which is substantially perpendicular to the
axis of rotation of that link about its corresponding one of
pins 29, 29', 29" or 29"‘.

The various structural components of joint or manipulator
10 described in connection with FIG. 1 above arc typically
formed of a metal or metals, or alloys thereof, appropriate
for the intended use, i.e. perhaps stainless steel for a medical
use, aluminum cr titanium where weight is a primary
concern, etc. ‘Many or all of these components could be
molded polymeric materials instead.

The center of manipulablc support 32 can essentially
reach every point on a hemispherical surface about manipu-
lator 10 {and in many link constructions, somewhat beyond
such a surface) without the occurrence of loss of control
singularin points anywhere in this range of motion During
such motion, as indicated above, pivot holder shackle mem-
bers 25, 25', 25" and 25"' will always intersect a common
plane though a different plane at each location of manipu-
lablc support 32. Thus, there is a desire to use manipulator
10 with these capabilities, and to use other robotic structure
unprovements, to simulate portions of the human body.

BRIEF SUMMARY DF TH]:`, lNVENTION

The present invention provides a controlled relative
motion system having first and second support structures,

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the first support structure having a first support offset struc-
ture extending along a first axis and the second support
structure having a second support offset structure extending
along a second axis, connected with an intermediate joint
having a base member and a controlled position member that
has an output carrier which can bc angularly positioned with
respect to the base member anywhere over a selected spatial
surface, This intermediate joint base is afExed to an interior
end of a selected one of the first and second support offset
structures with the output carrier affixed to an interior end of
that one remaining A similar first support joint has a base
member supported by and ailixed with respect to the first
support offset structure al an exterior end thereot`opposite its
interior end along the first axis. A second support joint, also
similar to the intermediate joint, has a base member sup-
ported by and affixed with respect to the second support
offset structure at an exterior end thereof opposite the
interior end thereof along the second axis.

Onc cf the first and second support joints as a base is
coupled to a further controlled relative motion system hav-
ing an extended open interior member rotatably coupled to
the base for rotating about a corresponding interior member
rotation axis along which a pair of spaced apart interior
member sides extend so as to have an extended space
therebetween The extended open interior member is rotat-
ably coupled to the base at an end thereof joining the interior
member sides at one end of the extended space by a first
shaft coupled thereto, and is further rotatably coupled to the
base at an opposite end thereof also joining the interior
member sides alan opposite end of the extended space by a
second shaft coupled therelo.

Also, an output carrier has a pair of output carrier sides
spaced apart by a recess space with these output carrier sides
beingjoined in a joining structure on one side of the recess

space. The output carrier is positioned to have the extended _

open interior member in its recess space so that thc output
carrier sides extend at least in part substantially parallel to
the interior member sides to which they are rotatably
coupled to rotate about a corresponding output carrier rota-
tion axis substantially perpendicular to the interior member
rotation axis The output carrier is rotatably coupled to the
extended open interior member by a follower shaft afixed to
the output carrier and rotatably coupled to the extended open
interior member.

An interior member first bevel gear is located in thc
extended space and afixed to the first shaft, and an output
carrier first bevel gear is located in thc extended space and
affixed to the follower shaft to be engaged with the interior
member first bevel gear, A plurality of force imparting

means is mounted in the base with each of the first and _

second shafts being rotatably coupled to a corresponding
one of these force imparting means

This further controlled motion system with the output
carrier as a base supports an articulated manipulating system
capable ot` engaging selected objects having a subhase
rotatany mounted on the base to have a single subbase
rotation axis therethrough. A first linear actuator is coupled
at one end thereof to the base and coupled at an opposite end
thereof to the subbase to be capable of rotating the subbase
about the subbase rotation axis. A first e[Ieclor base is
rolatably connected to the subbase to have a first effector
rotation axis. and a second linear actuator is coupled at one
end thereof to the subbase and coupled at an opposite end
thereof to the first effector base to be capable of rotating the
Hrst et_’fector base about the first effector rotation axis.

This timber controlled motion system with the output
carrier as a base also supports a shackle having a pair of arms

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spaced apart by a recess space which arms are joined in a
joining bar on one side of the recess space, an effector base
rotatably mounted at a pivot location thereof to and between
the separated arms cf the shackle so as tc leave a recess
space between an end of that effector base rotatany mounted
to the shackle and the joining bar thereof, a pedestal ailixed
to the base relatively near to where the subbase is rotatany
mounted on the base and having the joining bar of the
shackle rotatably coupled thereto. A gripping extension is
rotatany coupled to the effector base at an extension cou-
pling location thereof spaced apart from the pivot location
lhcreof, and an extension linear actuator is positioned adja-
cent to the effector base and coupled at one end thereof so
as to have that end positioned at least in part in thc recess
space of the shackle with that remaining end of the linear
actuator rotatably coupled to that gripping extensionl
Furthcr, a pair of cffeetor linear actuators is provided with
each having an end thereof connected to thc base at corre-
sponding base connection locations thereon, and each hav-
ing that opposite end thereof rotatany connected to an
ell`ector base at corresponding effector connection locations
thereon. Thus, any substantial differentials in movement of
these actuators cause corresponding substantial motions of
the eHector base towards a corresponding one oi` the base
connection locations and so that substantial common move-
ments of these actuators causes substantial motions of the
effector base toward or away from both ot` the base connec-
tion locations

BRIEF DESCRIPT[ON OF 'I`Hl:` DRAW]NGS

FIG. l shows a perspective view of a robotic manipulator
used in the present inventicn,

FIG. 2 shows a perspective view of a robot of the present
invention simulau'ng a human body,

F[GS_ 3, 4, 5 and 6 show perspective views of portions of
the structure shown in FIG. 2,

FIG. 7A shows a cross section view of a part of the
structure shown FIG. 6 and F|G. 'J'B shows an alternative
structure in a cross section view,

FIGS_ 8 and 9 show side views of an alternative for
portions of the structure shown in l"I(_i. 5,

FlG_ 10A shows an alternative perspective view o[ the
structure shown in FIG. 5 and FIGS_ 10B and IUC show side
views of an alternative for portions of the structure shown in
l~`l(iS. 5 and l'llA,

l~'I(j!'S. ll, 12 and 13 show alternative perspective views ol`
the structure shown in l"lGS. 5 and ll]A,

FIG, 14 shows a perspective view of portions cf the
structure shown in FlGS. 5, ll]A, ll, 12 and 13, and

FIG. 15 shows a perspective view of a portion of the
structure shown in FIG. 2_

DETAILED DESCRIPT'[ON

Manipulator, or joint, 10 of l~`lG. 1 is a very effective
controlled output manipulator for use in simulating the
motion possibilities of the two degree of freedom joints and
other bending structures of the human bcdy. FlG. 2 shows a
robot, 40, reminiscent of the human body with such joints
used therein to simulate human shoulders, middle upper
torso and hips, and another such manipulator could be added
to simulate the neck though not shown

A control arrangement for robot 40 is operated under the
direction of a computer which typically controls operation of
a system eontroller, not shown. 'l`his controller has a trans-
mitter therein to transmit information signals to a receiver in

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robot 40, again not separately shown, but which might be
located in a portion of that robot in the position of a human
head indicated to some extent by a dashed line rendering
ll'his portion of robot 40 also has a transmitter therein for
transmitting information signals to the controller which has
a further receiver to receive same therein A]tematively, or
as a supplemental control arrangement, other transmitters or
receivers, or both, which can interact with the transmitter or
receiver, or both, in robot 40 can be provided in items such
as household appliances to facilitate robot 40 interacting
with them to reduce the control and sensing apparatus that
otherwise needs to be provided in robot 40 to support such
interaction Thus, for instanoe, a robot used to [etch items
from a refrigerator might not need a simulated vision system
to accomplish such tasks if the refrigerator itself can provide
sufficient guide signals to the robot, or al least not as
advanced a system as would be required in the absence ot`
such refrigerator based robot guidance Wiring arrangements
are provided through the joints and joint connectors in robot

40 to distribute signals obtained from the receivers therein to *

the actuators therein intended to respond to them, and to
collect signals from sensors therein to be brought to the
transmitters therein

A “tee" structure, 41, in the upper portion of robot 40 in
FIG, 2, as shown in more detail in FIG. 3, has the two arms,
42 and 43, of the crosspiece each canted rearward from the
base joining point to he out of alignment with one another
so as to fomt an angle therebetween ot' less than 180°. Arm
42 has a manipulator, 10A, like manipulator 10 of FIG. l,
useful for simulating a human right shoulder, mounted to the
end thereof at a right angle to thc long axis of mounting
arrangement llA of manipulator 10A near its connection to
base support 12A (unseen in Fl(i. 2). Linear actuators 35/\
and 3'.~'A (connected to lower pivoting links 20" A and 20‘“
A rather than to lower pivoting links 20A and 20' A in the
manner of linear actuators 16 and 15 in FIG. 1 being
connected to lower pivoting links 20 and 20' there) are
mounted on support pedestals l4A on mounting arrange~
ment 11A and connected to the corresponding lower pivot-
ing links which can cause manipulable support 32A of
manipulator 10A lo move to simulate selected right human
shoulder motion under direction of the controller

Manipulable support 32)\ is connected to an upper arm
bar, 44, which has at its opposite end a yoke, 45, in which
a forearm bar, 46, is rotatably connected by a pair of pin-like
bosses, 47, each extending through a yoke arm opening to be
aEExed in thc sides of the upper arm bar yoke thereby
forming a single degree of freedom joint, 48, simulating a
human elbow. A linear actuator, 49, is connected between
upper arm bar 44 and forearm bar 46 to operate that joint by
causing forearm bar 46 to selectively rotate in yoke 45 about
pin-like bosses 47. A motor and a rotational joint arrange~
merit contained within upper arm bar 44 allows it to be
rotated over an angular range with respect to manipulator
l|lA. A joint and manipulator structure, 50, simulating a
human wrist and hand is mounted on the end ol` forearm bar
46, and a motor and a rotational joint arrangement contained
within forearm bar 46 allows joint and manipulator structure
50 to be rotated over an angular range with respect to
forearm bar 46.

Similarly, as shown in FIG. 2 and in more detail in FlGS.
3 and 4, arm 43 has a manipulatcr, 10B, like manipulator 10
of FIG. 1, useful for simulating a human left shoulder,
mounted to the end thereof at a right angle to the long axis
of mounting arrangement llB of manipulator 10B near its
connection to base support 12B. Linear actuators 15B and
16B are mounted on support pedestals 1413 on mounting

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arrangement 1113 and connected to the corresponding lower
pivoting links which can cause manipulable support 323 of
manipulator 10B to move to simulate selected left human
shoulder motion under direction of the controller

Manipulable support 32B is connected to an upper arm
bar, 44', which has at its opposite end a yoke, 45‘, in which
a forearm bar, 46‘, is rotatany connected by a pair of pin-like
bosses, 47', each extending through a yoke arm opening to
be affixed in the sides of the upper arm bar yoke thereby
forming a single degree of freedom joint, 48‘, simulating a
human elbow. A linear actuator, 49', is connected between
upper arm bar 44' and forearm ba.r 46' to operate that joint
by causing forearm bar 46` to selectively rotate in yoke 45'
about pin-like bosses 47'. A motor and a rotational joint
arrangement contained within upper arm bar 44' allows it to
be rotated over an angular range with respect to manipulator
l0B_ Ajoint and manipulator structure, 50', simulating a
human wrist and hand is mounted on the end of forearm bar
46', and a motor and a rotational joint arrangement contained
within forearm bar 46' allows joint and manipulator structure
50' to be rotated over an angular range with respect to
forearm bar 46’,

l"'lG, 5 shows a perspective view of joint and manipulator
structure 50* for simulating a human wrist and hand mounted
on the end of forearm bar 46‘, A two degree of freedom
positioning joint, 51‘, for simulating a human wrist has a
truncated cylindrical shell shaped motor housing, 52’, a[i_ixed
to the end of t`orearm bar 46' with its axisl of radial symmetry
oriented perpendicular to the long axis of forearm bar 46*
(structures in joint and manipulator structure 50 mounted on
the end of forearm bar 46 similar to those in joint and
manipulalor structure 50' mounted on the end of forearm bar
46' have the same numerical designations there as they do in
joint and manipulator structure 50‘ but without the following
prime mark). 'l`y“pica_lly, motor housing 52' has one end open
to receive an electrical motor therein with the other end
closed. (Positioning joint 51‘ can be made a three degree of
freedom joint by providing a motor on, and a rotatable
connection in, forearm bar 46' to thereby permit rotating
joint and manipulator structure 50‘ including positioning
joint 51' about the long axis of forearm bar 46‘),

An intermediate stem portion, 53‘, is aHixed at one end
thereof to motor housing 52‘ to extend therefrom perpen-
dicular to the housing axis of radial symmetry, and also
affixed at its other end to another truncated cylindrical shell
shaped motor housing, 54', having its axis of radial sym-
metry oriented parallel to that of motor housing 52'.
l-`lowever, motor housing 54' has the end thereof open to
receive an electrical motor therein being adjacent to the
closed end of motor housing 52' so as to be on the opposite
side of intermediate stem portion 53‘ from the open end of
motor housing 52' that is open for the same purpose, and
typically, again, the other end of motor housing 54‘ is closed.

Forearm bar 46‘ and intermediate stem portion 53' typi-
cally have openings extending therethrough to allow control
wiring to be installed Motor housing 52'. in addition to
having some of such wiring terminate there for the motor to
be provided therein, also has sufficient space therein to allow
such wiring to pass from forearm bar 46' to intermediate
stem portion 53’ to reach motor housing 54‘ for the motor to
be provided there. Additional wiring, or other facilitating
means, may also be passed through such openings and
spaces if needed

A clevis, 55‘, is affixed to motor housing 54‘ to have its
stern portion. 56', extend from that motor housing perpen-
dicular to the housing axis of radial symmetryl Stem portion

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56*, in so extending, subsequently diverges therealong into
two spaced apart am:l.s, 57‘ and 58’, as can be better seen in
the rear perspective view of FlC-. 6. ”lhese diverging arm
structures first curve away from each other approximately
perpendicularly to stem portion 56‘ and then further extend
to again curve at more or less right angles to thereby parallel
one another with a space therebetween (i.e. the an:ns
together t`ollow approximately a “U" shape supported on the
clevis stem portion). An opening is provided in the ends of
each of these arms across the space between the arms from
one another so that they share the same axis of radial
symmetry parallel to those ol` housings 52‘ and 54'.

A rotatable bridge carrier, 60', is positioned between
clevis arms 57' and 58‘, and is shaped approximately in the
form of a rectangular solid shell with the bottom side thereof
in FIGS. 5 and 6 omitted as better seen in FIG, 6 as a result
of the cut away provided in carrier 60' there. As best seen in
the section view ofFIG. TA, taken at the position indicated
in FIG. 6, carrier 60', across from the opening in the end of
clevis arm 57‘ in which there is positioned a bushing, 61', has
the end of a cylindrical shaft, 62’, affixed thereto at a short
side thereof centered along its width Shaft 62' extends
through bushing 61‘ to be positioned in the opening in clevis
ari:n 57' to thereby have clevis arm 57' rotatany support

carrier 60‘ at one of the two short sides thereof Shafl 62' also _

extends beyond clevis arm 57‘ to have a pulley, 63', atlixed
to the remaining end thereof_

The remaining short side of carrier 60', across from thc
short side thereof from which shaft 62' extends, has an

opening therein centered along the width thereof that is _

across from the opening in the end ot` clevis arm 58' to have
a common axis of radial symmetry A further cylindrical
shaft, 64‘, extends through a bushing, 65*, positioned in the
opening of the remaining short side of carrier 60`, and
through a bushing, 66', of clevis arm 53' to extend past clevis
arm 58‘ to have a further pulley, 67', affixed to the end
thereof The portion of shaft 64` extending into the interior
opening in carrier 60‘ extends to a bcvel gear, 68‘, and has
a diameter increase between just inside the short wall of
carrier 60‘ and bevel gear 68' resulting in a larger cylindrical
shaft portion in the interior of carrier 60' to thereby serve to
retain that shaft within the interior o[ carrier 60'. Clevis arm
58‘ thus rotatany supports carrier 60‘ at the remaining one
of the two short sides thereof so that clevis 55' and carrier &0’
together form a revolute joint having an axis of rotation that
includes the parallel, end-to-end axes of radial symmetry of
shafts 62' and 64'_

llevel gear 68' in the interior opening of carrier 60' meshes
with a further bevel gear, 69', positioned around a further

cylindrical shaft, 701 Each of the two long sides of carrier .

60' across from one another has an opening therein opposite
the other centered along the lengths of those sides such that
thc common axis of radial symmetry o[ these two openings
intersects, and isperpendicular to, the common axis of radial

symmetry of the two openings in the short sides of carrier t

60'. These long side openings each has therein a oorrcspond~
ing one of a pair of bushings 71‘ and 72', through and past
which shaft 70* extends to have its ends each alii)ted to the
adjacent wall provided by a corresponding one of spaced
apart flange sides, 73' and 74', of an output positioner, 75',
so that carrier 60' across its width is positioned between
flange sides 73' and 74'. Output positioner 75' is thus
rotatany supported by carrier 60' so they together form a
further revolute joint having an axis of rotation that is
common with the axis of radial symmetry of shaft 701
Flange sides 73‘ and 74' of output positioner 75' extend
parallel to one another with the space therebetween being

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maintained in addition to shaft 70‘ by an output support plate
aEl:ixed to the ends of the flange sides opposite those ends
thereof near to the corresponding connections of the ends of
shaft T|]'.

This open chain of two revolute joints forms a spherical
linkage or joint because of the intersection of the two axes
of rotation of the two rcvolute joints which substantially
simplities the joint output guidance problem for the eontrol~
ler because of the existence of closed form solutions to the
equations expressing the position of positioner 75' as a
function of the positions ot` shafts 62', 64' and 70', However,
the control ol`the two joints is complicated by their not being
completely dccoupled since the rotation of the f1rst revolute
joint formed by carrier 60' and clevis 55' forces gear 69'
along gear 68' if the latter gear is held stationary by motor
81' thereby leading to an angular change of the second
revolute joint formed by positioner 75' and carrier |SI)' unless
countered by the controller if just the original rotational
motion of the first revolute joint is desired The range of
possible rotation about the first and second revolute joints
axes of rotation is, in each instance, less than a full circle
because of interference from adjacent structures

An alternative positioning joint, 51"`, using a differential
gear arrangement is shown in FIG. '}'B which, if operated on
a ditIereritial basis, allows full decoupling. An extended
version of shaft 62' of FIG. ')'A, designated 6 "', rotatably
extends through clevis arm 57‘ and bushing 61’ and also
rotatany extends through the corresponding short side of
rotatable bridge carrier 60' and a further bushing, 61"', to
support on its end within the carrier a further bevel gear,
68"', across from bevel gear 681 Also, shaft 7(|' is replaced
by two shorter shafts, ’.~'|]"’ and 70"'", with shaft 70"" now
supporting on its end within bridge carrier 6|]‘ bevel gear 69'
engaged with bevel gears 68' and 68"‘. Sha[t 70"" is an idler
shaft rotatably coupled to flange side 73` through a further
bushing 71"'. Shal`t 70"' supports on its end within carrier
El]‘ a further bevel gear, 69'", across from bevel gear 69' and
also engaged with bevel gears 68' and 68"', Rotating shafts
64' and 62*" in a common direction at a common speed
rotates bridge carrier 60' and output positionet' 75' together
without rotating positioner 75' with respect to carrier 60',
and allows greater torque to be supplied because or rotating
both shafts together. Ditferentials in the rotation of these two
shat`ts results in rotating positioner 75’ with respect to carrier
60‘, but again possibly with greater torque such as if both
shafts are rotated in opposite directions

Rerurning to the configuration of FIG. TA. rotation of
carrier 60' about the first revolute joint axis of rotation is
driven by an electrical tnotor, 76', (not seen in FlGS. 5, 6 and
7 though seen in a further figure introduced below) provided
in motor housing 52'. Motor 76’ has an output shaft eon'
nected to a speed reduction gearhox, 77', having an output
shaft, ’Ttl', (not seen in FlGS_ 5, 6 and 7 though seen in a
further figure introduced below) ailixed to a drive pulley, 'Tl¢'l*A
A drive belt, lttl', couples drive pulley 79' to driven pulley 63'
to enable motor 76' to rotate pulley 63' and shaft 62', and so
carrier 60', over a selected angular range in the associated
possible range of rotation under direction of the control
system connected to motor 76' by wires provided as
described abovt:.

Similarly, rotation of positioner 75' about the second
revolute joint axis o[ rotation is driven by an electrical
motor, Bl', provided in motor housing 54'. Motor 81' has an
output shaft connected to a speed reduction gearbox, 82‘,
having an output shaft, 83‘, affixed to a drive pu]lcy, 84‘. A
drive belt, 85', couples drive pulley 84` to driven pulley 67'
to enable motor Sl' to rotate pulley 67’ and shaft 64', and so

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positioner 75' through gears 68‘ and 69', over a selected
angular range in the associated possible range of rotation
under direction of the control system connected to motor 81'
by wires provided as described above. Having the motors 76'
and Sl' positioned with their motor output shafts parallel to
one another results in a structural configuration for position-
ing joint 51‘ that is relatively wide compared to its thickness
to thereby simulate the relative dimensions ot` a human wristl

Changing the ratio of diameters of drive pulleys 79' and
84' to the diameters of the their corresponding driven pulleys
63' and 67' does not significantly affect this configuration
result but does allow trading torque and precise positioning
for speed of angular change in the drive pulleys, or vice
versc, A similar result occurs for changing the ratio of teeth
in gears 68' and 69‘,

Positioner 75' supports on the output support plate
thereof, and thus selectively positions, an end manipulator,
90', for simulating a human hand and, to do so, has five
further structures mounted thereon as part of` end manipu-
lator 90' with a small portion of each being seen in FIG. 6.
A complete perspective view of end manipulator 90' taken
front the side of positioner 75' having flange side 74' thereon
is seen in FIG. 5.

Shown there is a human palm-like structure, 91’, sup»
ported on two pedestals including a fixed pedestal, 92', that
is tixedly attached to positioner 75' toward one end thereof
by a base that is asymmetrical in being longer in the long
direction of the support plate of positioner 75‘ parallel to
flange sides 73‘ and 74' than it is wide where joined with the
support plate rif positioner 75', this base rising to a cantile-
vered support plate extending over the support plate of
positioner 75' in its longer direction and extending parallel
thereto. 'l`he other pedestal supporting palm-like structure
91' is a moveable pedestal, 93', in the form of a truncated
cylinder where rotatably connected to the support plate of
positioner 75' by the ball in a ball and socket joint, 94', with
this support plate providing the socket at a location between
the attachment of the base of pedestal 92' to the support plate
of positioner ?5' and the nearest end of that plate.

On the opposite end of the support plate of positioner 75*
is provided a support ring, 95‘, mounted so that a plane
including the perimeter of the ring is canted from a plane
including the support plate of positioner 75‘ toward a direc-
tion opposite the direction flange sides 73' and 74' extend
therefrom. A clevis, 96', generally shaped like clevis 55r
described above is rotatably attached by its base to the
support plate of positioner ?5* adjacent to flange side 74'
across from pedestal 92' and 932 Finally, a wiring harness

holder, 97', is attached to positioner 75' across flange side 73‘ _

to hold wiring for linear actuators used in the remainder of
end manipulator 90'.

'Ihe cantilevered support plate of fixed pedestal 92' has
rigidly at]_`rxed thereto two subpedcstals. 98' and 99', each
shaped as a truncated cylinder at its attachment point and
along a portion of its extent. Subpedestals 98' and 99', and
moveable pedestal 93', each extend through an opening in,
and pass beyond, palm-like structure 91'. Palm-like structure
91' is formed of a fiexible, polymeric material, and has thin
linear regions in this polymeric material extending approxi-
mately parallel to the subpedestals that serve to segment it
into three sections which can bend with respect to adjacent
ones thereof along these linear regions Tltat is, these sec-
tions can bend back and forth relative to adjacent ones
therecfabout axes in a direction more or less parallel to the
direction of extent of moveable pedestal 93’ and of subped»
cstals 98 and 99'.

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The opening in the section of palm-like structure 91'
through which suhpedestal 99’ extend is located at the end of
the cantilevered support plate of fixed pedestal 92' farthest
from the base thereof, and is thus one of the outer sections
of palm-like structure 91'. The opening in the other outer
section of palm-like structure 91’ through which moveable
pedestal 93' extends is located at the opposite end of
palm -likc structure 91 '. This leaves the remaining opening in
palm-like structure 91' through which subpedestal 98'
c xtends centered in the middle section between the two outer
sections 'I`he outer segment of palm-like structure 91‘
through which suhpedestal 99’ extends and a portion of the
middle segment thereof abut the surface of the cantilevered
support plate in fixed pedestal 92'.

'I`his arrangement allows moveable pedestal 93', and the
outer section o[ palm-like structure 91' through which it
extends, to be moved with respect to the other two sections
of palm-like structure 91‘ about ball and socket joint 94' and
about the linear region separating this outer section from the
middle section of palm-like structure 91'. The source of such
movement is provided by a linear actuator, 100 , having its
base, 101', (which may contain a force sensor) rotatably
connected in the openings in the ends of the amis of clevis
96'. The output shaft and outer body, 102‘, of linear actuator
10(}' is connected in a ball and socket joint, 103’, in which
the ball is provided at the end of output shaft 102' and the
socket is provided attached to moveable pedestal 93' through
a portion of the outer section of palm-like structure 91’
through which moveable pedestal 93' extends Thus, the
control system indicated above which operates linear actua-
tor lt)t)' through wires (not shown) can cause output shaft
ll]2' of that actuator to extend and retract to thereby cause
move able pedestal 93' at the location of the section of
palm-like structure 91' through which it extends to move
toward either side ol` the middle section of palm-like struc-
ture 91' about ball and socket joint 94‘ to provide akin to the
squeezing together and moving apart of human palm por-
tions.

At the ends of subpedestals 98' and 99' opposite thc ends
thereof affixed to the cantilcvcred support plate of fixed
pedestal 92', and at the end of moveable pedestal 93'
opposite the end with ball and socket joint 94', the cylin-
drical shaped portions of each serve as a clevis base and
there beyond diverge into a pair of parallel arms with
openings therein like clevis 55' above to form a correspond-
ing one of three clevises, 105‘ A, 105' B, and 105' C Each of
three shackles, 106' A, 106' B, and 106' C in the form of a
base with two spaced apart parallel arms extending perpen-
dicularly thereto with end openings to thereby resemble a
U-shape, have that base thereof rotatath mounted between
the arms of a corresponding one of devises ‘lll§' A, 105' l`i,
and 105‘ (`, The long extent direction ot` a shackle base is
perpendicular to the axis of` rotation thereof extending
through the openings in the arms of the corresponding
clevis, an axis that is approximately perpendicular to the
long extent direction of the support plate of positioner 75’.
l:`.ach of these clevis and shackle pairs together form an open
chain ot` two revolute joints (including the rotatable connec-
tion to the shackle arms in the openings therein to be
described below) that serve as a universal joint.

Altcmativcly, as shown in FIGS. 8 and 9, such a joint can
be provided by having moveable pedestal 93‘, or subpedes-
tals 98' and 99‘, or all of them, merge into a truncated, curved
axis rectangular solid shell, 107', to thereby have a curved,
rectangular cross-section slot therethrough A rectangular
cross-section slide, 108', having a axis symmetry following
a scmicircle is then inserted in this slot. Slide 103' has

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openings al each end thereof through which truncated cylin-
drical pins 109‘, can be inserted and attached to the structure
that is to rotate on these pins,

The structures that are to rotate on pins 109*, or in
shackles 106' A, 106' B, and 106‘ C are shown in FIG. 5
rotatany attached to those shackles, and are a corresponding
one of three more or less aligned effectors, 110' A, 110‘ B,
ll'l}' C, each of which forms a more or less planar linkage_
However, because each ot` et't`ectors 110‘ A, 110' B, tlt]` C
can rotate about an axis extending between the arms of a
corresponding one of shackles 106' A, 106' B, and 106‘ C
and because shackles 106' A, 106' B, and 106' C can rotate
about an axis extending between the arms of the correspond-
ing one of devises 105‘ A, 105' B, and 105‘ C that is
perpendicular to the corresponding axis of rotation of its
effector rotatably held therein, etl`ectors 110‘ A, ttt}' B and
elfectors ]_10' A, 110' B, 110’ C 110' (I, though planar
linkages themselves, can also rotate side to side out of the
linkage plane.

Each of these effectors has a corresponding one of three
effector hases, 111' A, 111' B, 111' C Each of these effector
bases has a plateau well pivot region which is rotatably
connected by a corresponding one of three pin sets, 112' A,
112' B, 112' C, to the opening in the arms of a corresponding
one of shackles 106‘ A, 106’ B, and 106‘ C, i.e., on the other
side of the corresponding one of the universal joints formed
at the ends of moveable pedestal 93' and subpedestals 98`
and 99‘. Thus, the axis of rotation of each oi` these cffectors
extending through these pins is perpendicular to the primary
direction of extent of the plateau in its plateau well pivot

region direction. Extending more or less perpendicularly _

from one side ofthe plateau well pivot region of each of the
base etIectors along its direction of primary extent1 and so
perpendicularly to the axis of rotation through the corre-
sponding one of these pin sets, is an extension support

structure that nearby is curved in a right angle to be _

perpendicular to the direction of primary extent of that
plateau well pivot region Also extending from the plateau
well pivot region on the other side thereof at an incline with
respect to the direction ofprimary extent ofthat plateau well
pivot region is an inclined dual wing drive structure Sonie
aspects of these can be bcttcr seen in FIG. 1'[|/\ which
provides a perspective view of the other side of joint and
manipulator structure 50‘ from that shown in FIG. 5, in FIG.
ll which provides a perspective view of the same side of
joint and manipulator stnlcture 50‘ shown in FlG_ 5 but from
a different perspective, in FIG. 12 which provides a per-
spective view of the side of joint and manipulator structure
50', and in FlG, 13 which provides a perspective view of the
top of joint and manipulator structure 50‘.

Each of the two wings of the inclined dual wing drive
structure of clfector base 111' A is connected by a corre-
sponding one of a pair of ball and socket joints, 113' A and
114' A, to one of a pair of linear actuators, 115' A and 116'
A, at the corresponding one of the outer body and output
shafts thereof1 ll’t" A and 118' A. The sockets of ball and
socket joints 113' Aand 114' A are provided in a correspond-
ing one of two wings irl the inclined dual wing drive
structure of effector base 111' A, and the balls are provided
alExed to output shafts 117' A and 118’ A. The bases, 119‘ A
and 120' A, of linear actuators 1]5’ A and 116' A,
rcspcctively, (eaeh of which may contain a force sensor) are
each rotatably connected in the openings in the ends of thc
arms of a corresponding one of a pair of clevises, 121' A and
122' A. Each of clevises 121' A and ]22’ A is shaped like
clevis 55‘ described above, and each has its stern portion
rotatahly connected to the cantilevered support plate of fixed
pedestal 92' on the side thereof shown in FIG. IOA.

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In FIG. lllB, linear actuators, 115"‘ A and 116` A, are
shown as alternatives to linear actuators 115'Aand 116' A in
FIG. 10A. Actuator 116’" A is shown moved around the edge
ot` pedestal 92' to be partially in front of actuator 115"‘ A to
thereby reduce the lateral extent of that actuator pair across
pedestal 92’ which aids in allowing another elfector, 110' D,
to be mounted on that pedestal. In addition, as shown for the
example of actuator 15"‘ A in FIG_ lt)C that is similar to the
other linear actuators shown in FIG. ll]B. actuator 115"' A is
held rigidly to prevent any translation rotation of the outer
body thereof by the gripping arms of a clip, 115"" A, that is
mounted to pedestal 92‘ by a base provided at the joining
point of those armsl An actuator output extension, 115' A, is
formed with a threaded rod having a hexagonally faceted
sphere~like end that is provided captured in a reduced
opening recess in the end of the output member ot` actuator
115"` Aas a ball and socket jointl and with a cylindrical nut
with an interior thread also having a hexagonally faceted
sphere-like end to be captured in a wing of the inclined dual
wing drive structure of effector base 11]’ A to form ball and
socket joint 113' A, Screwing this nut a suitable distance on
the threaded rod allows adjusting the length of actuator
output extension 115' A_ The following description returns to
the arrangement of FIG. ll)A.

Thus, various combinations of extensions and retractions
of output shafts 117' Aand `llS' Aof the linear actuators 115‘
A and llo' A, respectively, causes tbe inclined dual wing
drive structure of effector base lll' A to correspondingly
rotate about its axis of rotation extending through pin set
112‘ A, and the inclined dual wing drive structure of eifector
base lll' A plus shackle 106' A to correspondingiy rotate
about the axis of rotation of shackle 106' A extending
through the arms of clevis 105‘ A. That is, linear actuators
llS’ A and 116' A are capable of forcing effector base 111' A
to any angle with respect to vertical within a limited angular
range about the vertical in F'IGS. 5, 10A, ll, 12 and 13
substantially followed by the extension support structure of
effector base lll‘ A in the straight-up position thereof in
those tigures. Extending or retractirrg the moveable ends of
actuators 115'Aand 116'Ain unison forces effcctor base 111'
Atoward one side or thc other of palm-like structure 91' with
the combined forces supplied by each actuator, while dif-
ferentials in the motions between output shafts 117' A and
118' A of these actuators result in side-to-side motions of
effector base 111' A plus shackle 106' A. As a result,
combinations of such motions allow choosing any desired
angle for el]`ector base 111' A with respect to the above
described vertical within a limited range. The angular range
possible for ellector base lll' A is clearly limited mechani-
cally by interference between that elfector and structures on
the side ot`positioner 75‘ at which flange side 74' is provided,
by the maximum excursions of output shafts 117' A and 118‘
ot` actuators 115‘ A and 116' A from the bases thereof, and by
the locations of any adjacent effector bases and the location
of an opposing cffector base not yet described l-‘ractical|y,
however, the angular range limits for effeetor base 111‘ A
will be established by operating controls provided in thc
controller with respect to actuators 115' Aand 116' A to limit
the excursions of output shafts 117‘ A and 118` thereof with
respect to the corresponding base for the conditions
expected to be encountered by effector base ll_l' A during
operation thcrcof.

The extension support structure of elIector base 111' A
extending from the other side of the plateau well pivot
region thereof has an opening at the far end of that structure
through which a pivot pin, 123* A, is inserted to rotatably
connect to etfector base 111‘ Ato a first gripping extension,

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124' A, Extension 124' A has a clevis»lil<e end with two
extensions between which the end portion of the extension
support structure of eEector base 1]_1‘ A is held by pivot pin
123‘ A extending therethrough and through the two exten~
sions of clevis-like end of the extension.

A linear actuator, 125‘ A, has a base end thereof (unseen
in these figures but which may contain a force sensor)
affixed in the hole, or welll provided in the plateau of the
plateau well pivot structure of effector base 111' Aso that the
end of this base extends past pivot pins 112‘ A as fitted into
that well and so into the region between the arms of shackle
106‘ A. This positioning of the base of linear actuator 125*
A down into this well thereby keeps relatively short the
distance between the pivot point of effector base 111'Aabout
the axis of rotation established by pins 112' A and the pivot
point for first gripping extension 122' A about the rotation
axis thereof determined by pins 123‘ A. The end of the
moveable outer body, 126’, of actuator 125‘ A is rotatably
connected between a pair of extensions forming a yolk in
first gripping extension 124' A by further pair of pivot pins,
127‘ A. lixtensions and retractions of moveable outer body
126‘ of linear actuator 125' A forces first gripping extension
124' A to rotate about pins 123‘ A toward one side or the
other of effector base 111‘ A, typically as part of a gripping

process with respect some adjacent object in providing a _

further link in the open linkage chain simulating a human
finger to increase the capture arc thereof established by its
extent. As shown in FIG. 10B, an attemative linear actuator,
125"‘ A, can be used in place of linear actuator 125` A held
by a clip to etfector base lll' A.

Asecond gripping extension, 128’ A, has a portion thereof
rotatably connected to first gripping extension 124’ A
between portions thereof forming a further yoke by a pin,
129' A, fixed in these portions at the end of the first gripping
extension opposite the end having a yoke connected to
effector base 111' A. Pin 129' A also has a gear centrally
mounted thereon This gear is engaged with gears nor seen
in first gripping extension 124' A forcing second gripping
extension 128’ A to rotate with respect to first gripping
extension 124' A when the latter is rotated with respect to
effector base 11]' A again typically to further a gripping
process by adding another link in the chain to further
increase the capture arc thereof.

The remaining effectors 110' B and 110' C in FIG.10A are
constructed similarly to, and are operated similarly to,
elfector 110’ A. Adescription of the construction and opera-
tion for either of the remaining effectors ll0' B and 110' C
thus follows from the foregoing such descriptions for eEec-
tor 110‘ A by substituting the corresponding one of the letters
B or C for the letter A in the designations used in those
descriptions ofeFfector 110' A above. Similarly, the remain-
ing eh`ectors 110' B, 110' C and 110’ D in FIG. 108 are
constructed similarly to,l and are operated similarly to,
effector 110' A in that figure but with a positioning differ-
ence. Instead of having one base ei.'fector linear actuator in
front of the other to reduce the lateral extent of the pair
across the lateral extent of pedestal 92' as for linear actuators
115"‘ A and 116"‘ A, the other base cf;`fector linear actuator
pairs, 115'" B and 116"‘ B, 115" C and 116‘ C, and 115‘ D and
lltS'" D, alternate in distance away from the corresponding
base effector connection points within a pair and from pair
to pair, ln doing so, they partially overlap along the direc-
tions to the base effectors so that the output ends of some of
these linear actuators face in part the opposite ends of other
ones of these actuators to thereby reduce the lateral extent of
each pair and the lateral extents of the group of pairs thus
allowing adding effector 110‘ D to those mounted on ped-

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esta_l 92' to give a more complete and proportional simula-
tion of a human hand.

FIG. 14 shows a perspective view of a linear actuator,
130, of the kind used in both joint and manipulator structure
50 and joint and manipulator structure 50‘ in FIGS. 5, 10A,
11, 12 and 13. Aetuator 130 has a base, 131, more or less
radially symmetric about a long axis of actuator 130 in the
form approximately of a truncated cylindrical shell, and an
outer body, 132, partially thereahout also in the form
approximately of a truncated cylindrical shell more or less
radially symmetric about the actuator long axis but of a
larger interior diameter than the outer diameter ofbasc 131_
(Alternative]y, outer body can additionally have an output
shaft centered about the actuator long axis thereon, and
affixed to, the end thereof rather than the openings across
from one another at the end thereof as shown.} Base 131 has
an unsccn electric motor provided in its shell, and outer body
132 is driven by this motor to linearly extend or retract under
the direction ot` the unsocn control system, connected to the
motor by unseen wiring, which determines when current is
to be supplied to this motor to cause rotation in one direction
or the other of its rotor_

Base 131 has a force sensor, 133, formed of a multiple
slitted side truncated cylindrical resulting in partially sepa-
rated rings that efi‘ectively become a spring that can be
expanded or compressed by axial forces on actuator 130 that
can be measured by measuring the resulting distances of
expansion or compression 'l`hesc distances measurements
are made, for instance, using a magnet and a magnetic sensor
pair, 134, mounted on force sensor 133 and on an actuator
holder, 135, used for rotatably mounting actuator 130 typi-
cally in a clevis by a pair of pins, 136, protruding therefrom
on opposite sides thereo[. A limiter. 137, limits the expan-
sion distance of force sensor 133,

Outer body 132 has spiral threading, 138, on its inner
surface, and corresponding spiral lhreading, 139, is provided
on a motor output shaft, 140, connected to the motor in base
131. Engaged with both threadings 138 and 139 are helical
threads, 141, located at various radial positions between
threadings 138 and 139 provided about a s|taft, 142, having
in common thereon a pair of gears, 143, mounted and affixed
to the same shaft at each end of the helical thread thereon to
maintain rotational phase with motor output shaft 140 hav~
ing mcshing gears thereon 'I`he presence of the helical
thread shafts between threadings 138 and 139 rather than
these threadings being directly engaged with one another
results in substantially reduced friction, speed reduction and
reduced backlash.

A further effector, 150', and to a varying degree an
opposing effeetor with respect to effectors 110' A., 110' B,
110' C described above, is provided as a human thumb-like
effector and is mounted on positioner 75' using support ring
95'. EfIcctor 150r is again a more or less planar linkage but,
further, is provided to be specifically rotatable in a bushing
provided in the opening in support ring 95‘. Thus, a ring
supported carrier, 151‘, has a cylindrical shaft extending
through and past the opening of support ring 95' and the
bushing Ihercin.

On the side of support ring 95' facing in part the same
direction as the side of the support plate of positioncr 75‘ in
facing bridge carrier 60', ring supported carrier 151' has, on
the portion of the carrier cylindrical shaft extending past
support ring 95‘, a crank arm, 152‘, ailixed thereto with a
clamping ring from which a bent shaft extendsl The bent
shaft at its other end is joined in a ball and socketjoint, 153',
connecting it with a linear actuator, 154`, having a base, 155',

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[which may contain a force sensor) and an output shaft, 156‘.
Basc 155' of linear actuator 154' is rotatably connected
between the arms of a clevis, 157', like clevis 55' described
above, having its base stem rolatably connected to flange
side 74' of positioner 75'. A socket for ball and socket joint
153' is provided on the end of crank arm 152`, and the ball
is alljxed to the output shaft 156' of linear actuator 154'.
Wiring. not shown. connects linear actuator 154' to the
controller for directing the operation thereofv

Carrier 151 ', considered on the opposite side ol` support
ring 95‘, has as a part thereof, at the other end ol` the
cylindrical shaft thereof extending through support ring 95',
a base plate side of a right angle bracket allixed to that shaft
end perpendicularly across the shaft axis of radial symmetry
with this base plate side being shaped more or less as a
rectangular solid This right angle bracket has a further
perpendicular plate side to form this bracket that extends at
a right angle from an edge of the base plate side in a
direction opposite to the carrier cylindrical shaft al]ixed to

the base plate side asjust deseribed, this perpendicular plate __

side having an opening therein in which a bushing is
positioned The base plate side of the right angle bracket also
has an inclined cantilevered plate extending [rorn another
side thereof adjacent to the perpendicular plate side at an
angle to thereby be inclined partially in the direction of the
perpendicular plate side and so in a direction opposite that
from which the carrier of the cylindrical shaft extends from
the base plate side but at an angle that is less than a right
angle to the base plate side.

A gripping effector base, l§li', has therein a cylindrical _

shaft portion which extends into a stub shaft by being bent
to have a right angle with the axis of radial symmetry o[ the
long part of the eti`eclor base cylindrical shaft portion. This
stub shaft part is inserted in the bushing in the opening in the
perpendicular plate side ol` the right angle bracket of carrier
151* so as to be rotatably connected thereto. 'l`he long axis
of radial symmetry of the cylindrical shat`t portion in the part
thereof outside of the stub shaft in gripping effector base
158‘ intersects the inclined cantilevered plate of carrier 1511
A linear actuator, 159', for rotating gripping effector base
158` about the axis of radial symmetry of the stub shaft
thereof has a base, 160', [which may contain a force sensor)
and an output body shell, 161'. Base 160’ of linear actuator
159' is rotatably connected between the arms of a clevis,
162', like clevis 55’ described above, extending from the far
end of the inclined cantilevered plate of carrier 151'. Output
body 161‘ of linear actuator 159' is rotatably connected to a
drive beam, 163', ahixed at right angles to gripping etiector
base 158‘ at a point approximately two-thirds the length o|`
the long part of the cylindrical shaft portion of this eEector
base from the right angle bend leading to the stub shaft part
thereof Agairt, wiring, not shown, connects linear actuator
159' to the controller for directing the operation thereof
llere, too, various combinations of extensions and retrac-

tions of output shaft 156' and output body 161‘ o[ the linear . _

actuators 154' and 159', respectively, causes carrier 151' to
correspondingly rotate, in the first instance, about its axis of
rotation extending through its cylindrical shaft passing
through support ring 95' to thereby include in that axis the
axis of radial symmetry of that shaft, and, in the second
instanee, causes gripping eEector base 158' to correspond-
ingly rotate about its axis of rotation which is the axis of
radial symmetry of the stub shaft in gripping effector base
1581 'lhat is, linear actuator 154‘ is capable of forcing
gripping eEector base 158' to rotate in support ring 95‘ to
face any one of aligned effecrors 110' A, 110' B, 110' C to a
selected degree under direction of the controller to thereby

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provide a selected gripping position arrangement between
them, and linear actuator 159' is then capable under direction
ol` the controller of forcing gripping effector base 158‘
toward or away front such an aligned eft`ector or effectors,
and their respective gripping extensions, so as to close or
open the gap therebetween to thereby begin or end a
gripping process about some object positioned therebe-
tween,

The angular range possible l`or gripping eEector base 158'
is clearly limited mechanically by interference between that
effector and palm-like structure 91‘ and structures supported
thereby such as effectors 110' A, 110* B, ]_l(|’ C, and by the
maximum excursions o[ output shaft 156' and output body
161‘ of the linear actuators 154' and 159' from the bases
thereof . Practically, again, however, the angular range limits
for gripping etl`cctor base 153' will be established by oper-
ating controls provided in the controller with respect to
actuators 154‘ and 159’ to limit the excursions of output shaft
156‘ and output body 161' thereof with respect to the
corresponding base for the conditions expected to be
encountered by gripping effeetor base 158‘ during operation
thereof.

'I`he far end ot` the of the long part of the cylindrical shaft
portion in gripping effector base 158' fits into a sleeve
portion of an actuator holder in gripping effeetor base 158*
which has an opening therein at the end of this sleeve Portion
past the end of the cylindrical shaft portion. Through this
opening a pin, 164’, is provided to rotatably connect a first
gripping extension, 165', to gripping effector base 158’. A
clevis-like end of first gripping extension 165' has two
extensions between which the far end of the sleeve part of
actuator holder in grippi rig eit'ector base 158' is positioned to
be held by pivot pin 164' extending through the opening
therein and through the two extensions of clevis-like end of
the extension.

A linear actuator, 166', has a base end, 167'. thereof
(which may contain a force sensor) aHixed in an partial ring
end of a holding bracket at the opposite end of the actuator
holder in gripping clIector base 158'. This holding bracket in
actuator holder is formed by two arms extending from the
sleeve portion thereof along much of the long part of the
cylindrical shaft portion to the partial ring which is formed
following a semicircular path extending from these two arms
outwardly away from the cylindrical shaft portion The end
of a moveable outer body shell, 168’, of actuator 166' is
rotatany connected between a pair of extensions forming a
yolk in first gripping extension 165' by further pair of pivot
pins, 169'. Extensions and retractions of moveable outer
body 168' force first gripping extension 165' to rotate
forward and backward about pivot pin 164‘ with respect to
gripping etl`ector base 158' to permit further circumscription
of an object between them and one or more of the aligned
ell`ector based open chains in gripping that ob_iect, Here too,
wiring, not shown, connects linear actuator 166' to the
controller for directing the operation thereol'.

A second gripping extension, 1?0', has a portion thereof
rotatably connected to first gripping extension 165‘ between
two spaced apart, extended portions thereof forming a yoke
by a pin, 171’, fixed in these extended portions at the end of
the first gripping extension opposite the clevis-like end of
first gripping extension 166’ connected to gripping ell`ector
base 158'. Pin 171' also has a gear centrally mounted
thereon This gear is engaged with gears not seen in first
gripping extension 165‘ forcing second gripping extension
170' to rotate with respect to first gripping extension 165'
when the latter is rotated with respect to gripping etfector
base 158', and again adds to the capture arc formed by the
extent of them as an open linkage chain.

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Again, as shown in Fl(]. 10B, linear actuators 154`, 159'
and 166‘ of FIGS. 5, 10A, ll, 12 and 13 can have alternative
linear actuators Like linear actuator 115'" A substituted
therefor `l`hus, linear actuators 154‘", 159"' and 166"‘ are
shown in FIG. 1013 replacing linear actuators 154‘. 159' and
166' of FIGS` 5, 10A, 11, 12 and 13.

Relurning to robot 40 of FIG. 2, a manipulator, 10C, like
manipulator 10 of FIG. 1, supports the base of “tcc” struc-
ture 41 in robot 40 in having this structure mounted on
manipulable support 32C thereof. Mounting arrangement
11C, having one end thereof connected to base support 12C
of manipulalor 10C, has the other end connected to a
rounded corner, triangular shaped surface of a triangular
shaped support plate structure, 130, extending between two
such triangular shaped surfaces, which thus supports the
upper torsolike portion of robot 40. Linear actuators 15C and
16C are mounted on support pcdcstals 14C on mounting
arrangement 11C and connected to the corresponding lower
pivoting links which can cause manipulable support 32C of
manipulator 10'C, supporting “tee" 41 and the structures
connected thereto including any head~like structure
provided, to move to simulate selected bending motion of
the human lipper torso under direction of the controller.
Supplementing linear actuators 15C and 16(,‘ are two further

linear actuators, 35C and 37C, which are mounted orr _

support pedestals 14C on mounting arrangement 11C and
connected to the corresponding lower pivoting links just as
are linear actuators 15(.` and 16(`,. 'Iltese added linear actua-
tors can, iri addition to providing further force and stability,

be operated antagonistically with the other linear actuators _

to thereby reduce backlaslt in the motion of manipulator
10C, and they allow manipulator 10C to more precisely
position the upper torso-like portion of robot 40 under
direction of the system controller after the leg-like portions
thereof (to be described below) have been used to coatser
position that robot. Alternatively, additions 35C and 37(,`
can, instead of being linear actuators, be shock absorbers to
damp impulsive forces on manipulator 10C.

Triangular shaped support plate structure 180 has an
angled bracket plate, 181, with a first plate portion fastened
to a side of structure 180 extending perpendicularly to the
triangular surface supporting mounting arrangement 11C
across from a corner of that surface. A second plate portion
of angle bracket plate 181 is more or less of a rectangular
shape and bent from the first plate portion away from
structure 180, A first side of second plate portion of angle
bracket 181 approximately perpendicular to the bend in that
plate, and on the left in viewing FIG. 2, has a manipulator,
`l0|), like manipulator 10 ot` FlG. 1, useful t`or simulating a

human right hip, mounted thereto parallel to the long axis of _

mounting arrangement 111) of manipulator l(ll) between its
connection to base support 12D [unseen in FIG. 2) and
support pedestals 141') thereon. Linear actuators 35D and
371) (oonnected to lower pivoting links 20" D and 20'" D
rather than to lower pivoting links Z|Jl'J and 20‘ D in the
manner of linear actuators 16 and 15 iri FIG. 1 being
connected to lower pivoting links 20 and 20" ihere) are
mounted on support pedestals 1413 on mounting arrange-
ment 11D and connected to the corresponding lower pivot-
ing links which can cause manipulable support 32[) ot`
manipulator 10D to move to simulate selected right human
hip motion under direction of the controller

Manipulable support 32D is connected to a bent upper leg
bar, 182, which has at its opposite end a yoke, 183, in which
a lower leg bar, 184, is rotatably connected by a pair ot`
pin-like bosses, 185, each extending through a yoke arm
opening to be afExed in the sides of the upper leg bar yoke

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thereby forming a single degree of freedom joint, 186,
simulating a human knee. A linear actuator, 18'7, is con~
nected between upper leg bar 182 and lower leg bar 184 to
operate that joint by causing lower leg bar 184 to selectively
rotate in yoke 183 about pin-like bosses 185. A motor and a
rotational joint arrangement contained within upper leg bar
182 allows it to be rotated over an angular range with respect
to rnanipulator 10D_ A two degree of freedom joint, 190,
simulating a human ankle, to which a foot-like structure,
191, is attached, is mounted on the end cf lower leg bar 184,
and a motor and a rotational joint arrangement contained
within lower leg bar 184 allows two degree of freedom joint
190 together with foot-like structure 191 to be rotated over
an angular range with respect to lower leg bar 184.

Similarly, a second side of second plate portion of angle
bracket 181 at a shallow acute angle with. but primarily
parallel to, the first side |,o also be approximately perpen-
dicular to the bend in that plate, and on the right in viewing
FIG, 2, has a nianipiilator, 10E, like manipulator 10 of FIG.
1, useful for simulating a human left hip, mounted thereto
parallel to the long axis of mounting arrangement llE of
manipulator 1012 between its connection to base support 12E
and support pedestals 14E thereon (not seen in FIG. 2).
Linear actuators 1515 and 1613 (not all seen in FIG. 2) are
mounted on support pedestals 1413 on mounting arrange-
ment 1lE and connected to the corresponding lower pivoting
links which can cause manipulable support 32E of manipu-
lator 1015 to move to simulate selected right human hip
motion under direction of the oontroller_

Manipulable support 3213. is connected to a bent upper leg
bar, 182', which has at its opposite end a yoke,183',in which
a lower leg bar, 184', is rotatany connected by a pair of
pin~like bosses, 185', each extending through a yoke arm
opening to be affixed in the sides of the upper leg bar yoke
thereby forming a single degree of freedom joint, 186',
simulating a human knee A linear actuator, 187', is con-
nected between upper leg bar 182' and lower leg bar 184' to
operate that joint by causing lower leg bar 184' to Seleetively
rotate in yoke 183' about pin-like bosses 185'. A two degree
of freedom joint, 190‘, simulating a human ankle, to which
a foot-like structure, 191', is attached, is mounted on the end
of lower leg bar 184', and a motor and a rotational joint
arrangement contained within lower leg bar 184' allows two
degree of freedom joint 190' together with foot~like structure
191‘ to be rotated over an angular range with respect to lower
leg bar 184',

Two degree of freedom joints 190 and 190` are shown to
be identical in FIG. 2, and shown in greater detail in FIG. 15.
loint 190 will be described with structures in joint 190'
mounted on the end of lower leg bar 184‘ identical to those
in joint 190 mounted on the end of lower leg bar 184 having
the same numerical designations there as they do in joint 190
but with a following prime mark.

Joii:it 190 has, as seen in FIGS_ 2 and 15, a flared housing,
192, formed as a truncated cone shell portion having its
small diameter end fastened about lower leg bar 184 and its
large diameter end joined to a truncated cylindrical shell
portion which has art open end at the end thereof opposite to
its end joined to the truncated cone shell portion. A circular
joint housing ring, unseen in FlGS. 2 and 15, also formed as
a truncated cylindrical shell, is mounted on the inner periph-
ery of the cylindrical shell portion of housing 192 inward
from its open end. This housing ring has the shell thereof
extended into four bosses parallel to the axis of radial
symmetry at four locations 90° apart on this ring with each
boss having an opening therein in which a bushing is
provided A pair of openings, unseen iri FIGS. 2 and 15, is

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provided in the truncated cylindrical shell of housing 192
each across from, and axially aligned with, a corresponding
one of two adjacent ones of these ring boss openings

A shaft, 193, formed as a truncated eylinder, having a
pul_ley, 194, affixed to an outer end thereof, extends from
pulley 194 through one of the pair of housing truncated
cylindrical shell openings and through the bushing in the
ring boss opening across therefrom to be joined at its end to
an output carrier, 195, extending between this ring boss
opening and the ring boss opening opposite thereto on the
other side of the ring housing A shaft, 196, formed as a
truncated cylinder, is aExed to the opposite end of output
carrier 195 from the end thereof a|]ixed to shaft 193 which
extends into the bushing in this opposite side ring boss
opening so that output carrier 195 is rotatably supported by
the housing ring in opposite side ring boss openings thereof
on shafts 193 and 196 to have an axis of rotation which
includes the axes of radial symmetry of these shafts.

Output carrier 195 is formed as a closed loop metal strap
with two rectangular plate long sides joined at the ends
thereof by two curved plate short sides therebetween to
which shafts 193 and 196 are aliixed, thus leaving an open
interior for the carrier between the long sides and the short
sides accessible from both open sides of the closed strap
loop. An output bar, 197, formed as a truncated cylinder, has
one end thereof positioned within the interior of the closed
strap loop of output carrier 195 and rotatany connected
thereto by a pin, 193, extending through this output shaft and
through bushings in each of two openings each of which is
centered in one of the long sides of the closed strap loop of
output carrier 195, The other end of output bar 197 is affixed
to foot-like structure 191,

A further shaft, 199, formed as a truncated cylindcr,
having a pulley, 200, affixed to an outer end thereo[, extends
from pulley 199 through one of the pair of housing truncated

cylindrical shell openings and through the bushing in the ,

ring boss opening across therefrom to be joined at its end to
a joined double ba_il, 201, extending between this ring boss
opening and the ring boss opening opposite thereto on the
other side of the ring housing Ashaft, unseen in ITIGS. 2 and
15, formed as a truncated eylinder, is aflixed to the opposite
end of joined double bail 201 from the end thereof aflixed to
shaft 199 which extends into the bushing in this opposite
side ring boss opening so that output carrier joined double
bail 201 is rotatably supported by the housing ring in
opposite side ring boss openings thereof on shaft 199 and the
unseen shaft on its opposite side to have an axis of rotation
which includes the axes of radial symmetry of these shafrs.

Joined double bail 201 is formed as two spaced apart,
parallelly oriented half rings that a rejoined to one another
at the half ring ends by two curved plate short sides
therebetween to which shafts 199 and the unseen attached
shaft are ahixed._ thus leaving an open interior between the
half rings and the short sides. 'I`he end of output bar 19',~l
alfxed to foot-like structure 191 is positioned to extend
through this joined double bail interior opening in extending
between its rotatable connection to output carrier 195 and its
point of attachment to foot-like structure 191. A pair of
relatively low friction sliding rings, 202, are positioned
about output bar 197 to be between that output bar and the
half rings of joined double bail 201 to permit these rings to
guide motion ofoutput bar 197 in its sliding back and forth
therebetween Thus, the rotation of pulley 194 and shaft 193
to rotate output carrier 195 results in rotation of output bar
197 perpendicular to the axis of rotation of output carrier
195 for any angle of joined double bail 201 set by the
rotation of joined double bail 201 resulting from the rotation
of pulley 200 and shaft 199.

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A truncated cylindrical shell shaped motor housing, 203,
is affixed in and through leg bar 184 with its axis of radial
symmetry oriented perpendicular to the long axis of leg bar
184 and parallel to the axis of radial symmetry of shaft 199.
Motor housing 203 has the end thereof on the side of leg bar
184 on which pulley 200 is positioned open to receive an
electrical motor therein with the other end typically closed.

Anothcr truncated cylindrical shell shaped motor housing,
204, is aflixed in and through leg bar 184 closer to foot-like
structure 191 with its axis of radial symmetry oriented
perpendicular to that of motor housing 203 and to the long
axis of leg bar 184, but parallel to the axis of radial
symmetry of shaft 193. Motor housing 204 has the end
thereof on the side of leg bar 184 on which pulley 194 is

~ positioned open to receive an electrical motor therein, and

typically, again, the other end of motor housing 204 is
closed

Leg bar 184 typically has an opening extending there-
through to allow control wiring to be installed. Motor
housing 203, in addition to having some of such wiring
terminate there for the motor to be provided therein, also has
sufficient space therein to allow such wiring to pass from leg
bar 184 to reach motor housing 204 for the motor to be
provided there_ Additional wiring, or other facilitating
means, may also be passed through such openings and
spaces if needed.

Rotalion ol` joined double bail 201 about its axis of
rotation is driven by an electrical motor, unseen in FIGS. 2
and 15, provided in motor housing 203, This motor has an
output shaft connected to a speed reduction gearhox, unseen
in F[GS. 2 and 15, having an output shaft, 205, al]ixed to a
drive putley, 206. Adrive belt, 207, couples drive pulley 206
to driven pulley 200 to enable the motor in housing 203 to
rotate pulley 200 and shaft 199, and so joined double bail
201, over a selected angular range in the associated possible
range of rotation under direction of the control system
connected to the motor in housing 203 by wires provided as
described above.

Similarly, rotation of output carrier 195 about its axis of
rotation is driven by an electrical motor, unseen in FIGS. 2
and 15, provided in motor housing 204. This motor has an
output shaft connected to a speed reduction gearbox, unseen
in IilGS. 2 and 15, having an output shaft, 208, affixed to a
drive pulley, 209. A drive belt, 210, couples drive pulley 209
to driven pulley 194 to enable the motor irr motor housing
204 to rotate driven pulley 194 and shaft 193, and so output
carrier 195 over a selected angular range in the associated
possible range of rotation under direction of the control
system connected to the motor in housing 204 by wires
provided as described above.

Although the present invention has been described with
reference to preferred embodiments, workers skilled in the
art will recognize that changes may be made in form and
detail without departing from the spirit and scope of the
invention.

What is claimed is:

1. A controlled relative motion system having first and
second support structures with said first support structure
having a Iirst support offset structure extending along a first
axis and said second support structure having a second
support offset structure extending along a second axis, said
system comprising:

an intermediate joint having a base member and a oon-

trolled position member that has an output carrier
which can be angulariy positioned with respect to said
base member anywhere over a selected spatial surfaoe,

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said intermediate joint base being affixed to an interior
end of a selected one of said first and second support
offset structures with said output carrier affixed to an
interior end of that one remaining;

a first support joint having a base member supported by
and ahixed with respect to said first support offset
stnicture at an exterior end thereof opposite said inte-
rior end thereot` along said l"irst axis and further having
a controlled position member that has an output carrier
which can be angularly positioned with respect to said
base member anywhere over a selected spatial surl`ace;
and

a second support joint having a base member supported
by and affixed with respect to said second support offset

structure at an exterior end thereof opposite said inte- '

rior end thereof along said second axis and further
having a controlled position member that has an output
carrier which can bc angularly positioned with respect
to said base member anywhere over a selected spatial
surface.

2. The system ot` claim 1 further comprising having said
first support joint supported by and affixed with respect to
said first support olfset structure at an exterior end thereof
through a first support holder structure al]ixed to said first
support offset structure at said exterior end thereof at a
location in said first support holder structure intersected by
said first axis that is intermediate to two spaced apart holders
in said first support holder structure to one ot` which said first
support joint base member is at”fixed, and with a base

member of a first supplemental support joint allixed to that _

remaining holder, said first supplemental support joint fur-
ther comprising a controlled position member that has an
output carrier which can be angularly positioned with
respect to said base member anywhere over a selected
spatial snr£ace.

3_ The system of claim 1 further comprising having said
second support joint supported by and affixed with respect to
said second support offset structure at an exterior end thereof
through a second support holder structure affixed to said
second support offset structure at said exterior end thereof at
a location in said second support holder stmcture intersected
by said second axis that is intermediate to two spaced apart
holders in said second support holder structure to one of
which said second support joint base member is al]ixed, and
with a base member of a second supplemental support joint
affixed to that remaining holder, said second supplemental
support joint further comprising a controlled position mem-
ber that has an output carrier which can be singularly
positioned with respect to said base member anywhere over
a selected spatial surface.

4, The system of claim 2 wherein said first support joint,
with said output carrier of said first support joint controlled
position member maximally spaced apart from said first
support joint base member, defines a first support joint
extension axis through said first support joint base member
and said first support joint output carrier, and wherein said
first supplemental support joint, with said output carrier of
said first supplemental support joint controlled position
member maximally spaced apart from said first supplemen-
tal support joint base member, defines a first supplemental
support joint extension axis through said first supplemental
support joint base member and said first supplemental
support joint output carrier, said first support joint extension
axis and said first supplemental support joint extension axes
being nonparallel.

5_ 'I`he system of claim 2 further comprising having said
second supportjoint supported by and affixed with respect to

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said second support offset structure at art exterior end thereof
through a second support holder structure aliixed to said
second support oEEset structure at said exterior end thereof at
a location in said second support holder structure intersected
by said second axis that is intermediate to two spaced apart
holders in said second support holder structure to one of
which said second support joint base member is ahixed, and
with a base member of a second supplemental support joint
affixed to that remaining holder, said second supplemental
support joint further comprising a controlled position mem-
ber that has an output carrier which can be angularly
positioned with respect to said base member anywhere over
a selected spatial surface

6, 'l`lie system o[ claim 3 wherein said second support
joint, with said output carrier of said second support joint
controlled position member maximally spaced apart from
said second support joint base member, defines a second
support joint extension axis through said second support
joint base member and said second support joint output
carricr, and wherein said second supplemental support joint,
with said output carrier of said second supplemental support
joint controlled position member maximally spaced apart
from said second supplemental support joint base member,
defines a second supplemental support joint extension axis
through said second supplemental support joint base mem-
ber and said second supplemental support joint output
carrier, said second support joint extension axis and said
second supplemental support joint extension axes at least
partly extending along said second axis.

7. The system of claim 5 wherein said intermediate joint,
said first support joint, said first supplemental support joint,
said second support joint and said second supplemental
support joint further comprise at least one pivot holder
comprising at least one member, an initial plurality of
pivoting links each rotatably connected at one end thereof to
a said pivot holder and rotatany connected at an opposite
end thereof to said base member thereof and a subsequent
plurality of pivoting links each rotatany connected at one
end thereof to a said pivot holder and rotatably connected at
an opposite end thereof to said output carrier thereof.

S_ 'I`he system of claim 7 wherein each orie of several
pluralities of force imparting members is coupled to a
corresponding one of said intermediate joint, said first
support joint, said first supplemental support joint, said
second support joint and said second supplemental support
joint with each said force imparting means iri a said plurality
thereof provided for said corresponding joint being coupled
to a an initial pivot link in said plurality thereof for said
corresponding joint so as to be able to impart a force thereto
to cause at least one ol` said initial plurality of pivoting links
for said corresponding joint to rotate about art axis there-
through

9. 'I`he system ol` claim 8 wherein said first support joint,
said First supplemental support joint, said second support
joint and said second supplemental support joint have said
output carriers thereof each coupled through an extension
member to a base member of a corresponding further joint
having a controlled position member with an output carrier
which can be selectively positioned with respect to said base
member thereof, and with said extension member being
rotatable with respect to that output carrier coupled thereto,

10. The system of claim 9 further comprising at least one
of said further joints has said output carrier thereof coupled
through a subsequent extension member to a base member
of a corresponding terminating joint having a pair of slotted
members rotatably coupled to said subsequent extension to
each be capable of rotating about a corresponding one of a

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pair of axes substantially perpendicular to one another with
a slot in each of said slotted members extending along said
corresponding rotation axis thereof, said terminating joint
further having an output carrier extending at least in part
through said slot in each of said slotted members and a pair
of force imparting means each coupled to a corresponding
one of said slottect members to be capable of causing rotation
thereof about said rotation axis corresponding thereto_

11. An articulated manipulating system for mounting on a
base in a robotic manipulator and capable cl' engaging
selected objects said system comprising

a subbase rotatabty mounted on said base to have a single
subbase rotation axis therethrough;

a first linear actuator coupled at one end thereof to said
base and coupled at an opposite end thereof to said
subbasc to bc capable of rotating said subbase about
said subbase rotation axis;

a first effectcr base rotatably connected tc said subbase to
have a first effectcr rotation axis;

a second linear actuator coupled at one end thereof to said
subbase and coupled at an opposite end thereof to said
first effectcr base to be capable of rotating said first
effectcr base about said first eti`eetor rotation axis

12_ The system cf claim 10 further comprising a shackle
having a pair of arms spaced apart by a recess space which
arms are joined in a joining bar on one side of said recess
space, an effectcr base rotatably mounted at a pivot location
thereof to and between said spaced apart arms of the shackle
so as to leave a recess space between an end of that said

effectcr base rotatahly mounted to said shackle and said _

joining bar thereof, a pedestal affixed to said base relatively
near to where said subbase ls rotatably mounted on said base
and having said joining bar o|` said shackle rotatath coupled
thereto, a gripping extension rctatably coupled to said effec-
tor base at an extension coupling location thereof spaced
apart from said pivot location thereof, an extension linear
actuator positioned adjacent to said effector base and
coupled at one end thereof so as to have that end positioned
at least in part in said recess space of said shackle with that
remaining end of said linear actuator rotatably coupled to
that said gripping extension, and a pair of effectcr linear
actuators each having an end thereof connected to said base
at corresponding base connection locations thereon, and
each having that opposite end thereof rotatably connected to
a said effectcr base at corresponding effector connection
locations thereon so that any substantial differentials in
movement cf these actuators cause corresponding substati-
tial motions cf said effectcr base towards a corresponding
one of said base connection locations and so that substantial

common movements of these actuators causes substantial v

motions of said effectcr base toward or away t`rom both of
said base connection locations

13. The system of claim 12 wherein said extension linear

actuator has said one end thereof coupled to said effectcr
base.

14. An articulated manipulating system for mounting on

a base in a robotic manipulatcr and capable of engaging
selected objects, said system comprising:

a plurality of shackles each having a pair ot` arms spaced
apart by a recess space with said arms being joined in
a joining structure on one side of said recess space;

a plurality of etIector bases each rotatably mounted at a
pivot location thereof to and between said separated
arms of a corresponding shackle so as to leave a recess
space between an end oi` that said effectcr base rotat-
ably mounted to said shackle and said joining structure
thereof;

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a fixed pedestal affixed to said base and having said
joining stnicture of a corresponding one of said plu-
rality of shackles rotatany coupled thereto;

a moveable pedestal rotatany connected to said base and
having said joining structure of a corresponding one of
said plurality of shackles rotatably coupled thereto; and

a pedestal linear actuator coupled at one end thereof to
said base and coupled at an opposite end thereof to said
moveable pedestal to be capable of rotating said move-
able pedestal \vith respect to said base_

15. The system o[ claim 14 further comprising a plurality
of gripping extensions each rotatably coupled to a corre-
sponding one of said plurality of etiector bases at an
extension coupling location thereof spaced apart from said
pivot location thereof, and a plurality of extension linear
actuators each positioned adjacent to a corresponding one of
said plurality o[ eil`cclor bases and each coupled at one end
thereof so as to have that end positioned at least in part in
said recess space of said shackle to which said correspond-
ing effector base is rotatany coupled with that remaining
end of said linear actuator rotatany coupled to that said
gripping extension rotatably coupled to said corresponding
effectcr base.

16. The system of claim 14 further comprising a pair of
effectcr linear actuators each having an end thereof con~
nected to said base at corresponding base connection loca-
tions thereon, and each having that opposite end thereof
rotatably connected to a corresponding common one of said
plurality of elIector bases at corresponding effectcr connec-
tion locations thereon separated from said extension cou-
pling location thereof by said pivot location so that any
substantial differentials in movement of these actuators
cause corresponding substantial motions of said correspond»
ing ett`ector base towards a corresponding one of said base
connection locations and so that substantial common move-
ments of these actuators causes substantial motions of said
effectcr base toward or away from both oi" said base con»
nection locations

17. 'I`he system of claim 15 wherein each of said extension
linear actuators in said plurality thereof has said one end
thereof coupled to said corresponding effectcr base.

18_ The system of claim 15 further comprising a pair of
effectcr linear actuators each having an end thereof ccn-
nected to said base at corresponding base connection loca-
tions thereon, and each having that opposite end thereof
rotatany connected to a corresponding common one of said
plurality of effectcr bases at corresponding effectcr connec-
tion locations thereon separated from said extension cou-
pling location thereof by said pivot location so that any
substantial differentials in movement of these actuators
cause corresponding substantial motions of said correspond-
ing effector base towards a corresponding one of said base
connection locations and so that substantial common move-
ments of these actuators causes substantial motions of said
e|lector base toward or away from both of said base con-
nection locations.

19. 'l`he system of claim 16 wherein one of said pair of
effectcr l_inear actuators has said end thereof connected to
said base so as to face a portion cf that said opposite end of
that remaining one cf said pair of eti`ector linear actuators in
said pair of effectcr linear actuators each having that said
opposite end thereof rotatany connected to said correspond-
ing common one of said plurality ot` effectcr bases at
corresponding effectcr connection locations thereon

20. A controlled relative motion system having a base
mounted in a robotic manipulator, said system comprising:

an extended open interior member being rotatably
coupled to said base to be capable of rotating about a

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corresponding interior member rotation axis along
which a pair of spaced apart interior member sides
extend so as to have an extended space therebetween,
said extended open interior member being rotatany
coupled to said base at an end thereof joining said
interior member sides at one end of said extended space
by a first shaft coupled thereto and being rotatably
coupled to said base at an opposite end thereof also
joining said interior member sides at an opposite end of
said extended space by a second shaft coupled thereto;
an output carrier having a pair of output carrier sides
spaced apart by a recess space with said output carrier
sides being joined in a joining structure on one side of
said recess space, said output carrier being positioned
to have said extended open interior member in said
recess space with said output carrier sides at least in
part extending substantially parallel to said interior
member sides and to being rotatably coupled to said
extended open interior member to he capable of rotat-
ing about a corresponding output carrier rotation axis
substantially perpendicular 10 said interior member
rotation axis, said output carrier being rotatably
coupled to said extended open interior member by a
follower shaft affixed to said output carrier and rotat-
ably coupled to said extended open interior member;

an interior member first bevcl gear located in said
extended space and aitixed to said first shaft;

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an output carrier first bevel gear located in said extended
space and affixed to said follower shaft to be engaged
with said interior member first bevel gear; and

a plurality of force imparting means mounted in said base
with each of said first and second shafts being rotatany
coupled to a corresponding one of said force imparting
means in said plurality thereof,

21. 'I`he system of claim 18 wherein said second shaft is
fixedly coupled to said extended open interior member at
said opposite end thereof, and said follower shaft is rotatably
coupled to said extended open interior member by passing
through and being rotatany coupled to both said interior
member sides and is affixed to both said output carrier sides

22. The system of claim 18 wherein said second shaft is
rotatably coupled to said extended open interior member at
said opposite end thereof and further comprising said output
carrier being also rotatably coupled to said extended open
interior member by a gear shaft rotatably coupled to both
said output carrier and to said extended open interior
member, an interior member second bevel gear located in
said extended space and at]ixed to said second shaft to be
engaged with said output carrier first bevel gear, and an
output carrier second bevel gear located in said extended
space and affixed to said gear shaft to be engaged with said
interior member first and second bevel gears.

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UNHED sTATES PATENT ANo TRADEMARK 0FF1CE
CERTIFICATE OF CORRECTION

PA'l`l:`N't`NO. : 6,658,962 Bl Page 1 ot` l
DATED : Dec,ember 9, 2003
lNVENTOR(S) : Mark E. Rosheim

lt is certihed that error appears in the above-identified patent and that said Letters Patent is
hereby corrected as shown below:

Column 1,
Lines 19, 57, 58, 60 and 63, delete “of ten” and insert -» often --

MM,
Lines t, 4 and 54, delete “devises" and insert -- clevises --

Coluntn 6,
Line '19, delete “of ten” and insert -- often ~-

C<Jl_.tlml&»
Line 47, after “106' C” insert -- , »-
Line 51, delete “deviscs” and insert -- clevises --

Colnmn 15,
Line 14, delete “devises” and insert -- clevises --

QQMLHI_§,
Line 1, delete “116' A” and insert -- 116'" A»-

§M

Line 59, delete “115"€ and 116‘ C, and 115' D” and insert -- 115"' C and 116"' C, and
115'" D -»

Colun'm 23,
Line 49, delete “a rejoined”, insert -- are rejoined --

Signed and Sealed this

Twenty»fourth Day of February, 2004

stigma

JON W, DUDAS
Acri'ng Dt`recror ofr!te United States Patent and Trademork O_,Gice

 

 

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Upper Finger Segments

    
     
  

Middle Finger
Segrnents
Midclle Finger Lower Finger
Segmenl Segments
Lowef Finger _ ____::]_ Lower Knuckles
Segments n Upper Thurnb
Segment
- t Upper Thurnb
Pivot
Lower Kner:k|e Midd|e Thumb
Plvois `, . Segmen!
-_ _-.:" LowerThurnb
Palm earned ' * ‘/` Pi"‘°t
Aotuator `
____-----___----_ Palm
“Gimbal fm Supports
Palm Pith //,_ Gimbal Ring
, Suppor! Bearing
Wrist Gimbai ' .
wrist Yaw

Pivot

Pitch Pivoz _ ,_; -_ \

Gimba| Ring Forearm

Exhibit 3. Robonaut 1 Hand, NASA subcontractor photograph.

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_ Upper Finger
Upper Finger Middle F'nger Segment 1
Joims Segment - Upper Jotnt
Cab|ed Actuators

" " j Upper Finger
Segment
/
Midd|e Finger
Segment

Lower Finger

  
 
 
 
  
   

Segments
Midd|e Finger K k|
Segments :~:O\:Frd "'UC 9
a e
Actuators
UpperThumb
_. Segment
UpperJoint UpperThumb
Cabled __ _/Joint
A°wat°rs .... _./-LowerThumb
Segment
Lower Finger umb Knuck|e

Segments

Lower Knuci<|e
Cabled
Actuators

Pitch Pivot Forearm

Gimba| Ring

Exhibit 4. Robonaut 1 Hand, NASA visitor photograph

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Midd|e Finger Segments

Upper Finger l ._ " ` Lower Finger
Segrnents q "'- _l " l Segments
Upper Thumb " ~ " Lower Knuck|e

Segment\ ` . Pivots

Thumb Cabled
Actuator \
Upper Thumb Pivot -"'/

Middle Thumb Segment ~»-'/

   

Lower Thumb Segment

Lower Thumb Knuckle

Palm (side)

Gimba| Ring
Supporl Standard

 

Exhibit 5. Robonaut 1 Hand, NASA subcontractor photograph

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-' . ,`-_
reg \m@ ,.-- Upper Finger Segment
. t _|.
:J\wg /--- Midclie Finger Segrnent

/- Lower Finger Segment

Lower Knuei<|e
Cabled Aetuators

Wriat Yaw Pivols
Glmba| Ring

Wnst Pltch
Pivol

FO|'Ea fm

Exhibit 6. Robonaut 2 Hand, NASA slideshow.

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Flngar Clevises
Upper Thumb
Segment

;l?`fll*j

Middle Thumb
Segmenl

Finger and Thumb
Knuekies
Lower Thumb
Lower Thurnb Knuckle
Lower Thumb Knut:i»:le
(YBWJ
Pa|m
‘r‘aw Pivot

Glmbal Ring
Wr`lst Pitch Pivot

Thumb Cab|ed
Aetuators

Wr`:st Rod Aetuators

anearm

j

Exhibit 7. Robonaut 2 Hand, NASA slideshow.

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Upper, Midd|e
and Lower
Finger
Sections

Finger Bases

. n " ""* Lower
h`..;g__.. l /Knuck|e

.1'

Pair of Cabied
Actuators

Lower Thumb
Knuck|e

Wrist Rod
Actuator

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Exhibit 8. Robonaut 2 Hand, NASA slideshow.

